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               EXHIBIT A




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                        IN THE UNITED STATES BANKRUPTCY COU~ZT
                                 FOR THE DISTRICT OF DELAWARE


In re:                                                                 Chapter 11
REVSTONE INDUSTRIES,LLC,et al.,l                                       Case No. 12-13262(BLS)
                             Debtors.                                 Jointly Administered


REVSTONE INDUSTRIES, LLC,                                              Adv. Proc. No. 14-            (BLS)
                             Plaintiff,
         v.
SCOTT R. HOFMEISTER and GEORGE S.
HOFMEISTER,
                             Defendants.


                      COMPLAINT TO AVOID AND RECOVER
              FRAUDULENT TRANSFERS,UNAUTHORIZED POST-PETITION
                       TRANSFERS AND RELATED RELIEF

         Plaintiff Revstone Industries, LLC (the "Debtor" or "Plaintiff'), by and through its

undersigned counsel, and based upon knowledge, information and belief, alleges as follows:

                                           NATURE OF ACTION

                  The Debtor seeks to recover, for the benefit of its bankruptcy estate and its

 creditors, a series of biweekly cash transfers (collectively, the "Scott Transfers"), totaling in excess

 of$133,000, that were made during 2012 by the Debtor's former manager, Defendant George S.

 Hofineister ("George Hofineister"), to or for the benefit of his son, Defendant Scott R.

 Hofineister ("Scott Hofineister"). The Scott Transfers purported to be wages paid to Scott

 Hofineister as an employee of the Debtor, but were made when Scott Hofineister was attending


' The Debtors in these Chapter 1 1 Cases and the last four digits of each Debtor's federal tax identification numbers
are: Revstone Industries, LLC (7222); Spara, LLC (6613); Greenwood Forgings, LLC (9285); and US Tool &
Engineering, LLC (6450). The location of the Debtors' headquarters and the service address for each Debtor is:
Revstone Industries, LLC, et al., c/o Huron Consulting Group Inc., 900 Wilshire Drive, Suite 270, Troy, MI 48084,
Attn: John C. DiDonato, Chief Restructuring Officer.



DOCS LA:283585.3 73864-001
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 business school and, in his own words, was "out of the picture" on the Debtor's activities.

 Accordingly, the Debtor did not receive reasonably equivalent value in exchange for the Scott

 Transfers. Approximately $124,000 of the Scott Transfers were made prior to the Debtor's

 petition date, while the Debtor was insolvent. The remainder ofthe Scott Transfers were made

 after the Debtor's petition date, and were not authorized by this Court or by title 11 of the

 United States Code (the "Bankruptcy Code").

         2.      Scott Hofineister was the recipient or beneficiary of the Scott Transfers, and as

 such is liable for the return of the Scott Transfers under sections 544(b), 549 and 550 of the

 Bankruptcy Code and the Delaware Uniform Fraudulent Transfer Act,6 Del. C. § 1301 et seq.

 Moreover, in making, causing or authorizing the Scott Transfers, George Hofineister breached

 his fiduciary duties to the Debtor, and Scott Hofineister aided and abetted those breaches of

 fiduciary duties. Accordingly, in addition to the avoidance and recovery of the Scott Transfers,

 the Debtor seeks to recover compensatory and punitive damages from the Defendants.

                 As of January 17, 2013, the Debtor's operating agreement was amended to,

 among other things, appoint John C. DiDonato as the President and Chief Restructuring Officer

 of the Debtor, and to appoint two independent managers, James Shein and Richard Newsted, to

 the Debtor's Board of Managers. The two independent managers make up a restructuring

 committee that has authority over the Debtor's bankruptcy and restructuring efforts. The

 purpose of this action is to avoid and recover the Scott Transfers for the benefit of the Debtor's

 estate and its creditors.




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         4.     The Defendants are advised that the Debtor's investigation is ongoing and that the

 Debtor may seek to further amend this complaint to, among other things, add other transfers

 alleged to be subject to avoidance.

                                  JURISDICTION AND VENUE

         5.     This is an adversary proceeding pursuant to Rule 7001 ofthe Federal Rules of

 Bankruptcy Procedure.

         6.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

 1334(b) and (e).

         7.     This adversary proceeding is a core proceeding within the meaning of 28 U.S.C. §

 157(b)(2)(A),(H)and (0).

         8.      Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                              PARTIES

         9.     Plaintiff is a debtor and debtor in possession in the above-captioned bankruptcy

 case. It brings this action on behalf of its estate and its creditors.

         10.    Defendant Scott R. Hofineister is an individual residing in California. Scott

 Hofineister is George Hofineister's son.

         11.    Defendant George S. Hofineister is an individual residing in Kentucky. At all

 relevant times, George Hofineister was the Chairman and sole member of the Board of

 Managers of the Debtor.

                                   FACTUAL BACKGROUND

         12.    On December 3,2012(the "Petition Date"), the Debtor commenced its bankruptcy

 case under chapter 11 ofthe Bankruptcy Code.



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         13.     The Debtor was founded on December 2, 2008 as a Delaware limited liability

 company, pursuant to an operating agreement dated December 2, 2008, as amended on February

 16, 2011 and January 17, 2013, by and among three irrevocable trusts established for

 Hofineister's children —the Megan G. Hofineister Irrevocable Trust, the Scott R. Hofineister

 Irrevocable Trust, and the Jamie S. Hofineister Irrevocable Trust (the "Children's Trusts")

         14.     On or about July 1, 2011, the Children's Trusts assigned all of their membership

 interests in the Debtor to Ascalon Enterprises, LLC ("Ascalon"), which now owns 100% ofthe

 membership interests in the Debtor.

         15.     At all relevant times, Hofineister was the Chairman and sole member of Ascalon's

 Board of Managers, and was the Chairman and sole member of the Debtor's Board of Managers.

         16.     The Debtor, through its subsidiary operating companies,is a designer and

 manufacturer ofengineered components for the automotive industry and other industrial sectors. It is

 or was the direct or indirect parent of approximately 32 subsidiaries.

         17.     As set forth above, the Debtor is a holding company,the assets of which consist

 entirely ofits interests in subsidiaries that were acquired in a series ofleveraged acquisitions

 commencing in late 2008. As ofJanuary 1, 2009,the Debtor reported in federal tax filings that its

 liabilities exceeded its assets by $1.6 million, and the Debtor is informed and believes that the sum of

 its debts continued to exceed all ofits assets, at fair valuations, at all times through the Petition Date.

         18.    No person with the ability or standing to sue had inquiry notice of the Scott

 Transfers.




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                                     FIRST CLAIM FOR RELIEF
             Against Scott Hofineister for Avoidance and Recovery of Fraudulent Transfers
                            (11 U.S.C. §§ 544(b) and 550(a); 6 Del. C.§ 1305)

          19.    Plaintiff realleges and incorporates by reference each and every allegation set

forth in the above paragraphs as though fully set forth herein.

          20.     Between January 13, 2012 and November 30, 2012,the Debtor made a series of

 biweekly cash transfers to or for the benefit of Scott Hofineister, totaling $124,231.84. These Scott

 Transfers (collectively, the "Scott Pre-Petition Transfers") are identified on the spreadsheet

 attached hereto as Exhibit 1, which is incorporated herein by this reference.

          21.     The Scott Pre-Petition Transfers were transfers of property ofthe Debtor.

          22.     The Debtor received less than reasonably equivalent value in exchange for the Scott

 Pre-Petition Transfers. Specifically, the Scott Pre-Petition Transfers purported to be wages paid to

 Scott Hofineister as an employee of the Debtor, but the amount of the Scott Pre-Petition Transfers

 vastly exceeded the value ofany services provided to the Debtor by Scott Hofineister.

          23.     At the times that the Scott Pre-Petition Transfers were made,the sum ofthe Debtor's

 debts was greater than all ofthe Debtor's assets, at a fair valuation.

          24.     At all relevant times, the Debtor had actual creditors holding unsecured claims

 allowable within the meaning of sections 502 and 544(b)ofthe Bankruptcy Code.

          25.     As a result, the Scott Pre-Petition Transfers should be avoided pursuant to section 544

 ofthe Bankruptcy Code and section 1305 ofthe Delaware Uniform Fraudulent Transfer Act.

          26.     Under section 550(a)ofthe Bankruptcy Code,the Debtor is entitled to recover the value

 ofan avoided transfer from the initial transferee ofthe transfer, or from the immediate or mediate

 transferee ofsuch initial transferee, or from the entity for whose benefit the transfer was made. The



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value ofthe Scott Pre-Petition Transfers was $124,231.84. Scott Hofineister was the initial transferee

ofthe Scott Pre-Petition Transfers,the immediate or mediate transferee ofsuch initial transferee, or the

entity for whose benefit the Scott Pre-Petition Transfers were made.

                             SECOND CLAIM FOR RELIEF
      Against Scott Hofineister for Avoidance and Recovery of Post-Petition Transfers
                       (11 U.S.C. §§ 549 and 550(a); 6 Del. C.§ 1305)

         27.     Plaintiff realleges and incorporates by reference each and every allegation set

forth in the above paragraphs as though fully set forth herein.

         28.     On December 14, 2012 and December 28,2012,the Debtor made two Scott Transfers,

totaling $9,754.80(the "Scott Post-Petition Transfers"), to or for the benefit of Scott Hofrneister.

 The Scott Post-Petition Transfers are identified on the spreadsheet attached hereto as Exhibit 1,

 which is incorporated herein by this reference.

         29.     The Scott Post-Petition Transfers were made after the commencement ofthe Debtor's

 chapter 11 bankruptcy case.

         30.     The Scott Post-Petition Transfers were transfers of properly ofthe Debtor's chapter 11

 bankruptcy estate.

         31.     The Scott Post-Petition Transfers were not authorized under the Bankruptcy Code

 or by the Court.

         32.     As a result, the Scott Post-Petition Transfers should be avoided pursuant to section 549

 ofthe Bankruptcy Code.

         33.     Under section 550(a)ofthe Bankruptcy Code,the Debtor is entitled to recover the value

 of an avoided transfer from the initial transferee ofthe transfer, or from the immediate or mediate

 transferee ofsuch initial transferee, or from the entity for whose benefit the transfer was made. The



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value ofthe Scott Post-Petition Transfers was $9,754.80. Scott Hofineister was the initial transferee of

the Scott Post-Petition Transfers, the immediate or mediate transferee ofsuch initial transferee, or the

entity for whose benefit the Scott Post-Petition Transfers were made.

                                 THIRD CLAIM FOR RELIEF
                     Against George Hofineister for Breach of Fiduciary Duty

         34.     Plaintiff realleges and incorporates by reference each and every allegation set

forth in the above paragraphs as though fully set forth herein.

         35.     At all relevant times, George Hofineister owed a fiduciary duty to the Debtor to

 act in good faith, in its best interests, without conflict of interest and to exercise such care as an

 ordinarily prudent person in a like position would use under similar circumstances.

         36.     In directing, causing and/or authorizing each of the Scott Transfers, George

 Hofineister violated that fiduciary duty.

         37.     At all relevant times, George Hofineister had full, exclusive and complete control

 over the Debtor. No person with the ability or standing to sue had inquiry notice of the Scott

 Transfers. The Debtor reasonably relied upon the good faith and competence of George

 Hofineister as a fiduciary.

         38.     As a proximate result of the breaches of fiduciary duty, the Debtor suffered

 damages, in an amount at least equal to the amount of the Scott Transfers that are adjudged to

 be fraudulent or unauthorized post-petition transfers in this action, whether alleged herein or

 added subsequently by amendment.

         39.     In engaging in the conduct alleged herein, George Hofineister was guilty of

 oppression, fraud or malice, entitling Plaintiff, in addition to the actual damages, to recover

 damages for the sake of example and by way of punishing George Hofineister.




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                             FOURTH CLAIM FOR RELIEF
        Against Scott Hofineister for Aiding and Abetting Breach of Fiduciary Duty

         40.     Plaintiff realleges and incorporates by reference each and every allegation set

forth in the above paragraphs as though fully set forth herein.

         41.     At all relevant times, George Hofineister owed a fiduciary duty to the Debtor to

act in good faith, in its hest interests, without conflict of interest and to exercise such care as an

ordinarily prudent person in a like position would use under similar circumstances.

         42.     In directing, causing and/or authorizing each of the Scott Transfers, George

 Hofineister violated that fiduciary duty.

         43.     At all relevant times, George Hofineister had full, exclusive and complete control

 over the Debtor. No person with the ability or standing to sue had inquiry notice of the Scott

 Transfers. The Debtor reasonably relied upon the good faith and competence of George

 Hofineister as a fiduciary.

        44.      Scott Hofineister had actual knowledge of George Hofineister's breaches of his

fiduciary duty.

         45.     Scott Hofineister knowingly and substantially assisted, encouraged and

 participated in George Hofineister's breaches of his fiduciary duty.

         46.     As a proximate result of the breaches of fiduciary duty, and of Scott Hofineister's

 knowing and substantial assistance, encouragement and participation in the breaches of

fiduciary duty, the Debtor suffered damages, in an amount at least equal to the amount of the

 Scott Transfers that are adjudged to be fraudulent or unauthorized post-petition transfers in this

 action, whether alleged herein or added subsequently by amendment.

         47.     In engaging in the conduct alleged herein, Scott Hofineister was guilty of

 oppression, fraud or malice, entitling Plaintiff, in addition to the actual damages, to recover

 damages for the sake of example and by way of punishing Scott Hofineister.

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                                     PRAYER FOR RELIEF

         WHEREFORE,by reason of the foregoing, the Debtor requests that the Court enter

judgment for the Debtor as follows:


        (1)      For avoidance of the Scott Pre-Prepetition Transfers under section 544 of

                 the Bankruptcy Code and applicable state law;

        (2)      For avoidance of the Scott Post-Petition Transfers under section 549 of the

                 Bankruptcy Code;

        (3)      For recovery of the Scott Pre-Petition Transfers and the Scott Post-Petition

                 Transfers, under section 550 of the Bankruptcy Code, from Scott

                 Hofineister in such amount as Scott Hofineister is alleged to be liable

                 herein;

        (4)      Fox interest at the maximum legal rate from the dates of the Scott

                 Transfers;

        (5)      On the Third Claim for Relief against George Hofineister, for general and

                 exemplary damages in an amount subject to proof at trial;

        (6)      On the Fourth. Claim for Relief against Scott Hofineister, for general and

                 exemplary damages in an amount subject to proof at trial;

        (7)      For costs of suit incurred herein, including without limitation, attorneys'

                 fees, to the extent permitted by law; and




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        (8)      For such other and further relief as the Court may deem just and proper.


Dated: December ~,2014                        PACHULSKI STANG ZIEHL &JONES LLP


                                                                     f:1r~~~~~,~
                                                  rabav' ones(Bar No. 2436)
                                              Alan J. ornfeld(CA Bar No. 130063)
                                              Elissa A. Wagner(CA Bar No. 213589)
                                              Colin R. Robinson (Bar No. 5524)
                                              919 North Market Street, 17th Floor
                                              P.O. Box 8705
                                              Wilmington, DE 19899-8705 (Courier 19801)
                                              Telephone: (302)652-4100
                                              Facsimile: (302)652-4400
                                              Email: ljones@pszjlaw.com
                                                     akornfeld@pszjlaw.com
                                                     ewagner@pszjlaw.com
                                                     crobinson@pszjlaw.com

                                               Counsel for Debtor Revstone_Industries, LLC




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                       IN THE UNITED STATES BANKRUPTCY COURT

                                 FOR THE DISTRICT OF DELAWARE


In re:                                                                Chapter 11
REVSTONE INDUSTRIES,LLC,et al.,l                                      Case No. 12-13262(BLS)
                          Debtors.                                    Jointly Administered


REVSTONE INDUSTRIES,LLC,                                              Adv. Proc. No. 14-50977(BLS)
                          Plaintiff,
         v.
SCOTT R. HOFMEISTER and GEORGE S.                                     Related to Adversary'Docket No. 1
HOFMEISTER,
                              Defendants.


        EXHIBIT 1 TO COMPLAINT TO AVOID AND RECOVER FRAUDULENT
   TRANSFERS UNAUTHORIZED POST-PETITION TRANSFERS AND RELATED RELIEF



Dated: December 2, 2014                              PACHULSKI STANG ZIEHL &JONES LLP
                                                     Laura Davis Jones(Bar No. 2436)
                                                     Alan J. Kornfeld(CA Bar No. 130063)
                                                     Elissa A. Wagner(CA Bar No. 213589)
                                                     Colin R. Robinson(Bar No. 5524)
                                                     919 North Market Street, 17th Floor
                                                     P.O. Box 8705
                                                     Wilmington, DE 19899-8705 (Courier 19801)
                                                     Telephone: (302)652-4100
                                                     Facsimile: (302)652-4400
                                                     Email: ljones@pszjlaw.com
                                                            akornfeld@pszjlaw.com
                                                            ewagner@pszjlaw.com
                                                            crobinson@pszjlaw.com

                                                      Counsel for Debtor Revstone Industries, LLC




' The Debtors in these Chapter 11 Cases and the last four digits- of each Debtor's federal tax identification numbers
are: Revstone Industries, LLC (7222); Spara, LLC (6613); Greenwood Forgings, LLC (9285); and US Tool &
Engineering, LLC (6450). The location of the Debtors' headquarters and the service address for each Debtor is:
Revstone Industries, LLC, et al., c/o Huron Consulting Group Inc., 900 Wilshire Drive, Suite 270, Troy, MI 48084,
Attn: John C. DiDonato, Chief Restructuring Officer.


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                     Exhibit 1




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    Revstone Industries, LLC
    Scott Hofineister
    Payroll Summary

    Pre-Petition Scott Transfers:
                                                ER Soc Sec                 ER FUTA       ER KUI
             Pa D e                  Pav Rate (Max $1101001   ER MDCR    (Max $7.000) (Max 59.000)
            13-tan-12                  4,807.69      298.08        69.71        28.85       163.46
            27-tan-12                  4,807.69      298.08        69.71        13.15       142.54
r           10-Feb-12                  4,807.69      298.08        69.71          -            -
            24-Feb-12                  4,807.69      298.08        69.71          -            -
            9-Mar-12                   4,807.69      298.08        69.71          -            -
            23-Mar-12                  4,807.69      298.08        69.71          -            -
             6-Apr-12                  4,807.69      298.08        69.71          -            -
            20-Apr-12                  4,807.69      298.08        69.71          -            -
            4-May-12                   4,807.69      298.08        69.71          -            -
            18-May-12                  4,807.69      298.08        69.71          -            -
             1-Jun-12                  4,807.69      298.08        69.71          -            -
            15-Jun-12                  4,807.69      298.08        69.71          -            -
            29-Jun-12                  4,807.69      298.08        69.71          -            -
             13-Jul-12                 4,807.69      298.08        69.71          -            -
             27-1u1-12                 4,807.69      298.08        69.71          -            -
            10-Aug-12                  4,807.69      298.08        69.71          -            -
            24-Aug-12                  4,807.69      298.08        69.71          -            -
             7-Sep-12                  4,807.69      298.08        69.71          -            -
            21-Sep-12                  4,807.69      298.08        69.71          -            -
             5-Oct-12                  4,807.69      298.08        69.71          -            -
            19-Oct-12                  4,807.69      298.08        69.71          -             -
             2-Nov-12                  4,807.69      298.08        69.71          -            -
            16-Nov-12                  4,807.69      268.51        69.71          -            -
            30-Nov-12                  4,807.69         -          69.71          -            -
                                                                                                     TOTAL- Pre-Petition
        Pre-Petition Sub-Total       115,384.56    6,826.20     1,673.08       42.00       306.00         124,231.84




    Post-Petition Stott Transfers:
                                                ER Soc Sec                 ER FUTA       ER KUI
            Pav Date                 Pav Rate (Max $110100)   ER MDCR    (Max $7.000) (Max $9.0001
            14-Dec-12                  4,807.69         -          69.71          -            -
            28-Dec-12                  4,807.69         -          69.71          -            -
                                                                                                     TOTAL -Post-Petition
       Post-Petition Sub-Total         9,615.38        -         139.42          -             -            9,754.80
                                                                                                         TOTAL -ALL
                 Full Year Total     124,999.94    6,826.20     1,812.50       42.00        306.Op        133,986.64




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                EXHIBIT B




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                       IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


In re:                                                               Chapter 11
REVSTONE INDUSTRIES,LLC,et al.,l                                     Case No. 12-13262(BLS)
                             Debtors.                                Jointly Administered


SPARA,LLC,                                                           Adv. Proc. No. 14-            (BLS)
                             Plaintiff,
         v.
SCOTT R. HOFMEISTER and GEORGE S.
HOFMEISTER,
                             Defendants.


                         COMPLAINT TO AVOID AND RECOVER
                     FRAUDULENT TRANSFERS AND RELATED RELIEF

         Plaintiff Spara, LLC (the "Debtor" or "Plaintiff'), by and through its undersigned

counsel, and based upon knowledge, information and belief, alleges as follows:

                                           NATURE OF ACTION

                 The Debtor seeks to recover, for the benefit of its bankruptcy estate and its

 creditors, a cash transfer in the amount of $70,000 (the "Scott Transfer") made on June 28, 2011,

 by the Debtor's former manager, Defendant George S. Hofineister ("George Hofineister"), to or

 for the benefit of his son, Defendant Scott R. Hofineister ("Scott Hofineister"). The Debtor was

 insolvent at the time the Scott Transfer was made, and did not receive reasonably equivalent

 value in return. Specifically, the Scott Transfer was made for the purpose of paying Scott



~ The Debtors in these Chapter 11 Cases and the last four digits of each Debtor's federal tax identification numbers
are: Revstone Industries, LLC (7222); Spara, LLC (6613); Greenwood Forgings, LLC (9285); and US Tool &
Engineering, LLC (6450). The location of the Debtors' headquarters and the service address for each Debtor is:
Revstone Industries, LLC, et al., c/o Huron Consulting Group Inc., 900 Wilshire Drive, Suite 270, Troy, MI 48084,
Attn: John C. DiDonato, Chief Restructuring Officer.



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Hofineister's tuition at Harvard Business. School. Scott Hofineister was not an employee ofthe

Debtor, and never provided any services or anything else of value to the Debtor in exchange for

the Scott Transfer.

        2.      Scott Hofineister was the recipient or beneficiary of the Scott Transfer, and as

such is liable for the return of the Scott Transfer under sections 544(b), 548 and 550 ofthe

Bankruptcy Code and the Delaware Uniform Fraudulent Transfer Act,6 Del. C. § 1301 et seq.

Moreover, in making, causing or authorizing the Scott Transfer, George Hofineister breached

his fiduciary duties to the Debtor, and Scott Hofineister aided and abetted such breach of

fiduciary duties. Accordingly, in addition to the avoidance and recovery of the Scott Transfer,

the Debtor seeks to recover compensatory and punitive damages from the Defendants.

         3.     As of January 17, 2013, the Debtor's operating agreement was amended to,

among other things, appoint John C. DiDonato as the President and Chief Restructuring Officer

of the Debtor, and to appoint two independent managers, James Shein and Richard Newsted, to

the Debtor's Board of Managers. The two independent managers make up a restructuring

committee that has authority over the Debtor's bankruptcy and restructuring efforts. The

purpose of this action is to avoid and recover the Scott Transfer for the benefit ofthe Debtor's

estate and its creditors.

         4.      The Defendants are advised that the Debtor's investigation is ongoing and that the

Debtor may seek to further amend this complaint to, among other things, add other transfers

alleged to be subject to avoidance.




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                                  JURISDICTION AND VENUE

        5.      This is an adversary proceeding pursuant to Rule 7001 ofthe Federal Rules of

Bankruptcy Procedure.

        6.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334(b) and (e).

         7.     This adversary proceeding is a core proceeding within the meaning of 28 U.S.C. §

157(b)(2)(H).

         8.      Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                              PARTIES

         9.     Plaintiff is a debtor and debtor in possession in the above-captioned bankruptcy

case. It brings this action on behalf of its estate and its creditors.

         10.     Defendant Scott R. Hofineister is an individual residing in California. Scott

Hofineister is George Hofineister's son.

         11.     Defendant George S. Hofineister is an individual residing in Kentucky. At all

relevant times, George Hofineister was the Chairman and sole member of the Board of

Managers ofthe Debtor.

                                    FACTUAL BACKGROUND

         12.     On December 3,2012(the "Petition Date"), the Debtor commenced its bankruptcy

case under chapter 11 ofthe Bankruptcy Code.

         13.     The Debtor was founded on August 2, 2010 as a Delaware limited liability

company, pursuant to an operating agreement, effective August 2, 2010, by and among three

irrevocable trusts established for Hofineister's children —the Megan G. Hofineister Irrevocable



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Trust, the Scott R. Hofineister Irrevocable Trust, and the Jamie S. Hofineister Irrevocable Trust

(the "Children's Trusts").

        14.     On or about July 1, 2011, the Children's Trusts assigned all of their membership

interests in the Debtor to Ascalon Enterprises, LLC ("Ascalon"), which now owns 100% ofthe

membership interests in the Debtor.

         15.     At all relevant times, Hofineister was the Chairman and sole member of Ascalon's

Board of Managers, and was the Chairman and sole member ofthe Debtor's Board of Managers.

         16.     The Debtor, through its non-debtor subsidiary operating companies, is a manufacturer

ofengineered components for the automotive industry and other industrial sectors.

         17.     As set forth above,the Debtor is a holding company,the assets of which at the time of

the Transfer consisted ofrelated entity receivables, cash, and interests in certain non-debtor

subsidiaries. The sum ofthe Debtor's debts exceeded its assets, at fair valuations, at the time ofthe

Transfer.

         18.     No person with the ability or standing to sue had inquiry notice ofthe Scott

Transfer.


                                    FIRST CLAIM FOR RELIEF
            Against Scott Hofineister for Avoidance end Recovery of Fraudulent Transfers
                           (11 U.S.C. §§ 544(b) and 550(x); 6 Del. C.§ 1305)

         19.     Plaintiff realleges and incorporates by reference each and every allegation set

forth in the above paragraphs as though fully set forth herein.

         20.     On June 28,2011,the Debtor made a cash transfer to or for the benefit of Scott

 Hofineister in the amount of$70,000 (i.e.,the Scott Transfer).

         21.     The Scott Transfer was a transfer of property ofthe Debtor.


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         22.     The Debtor received less than reasonably equivalent value in exchange for the Scott

Transfer. Specifically, the Scott Transfer was made for the purpose of paying Scott Hofineister's

tuition at Harvard Business School. Scott Hofineister was not an employee of the Debtor and

never provided any services or anything else of value to the Debtor.

         23.     At the time that the Scott Transfer was made,the sum ofthe Debtor's debts was

greater than all ofthe Debtor's assets, at a fair valuation.

         24.     At all relevant times, the Debtor had actual creditors holding unsecured claims

allowable within the meaning of sections 502 and 544(b)ofthe Baulcruptcy Code.

         25.     As a result, the Scott Transfer should be avoided pursuant to section 544 ofthe

Baulcruptcy Code and section 1305 ofthe Delaware Uniform Fraudulent Transfer Act.

         26.     Under section 550(a)ofthe Bankruptcy Code,the Debtor is entitled to recover the value

of an avoided transfer from the initial transferee ofthe transfer, or from the immediate or mediate

transferee ofsuch initial transferee, or from the entity for whose benefit the transfer was made. The

value ofthe Scott Transfer was $70,000. Scott Hofineister was the initial transferee ofthe Scott

Transfer, or the entity for whose benefit the Scott Transfer was made.
                                     SECOND CLAIM FOR RELIEF
              Against Scott Hofii~eister for Avoidance and Recover~~ of Fraudulent Tz•ansfers
                                       (11 U.S.C. §§ 548 and 550(a))

         27.     Plaintiff realleges and incorporates by reference each and every allegation set forth

in the above paragraphs as though fully set forth herein.

         28.     On June 28,2011,the Debtor directly or indirectly, voluntarily or involuntarily, made

a cash transfer to or for the benefit of Scott Hofineister in the amount of$70,000 (i.e., the Scott

 Transfer).

         29.      The Scott Transfer was a transfer ofproperty ofthe Debtor.


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        30.     The Debtor received less than reasonably equivalent value in exchange for the Scott

Transfer. Specifically, the Scott Transfer was made for the purpose of paying Scott Hofineister's

tuition at Harvard Business School. Scott Hofineister was not an employee of the Debtor and

never provided any services or anything else of value to the Debtor.

        31.      At the time that the Scott Transfer was made,(i)the sum ofthe Debtor's debts was

greater than all ofthe Debtor's assets, at a fair valuation,(ii)the Debtor was engaged in business for

which its remaining property was an unreasonably small capital, or (iii) the Debtor intended to incur,

or believed it would incur, debts that were beyond its ability to repay as they matured.

        32.      As a result, the Scott Transfer should be avoided pursuant to section 548 ofthe

Bankruptcy Code.

        33.      Under section 550(a)ofthe Bankruptcy Code,the Debtor is entitled to recover the value

ofan avoided transfer from the initial transferee ofthe transfer, or from the immediate or mediate

transferee ofsuch initial transferee, or from the entity for whose benefit the transfer was made. The

value ofthe Scott Transfer was $70,000. Scott Hofineister was the initial transferee ofthe Scott

Transfer, or the entity for whose benefit the Scott Transfer was made.

                                THIRD CLAIM FOR RELIEF
                    Against George Hofineistei• far Breach of Fiduciar~~ Duty

         34.     Plaintiff realleges and incorporates by reference each and every allegation set

forth in the above paragraphs as though fully set forth herein.

         35.     At all relevant times, George Hofineister owed a fiduciary duty to the Debtor to

act in good faith, in its best interests, without conflict of interest and to exercise such care as an

ordinarily prudent person in a like position would use under similar circumstances.




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         36.    In directing, causing and/or authorizing the Scott Transfer, George Hofineister

violated that fiduciary duty.

         37.    At all relevant times, George Hofineister had full, exclusive and complete control

over the Debtor. No person with the ability or standing to sue had inquiry notice ofthe Scott

Transfer. The Debtor reasonably relied upon the good faith and competence of George

Hofineister as a fiduciary.

         38.    As a proximate result ofthe breaches of fiduciary duty, the Debtor suffered

damages, in an amount at least equal to the amount of the Scott Transfer and any other transfer

that is adjudged to be a fraudulent transfer in this action, whether alleged herein or added

subsequently by amendment.

         39.    In engaging in the conduct alleged herein; George Hofineister was guilty of

oppression, fraud or malice, entitling Plaintiff, in addition to the actual damages, to recover

damages for the sake of example and by way of punishing George Hofineister.


                             FOURTH CLAIM FOR RELIEF
        Against Scott Hofineister for Aiding and Abetting Breach of Fiduciary Duty

         40.     Plaintiff realleges and incorporates by reference each and every allegation set

forth in the above paragraphs as though fully set forth herein.

         41.     At all relevant times, George Hofineister owed a fiduciary duty to the Debtor to

act in good faith, in its best interests, without conflict of interest and to exercise such care as an

ordinarily prudent person in a like position would use under similar circumstances.

         42.     In directing, causing and/or authorizing the Scott Transfer, George Hofineister

 violated that fiduciary duty.

         43.     At all relevant times, George Hofineister had full, exclusive and complete control

 over the Debtor. No person with the ability or standing to sue had inquiry notice of the Scott



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Transfer. The Debtor reasonably relied upon the good faith and competence of George

Hofineister as a fiduciary.

        44.      Scott Hofineister had actual knowledge of George Hofineister's breach of his

fiduciary duty.

         45.     Scott Hofineister knowingly and substantially assisted, encouraged and

participated in George Hofineister's breach of his fiduciary duty.

         46.     As a proximate result of the breach of fiduciary duty, and of Scott Hofineister's

knowing and substantial assistance, encouragement and participation in the breach offiduciary

duty, the Debtor suffered damages, in an amount at least equal to the amount of the Scott

Transfer and any other transfer that is adjudged to be a fraudulent transfer in this action,

whether alleged herein or added subsequently by amendment.

         47.     In engaging in the conduct alleged herein, Scott Hofineister was guilty of

oppression, fraud or malice, entitling Plaintiff, in addition to the actual damages, to recover

damages for the sake of example and by way of punishing Scott Hofineister.


                                      PRAYER FOR RELIEF

         WHEREFORE,by reason of the foregoing, the Debtor requests that the Court enter

judgment for the Debtor as follows:

        (1)      For avoidance of the Scott Transfer under section 544 of the Bankruptcy

                 Code and applicable state law;

        (2)      For avoidance of the Scott Transfer under section 548 of the Bankruptcy

                 Code;

        (3)      For recovery of the Scott Transfer, under section 550 of the Bankruptcy

                 Code, from Scott Hofineister in such amount as Scott Hofineister is



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                alleged to be liable herein;

       (4)      For interest at the maximum legal rate from the dates ofthe Scott Transfer;

       (5)      On the Third Claim for Relief against George Hofineister, for general and

                exemplary damages in an amount subject to proof at trial;

       (6)      On the Fourth Claim for Relief against Scott Hofineister, for general and

                exemplary damages in an amount subject to proof at trial;

       (7)      For costs of suit incurred herein, including without limitation, attorneys'

                fees, to the extent permitted by law; and

       (8)      For such other and further relief as the Court may deem just and proper.



Dated: December 2, 2014                        PACHULSKI STANG ZIEHL &JONES LLP



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                                               Alan J. Kornfeld(CA Bar No. 130063)
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                                               Counsel for Debtor Spara, LLC




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                EXHIBIT D




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                  Revstone Industries, LLC




James M. Lukenda, CIRA, CFF
Huron Consulting Services LLC

October 7, 2016




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Appendices

A.     Curriculum Vitae of James M. Lukenda, CIRA, CFF
B.     List of Adversary Proceedings
C.     List of Documents Relied Upon




Exhibits
I.     Revstone Industries, LLC Organization 2008 to 2012
II.    Summary of Guarantees
III.   Liquidity Communications Examples
IV.    Hofmeister Schedule of Non-Health Related Payments
V.     Farm Employee Payroll Charged to Health & Benefits, LLC




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    Introduction

    PREFACE

Pachulski Stang Ziehl & Jones LLP (“PSZJ” or “Counsel”), in its capacity as legal counsel for
Revstone Industries, LLC (“Revstone” or the “Debtor”) and Fred C. Caruso, solely in his
capacity as the Revstone/Spara Litigation Trustee for the Revstone/Spara Litigation Trust,
retained Huron Consulting Services LLC (“Huron” or “we”) and through Huron, James M.
Lukenda, CIRA, a Managing Director, as its financial expert in numerous adversary proceedings
(the “Adversary Proceedings”) filed in the Debtor’s chapter 11 case. 1

Counsel requested that Huron evaluate the transactions that are the subject of the Adversary
Proceedings. Those transactions include, among other things, pre-petition transfers of the
Debtor’s funds, which the Debtor’s former manager, George S. Hofmeister (“Hofmeister”),
caused the Debtor to make to or for the benefit of Hofmeister and the other defendants
(“Defendants”) in the Adversary Proceedings, including the Megan G. Hofmeister Irrevocable
Trust, the Scott R. Hofmeister Irrevocable Trust, and the Jamie S. Hofmeister Irrevocable Trust
(the “Children’s Trusts”).

Counsel requested that Huron determine whether Revstone had creditors as of the bankruptcy
petition date to whom Revstone has owed a debt since the earliest of the transaction dates (the
“Predicate Creditors”.)

Counsel also requested that Huron evaluate the Debtor’s insolvency at the time of these pre-
petition transfers, and determine the additional damages Revstone suffered as a result of these
pre-petition transfers.

Finally, Counsel requested that Huron evaluate certain transfers made during the pre and post-
petition periods from the bank account(s) into which the Debtor and its subsidiaries deposited the
employer portion of health care premiums paid to the Ascalon Enterprises Employee Medical
Benefits Plan (the “Ascalon Health Plan”).




1
 Revstone’s chapter 11 case is pending in the United States Bankruptcy Court for the District of Delaware as In re
Revstone Industries, LLC, Case No. 12-13262 (BLS). The Adversary Proceedings, which are pending in the United
States Bankruptcy Court for the District of Delaware and the United States Bankruptcy Court for the Eastern District
of Kentucky, are listed on Appendix B hereto.



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    SCOPE

Huron is a management consulting firm and not a CPA firm. Huron does not provide attest
services, audits, or other engagements in accordance with standards established by the American
Institute of Certified Public Accountants (“AICPA”) or auditing standards promulgated by the
Public Company Accounting Oversight Board (“PCAOB”). The procedures that Huron
performed do not constitute an audit of the financial statements of Debtor or its affiliates in
accordance with the AICPA’s or PCAOB’s auditing standards. Accordingly, Huron expresses no
opinion or other form of assurance on any financial statements, management representations, or
other data provided by any of the parties included in or underlying the accompanying report.




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    QUALIFICATIONS

I am a Managing Director of Huron’s Business Advisory practice. I have served in this capacity
since Huron’s founding in 2002. Prior to that time I was a Partner in Arthur Andersen LLP’s
Corporate Recovery Services practice based in New York. My work in the Huron Business
Advisory practice and prior to that, my work with Arthur Andersen’s Corporate Recovery
practice, going back to 1989, has been focused on assisting clients with turnaround,
restructuring, and bankruptcy matters, working on behalf of companies and their directors,
lenders, committees of creditors, and other parties-in-interest including individual creditors, in
capacities ranging from consultant and advisor to financial expert, to chief restructuring
officer. My industry experience tracks the cycles of troubled industries in the United States and
abroad: manufacturing, publishing and media, energy, telecommunications, construction
contracting, airlines, and retail, to name a few. Among the hallmark cases with which I have
been involved are Federated Department Stores, JWP, Pocket Communications and DCR PCS,
Global Crossing Ltd., Northwest Airlines, Nortel Networks, The Great Atlantic and Pacific Tea
Company, Residential Capital, LLC, and Sherwin Alumina Company. I have also worked on
assignments for many middle market companies, providing a range of services including
valuation and solvency analyses, avoidance matters, forensic accounting, and investigations. I
am well familiar with the Debtor’s Chapter 11 case, and the reasons the Debtor sought Chapter
11 protection. I served as the Deputy Chief Restructuring Officer for Revstone during its
Chapter 11 case.

I regularly lend my experience to industry education programs addressing bankruptcy and
restructuring topics for groups such as Practising Law Institute, American Bankruptcy Institute
and Association of Insolvency and Restructuring Advisors (“AIRA”). I am one of the authors of
the AICPA/AIRA publication, 2005 Bankruptcy Revisions Implications for Businesses and
Financial Advisors.

I am a Certified Insolvency and Restructuring Advisor (“CIRA”), Certified in Financial
Forensics (“CFF”), and an active member of AIRA.

I hold a Bachelor of Science in Business Administration degree, cum laude, in Accounting from
Georgetown University. Attached as Appendix A is a copy of my curriculum vitae with
citations of publications and speaking engagements, and matters involving depositions and
expert testimony.

During my 27 plus years of experience in bankruptcy and restructuring, my work has regularly
included the analysis of transfers and Chapter 5 causes of action, solvency, and other valuation
questions, as well as analyses of the affirmative defenses available to creditors under applicable




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statutes related to avoidable transactions. As a result, I have the necessary familiarity and
expertise to address the matters for which Counsel has engaged Huron.

The opinions presented in this report are based on my analyses of available information and my
many years of experience as a financial advisor and Certified Insolvency and Restructuring
Advisor. As part of performing my analyses, I utilized Huron’s professional staff who worked
under my direction and control.

Not all of the defendants in the Adversary Proceedings have fully responded to discovery
requests and fact discovery continues. I reserve my right to amend my statements and
conclusions if necessary for additional information I may receive after the date of this report.

Counsel’s engagement of Huron provides for payment on an hourly basis for the services my
colleagues and I are providing. My standard billing rate is $725 per hour. Huron agreed to
provide a discount of 20% against its invoices calculated at the standard rates.




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    BACKGROUND ON REVSTONE INDUSTRIES, LLC

Hofmeister founded Cerion, LLC (c/k/a Revstone Transportation, LLC) on November 26, 2008.
At that time, “it was an American manufacturing company focused on acquiring and operating
small to medium-sized machining operations in the Midwest region of the United States” (per
2008 audited financials) and had two operating entities, Metavation, LLC and Eptec S.A. de C.V.

Contributed equity in Cerion amounted to $475,356. This amount appears to represent an
allocation of expenditures from one or more other Hofmeister entities.

From inception, Cerion, a limited liability corporation, was member managed by the Children’s
Trusts.

Revstone Industries, LLC (as previously defined, the “Debtor” or “Revstone”) was organized on
December 2, 2008 as a Delaware limited liability company, pursuant to an operating agreement
dated December 2, 2008 by and among the Children's Trusts. Revstone, through its subsidiary
operating companies, characterized itself as a designer and manufacturer of engineered
components for the automotive industry and other industrial sectors.

Members Equity in Revstone from inception appears to consist of nothing more than a journal
entry transaction with another Hofmeister entity.

As of 2012, Revstone was the direct or indirect parent of approximately 42 subsidiaries. Cerion,
LLC became a direct subsidiary of Revstone and formally changed its name to Revstone
Transportation, LLC (“Revstone Transportation”) on April 7, 2010.

On or about July 1, 2011, the Children’s Trusts assigned all of their membership interests in
Revstone to Ascalon Enterprises, LLC (“Ascalon”, which entity is wholly controlled by the
Children’s Trusts), which currently has, pursuant to Revstone’s confirmed plan of
reorganization, a suspended 100% of the membership interests in Revstone.

On December 3, 2012, Revstone commenced its bankruptcy case under chapter 11 of the
Bankruptcy Code. At all relevant times up to the bankruptcy, Hofmeister was the Chairman and
sole member of Ascalon’s Board of Managers, and was the Chairman and sole member of
Revstone’s Board of Managers. With the appointments of independent board members and the
Chief Restructuring Officer, by January 17, 2013, Hofmeister’s executive and decision making
authority with respect to Revstone was effectively terminated.

Detail of Revstone’s 2008-2012 organizational structure is provided in EXHIBIT I.




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    Approach to Determining Solvency

    BALANCE SHEET TEST

The Bankruptcy Code defines “insolvent” as:

        a financial condition such that the sum of such entity’s debts is greater than all of such
        entity’s property, at a fair valuation, exclusive of (i) property transferred, concealed, or
        removed with intent to hinder, delay, or defraud such entity’s creditors; and (ii) property
        that may be exempted from property of the estate under section 522 2


Revstone is a holding company organized under the laws of Delaware. On a standalone basis,
Revstone had no manufacturing operations and nominal amounts of tangible assets such as
furnishings and equipment during the Relevant Period. Revstone, with a management team that
varied in size and cost over time, simply managed its controlling interest in its investments that
were a result of acquisitions. Throughout the Relevant Period, Revstone’s assets consisted
almost exclusively of investments in subsidiaries and receivables from other Hofmeister entities.
Revstone also incurred substantial debts and moved funds among related entities to address
constant requests from within Revstone’s holdings and from other Hofmeister interests for
money to pay outstanding obligations.

Huron evaluated a significant amount of data, accounting records, annual operating plans, and
other records that are available. As set forth below, in conducting my insolvency analysis and in
reaching my conclusions I have relied upon the financial information included in the following
financial statements which were reported upon by independent auditors.

    •   Cerion, LLC and Subsidiaries, Consolidated Financial Statements and Independent
        Auditors’ Report for the Period November 26, 2008 (Date of Inception) Through
        December 31, 2008
    •   Revstone Transportation, LLC and Affiliates, Also Known As Revstone Transportation
        Group, Combined Financial Statements and Independent Auditors’ Report for the Period
        December 31, 2009
    •   Revstone Industries, LLC and Subsidiaries, Consolidated Financial Statements and
        Independent Auditors’ Report For the Year Ended December 31, 2010
    •   Revstone Industries, LLC and Subsidiaries, Consolidated Financial Statements and
        Independent Auditors’ Report For the Year Ended December 31, 2011


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            11 U.S.C. § 101 (32)(a).




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    •   Eptec, S.A. de C.V. Financial Statements for the Years Ended December 31, 2012 and
        2011, and Independent Auditors Report dated May 24, 2013
    •   Aarkel Tool & Die Inc Financial Statements for the Years Ended December 31, 2009-
        2012
    •   T Cast Holdings Consolidated Financial Statements with Supplementary Information for
        Year Ended December 31, 2010
    •   Fairfield Castings, LLC dba Revstone Castings Fairfield, LLC and Metavation Castings,
        LLC 2011 Consolidated Financial Statement Audit

As there were no Revstone consolidated audited financial statements prepared for the year ended
December 31, 2012, in preparing my analysis and forming my opinions I have relied upon the
financial information for that period obtained from Revstone’s accounting and finance files.

I have included a comprehensive listing of the documents and other information which was
relevant to my analysis and conclusions in addition to those cited above in Appendix C to this
Report.

In evaluating solvency from a balance sheet perspective, whether assets at fair value exceed
liabilities, the valuation of the assets may be approached from a number of perspectives. These
include but are not limited to valuation based on projected cash flows, comparable market
multiple analysis, and comparative market transactions.

In this case, I have chosen to place my greatest reliance on the actual fair market transaction
values paid by Hofmeister for the acquisitions that comprised Revstone over the Relevant Period
and utilized the financial statements reported upon by the independent auditors as my starting
point for the analysis.

During the Relevant Period, the automotive supplier and related industrial markets were in
significant turmoil. This period included the United States’ premier industrial companies,
General Motors and Chrysler, filing for Chapter 11 protection. Credit markets were frozen. There
were few comparable transactions during this period and multiples for reported companies varied
greatly depending on the quality of the assets.

Hofmeister approached the market looking for distressed assets. Given the lack of capital at
Hofmeister’s disposal, once acquired, he was not in a position to invest in those assets to attain
improved performance. In most cases, the assets acquired operated with negative cash flows
thereby eliminating a discounted cash flow analysis from the valuation alternatives.

The usual criticism for using GAAP financial statements as the basis for a solvency analysis is
that the values recorded at historic cost are far removed from the fair values during the period for
which the analysis is performed. In this case, Revstone was a new entity at the start of the



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Relevant Period and substantially all of the assets in question were acquired during the period
through market transactions. Accordingly, purchase accounting for Revstone and its subsidiaries
reflects the market value of those assets during the Relevant Period.

While based on the fair market values of the acquired assets and operations, the financial
statements to which I referred in performing my analysis required certain adjustments to reflect
other adjustments to GAAP and for details not otherwise reflected in those financial statements
as outlined below.

    NET ASSETS OF REVSTONE INDUSTRIES, LLC

As a holding company, with minor exceptions for nominal amounts of property and equipment in
the later years of the Relevant Period, Revstone’s assets consisted entirely of its investments in a
number of other holding companies and receivables from other Hofmeister related entities. These
holding companies then directly or through additional holding companies held investments in
underlying operating companies Hofmeister acquired.

The appropriate measure of value at the Revstone level would therefore be the value of
Revstone’s “Investment in Subsidiaries”. The TABLE 1 on the next page presents Revstone’s
investments in its subsidiaries and the amount of equity reported for each entity by year and the
necessary additional adjustments to properly show the extent of Revstone’s insolvency in each of
the years during the Relevant Period.




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REVSTONE INDUSTRIES, LLC SOLVENCY ANALYSIS
TABLE 1

                                                                                  Adjusted for Negative Equity
                                                     Audit                Audit              Audit             Audit             Internal
                                                     2008                 2009               2010              2011                2012
  Equity of Revstone Industries, LLC Subsidiaries
    Revstone Transportation Group, LLC              15,719,797            41,274,537         36,622,153       33,906,993          73,115,030
    Revstone Plastics, LLC                                                       -            9,783,881              -                   -
    Revstone Lighting, LLC                                                                                     6,318,848                 -
    Revstone Industries Canada, Inc.                                      11,715,815                -                -                   -
    Revstone Wallaceburg Canada, Inc.                                     14,271,496         10,862,468       12,729,939          14,414,071
    Revstone Tool & Engineering, LLC                                                         27,525,526       23,105,430                 -
    RPM-Tec, LLC                                                                              5,992,826              -
    Revstone Health Plan
   Revstone Mexico S. de R.L. de C.V.                                                                                  241
   Revstone San Luis Potosi S. de R.L.
   de C.V.                                                                                                       159,741
    Revstone Industries, LLC Corporate                                                        1,953,660      (52,824,063)        (23,075,590)
    Eliminations                                                                            (51,204,147)     (15,542,029)        (52,574,697)
   Control Group Pension Liability -
   Hillsdale Pension Plan                           (15,719,798)         (21,642,346)       (29,038,963)     (32,374,447)        (32,374,447)
   Control Group Pension Liability -
   Fairfield Pension Plan                                                                    (2,275,888)      (3,190,542)         (1,984,192)
   Hillsdale Pension Plan Liability
   Prohibited Loans                                                        (4,927,740)      (27,527,740)     (31,125,480)        (31,136,687)

  Revstone Industries, LLC Balance             $                 (1)   $ 40,691,762      $ (17,306,224)    $ (58,835,369)    $ (53,616,513)
  Before Fair Value Adjustments                              -                    -                 -                  -                 -

  Fair Value Adjustments
     Bargain Purchase Adjustment:
        Revstone Industries Burlington, LLC                              (10,611,613)
        Metavation, LLC Vassar                                              (735,279)
        MPI, LLC                                                         (28,005,903)
        Greenwood Forgings, LLC                                                              (7,781,422)
        Revstone Castings Fairfield, LLC                                                     (7,909,624)
        Revstone Towing, LLC                                                                (11,032,312)
        Saleen, LLC                                                                            (366,408)
        Arrow Racing, LLC                                                                      (226,864)
        Power-Tec Manufacturing, LLC                                                         (1,878,197)
        T Cast & Spara Tact                                                                  (4,279,930)
     A/R & Loan Receivable - Affiliate               (2,406,797)         (13,978,687)        (7,709,597)     (20,265,671)
     2009 Contech and MW TDC Equity                                      (13,658,437)
     Deferred Tax Asset                              (1,638,645)          (1,544,727)        (2,225,386)      (1,292,467)
     Deferred Loan Origination                                                               (1,859,816)      (2,228,178)
     Deferred Tax Liability                                                2,860,241          4,206,697        1,571,325
     Deferred Gain                                                         1,469,814            563,209
     Total Fair Value Adjustments              $ (4,045,442)           $ (64,204,591)    $ (40,499,650)    $ (22,214,991)    $         -
                                                         -                        -                 -                 -                 -
    Revstone Industries, LLC Insolvency        $ (4,045,443)           $ (23,512,829)    $ (57,805,874)    $ (81,050,360)    $ (53,616,513)
        (Liabilities exceed Assets)

  Total Revstone Guarantees Issued by Year     $             -         $ (32,330,853)    $ (90,575,956)    $ (20,612,679)    $ (45,000,000)




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My analysis began by determining the amount of positive equity reported by Revstone’s
investments and sub-investments. Where an entity such as Revstone Transportation reported
positive and negative equity investments, I only included the positive equity balances in my
totals.

The balances for Revstone Industries, LLC Corporate reflect the net assets or liabilities of
Revstone as reported in the consolidating financial statement schedules.

In order to eliminate the gross-up of assets and liabilities between the entities I also included the
eliminations presented on the consolidating schedules.

In addition, for each of the years presented I added back the obligations for the Hillsdale Hourly
and Salaried Pension Plans (the “Hillsdale Plans”) to the equity investment in Revstone
Transportation. I added back the obligation for the Revstone Castings Fairfield GMP Local 539
Pension Plan (the “Fairfield Plan”) to the equity investment in Revstone Tool & Engineering,
LLC for the years 2010 and 2011 during which time Fairfield Castings, LLC, the plan sponsor,
was a subsidiary of that entity. As discussed below, I then reflected the controlled group liability
related to the Hillsdale and Fairfield Plans as an obligation against the controlled group at the
Revstone level.

    BASIS FOR ADJUSTMENTS

Pension Plan Controlled Group Liability

Hofmeister though Revstone Transportation began his Revstone acquisitions with the purchase
of the membership interest in Hillsdale Automotive, LLC (renamed Metavation, LLC and now
known and referred to herein as TPOP, LLC or “TPOP”) and its Mexican subsidiary Eptec, S.A.
de C.V. (“Eptec”) for one dollar ($1.00) on November 28, 2008. Included in the purchase was a
$5 million cash contribution from TPOP’s former parent. This $5 million fund was immediately
taken by Hofmeister and sent to one or more other Hofmeister entities. There is no indication
that these funds were ever repaid or recovered by TPOP. As such, TPOP was immediately
insolvent upon acquisition. In acquiring the member interest in TPOP, the Revstone entities
became obligated as a group for any underfunding of the Hillsdale Plans under the controlled
group liability provisions of the Employee Retirement Income Security Act of 1974 (“ERISA”).
Upon the acquisition of the entity now known as Fairfield Castings, LLC (“Fairfield”), Revstone
and its affiliates became obligated for the underfunding in the Fairfield Plan. My analysis
includes the obligations presented on the TPOP and Fairfield financial statements representing
the difference between plan assets as reported and the accumulated benefit obligations. These
obligations are valued based on the assumption that the pension plans are continuing plans.



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Pursuant to the settlement with Pension Benefit Guaranty Corporation (the “PBGC Settlement”),
which was approved by the United States Bankruptcy Court for the District of Delaware, the
plans were terminated resulting in a claim against the controlled group entities of $95 million.
After considering the adjustment discussed below for the uncollectible prohibited investments,
the insolvency reflected in the above schedule would be at least $31 million greater when
considering the additional liability under the PBGC Settlement and plan terminations.

Adjustment for Uncollectible Prohibited Investments

The adjustment for Hillsdale Pension Plan Liability Prohibited Loans adds to Revstone’s
controlled group liability for the unfunded pension obligations not recognized in the financial
statements because of the overstatement of the value of the prohibited transactions.

Starting in January 2009, Hofmeister caused the Hillsdale and Fairfield Plans to convert third
party investments to loans and notes and other related party assets. These transactions were
prohibited under ERISA regulations. Many of these loans went to purchase other distressed
assets and many of the borrowing entities did not have the collateral or ability to repay the
amounts borrowed. Despite the poor credit profile of these investments, Hofmeister had the
loans and investments reported at face value in the calculation of the unfunded pension
obligations. Over the Relevant Period, the amount of the uncollectible prohibited investments
that were not recognized as such in the calculations of the unfunded pension obligation rose from
$4.9 million in 2009 to over $31 million in 2012.

Bargain Purchase Adjustments

The bargain purchase adjustments subtract from the financial statement value of Revstone’s
subsidiaries the book equity created by what was once called “negative goodwill.”

By general definition, the occasional gain resulting from a bargain purchase is the gain
recognized on the financial statements for assets purchased for less/below fair market value of its
net assets. Current accounting rules 3 require the purchaser of said assets to book the difference
between the purchase price of the assets and their fair market value on the income statement at
the time of the initial purchase accounting. This gain flows to the purchaser’s retained earnings,
increasing reported book equity.

Hofmeister was very active in the liquidation space and was looking to purchase assets at
depressed values. Considering the automotive industry was operating under a significant state of
duress, the market became plagued with manufacturing assets from automotive suppliers who
wound down operations and needed to monetize the current value of their assets. At the time of

3
    Accounting Standards Codification 805-30-25-2, Business Combinations.



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the automotive downturn (2008-2010), companies were not being sold for the standard cash flow
multiples.. Instead, these automotive suppliers were sold at depressed liquidation values in many
cases without actually being liquidated. The liquidation value was determined by what the
market would endure, which was a very fluid tolerance. This market condition is perfectly
crystalized in the purchase terms under which Hofmeister acquired some of his largest operating
entities, which primarily included little to no cash and the assumption of liabilities or at the
supervision of the bankruptcy court, which by definition provides for a competitive sale process
and generates a “market value”.

In recording these purchases, Revstone accountants measured the purchase price of the assets
(cash or other consideration including liabilities assumed) and compared those amounts against
appraisals of the individual assets acquired. In most cases, on a stand-alone basis, the total
appraised value of the individual assets Hofmeister acquired exceeded the consideration
Hofmeister paid for those assets giving rise to a “book gain” on the so called bargain purchase.
However, these accounting gains and the equity they created for book purposes are illusory. In
continuing to operate the acquired entities, Hofmeister had no ability to realize the value
reflected in the appraisals of the individual assets on any comprehensive basis. If the appraisals
were correct, only upon a realized liquidation of the operations would those assets begin to
generate the gross proceeds forecast by the appraisals. Furthermore, the realized gross proceeds
would in turn be reduced for employee termination costs, wear and tear from continued use after
the date of the appraisals, environmental, and other costs of the liquidation process.

The market participants’ calculation of fair value takes into consideration the current and future
prospects for losses expected to incur from said assets. That is exactly the situation presented in
the Hofmeister purchases. Absent action by the purchaser to invest and improve the acquired
operations in order to mitigate future losses, no incremental value can be realized. In this case
all but two of the entities had negative profitability as measured by EBITDA in the year of
purchase.

The Revstone assets were purchased at the fair market value as reflected by the consideration
provided and the liabilities assumed and no additional economic gain accrued to Revstone with
those purchases.

A/R & Loan Receivable from Affiliates Adjustments

The adjustments in this category reduce the value of receivables from other non-Revstone
Hofmeister entities to reflect that Revstone is unable to collect those balances.

Revstone’s financial statements indicate a net balance in the accounts & loans receivable from
affiliates category. This represents a net receivable due from Hofmeister entities that are not in
the Revstone consolidation. These balances reflect amounts due from other entities owned by



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Ascalon or by the Children’s Trusts. As evidenced in the Transfer Section of this report,
Hofmeister and the Children’s Trusts operated various entities outside of Revstone and its
subsidiaries and perpetuated those businesses with Revstone’s funds. As in the Revstone
operations, it is our understanding that the Children’s Trusts’ non-Revstone operating entities
also struggled to stay afloat and many closed their doors or were sold at a loss. Moreover, in
most cases, Revstone’s receivables from these entities were not documented by promissory notes
or written agreements, and were unsecured. Like the prohibited loans and investments in the
pension plans, the Revstone financial statements carried these receivables at face value.

2009 Contech and MW TDC Equity

I removed the equity balances for Contech Castings, LLC (“Contech”) and MW TDC, Inc.
(“Texas Die Cast”) from the 2009 totals for Revstone’s subsidiaries because Contech and Texas
Die Cast were not owned by Revstone in 2009.

Contech and Texas Die Cast are entities originally acquired and owned by non-Revstone entities.
The Contech assets were purchased in June 2009 in a bankruptcy section 363 sale by the George
S. Hofmeister Family Trust Dated June 21, 1991 for the benefit of each of Hofmeister’s three
children (“Family Trust”). The Family Trust assigned its membership interest in Contech to
Revstone on June 23, 2010.

The assets of Texas Die Cast were purchased in May 2007 by MW Universal Acquisition, Inc.
and MW Universal, Inc., both of which are non-Revstone entities. It wasn’t until June 23, 2010
that MW Universal Inc. conveyed its membership interests in Texas Die Cast to Revstone.

Contech and Texas Die Cast were included in the 2009 Revstone consolidation because these
entities, although not Revstone entities, were controlled by Hofmeister. GAAP requires that
consolidated financial statements include all entities under common control where the
controlling individual or entity has the ability to direct activities of the group. While this
treatment was appropriate for financial reporting purposes in 2009, the attribution of the value of
these entities to Revstone in 2009 is not appropriate since these entities were not direct or
indirect subsidiaries of Revstone until mid-2010. My adjustment removes the net equity value of
these entities from Revstone for 2009.

Deferred Tax Assets and Deferred Tax Liability Adjustments

I have excluded both the deferred tax assets and deferred tax liabilities from my analysis.

Revstone and the majority of its direct and indirect subsidiaries are disregarded entities for tax
purposes. Taxable income or loss flows to a parent taxpayer entity. For accounting purposes
some of the entities recognize deferred tax assets and liabilities in accordance with GAAP.



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These assets and liabilities represent potential tax obligations and/or refunds but do not represent
actual taxes owed or refundable.

Deferred Loan Origination Costs

I have excluded the loan origination cost asset from my analysis.

GAAP requires that costs of originating loans should be capitalized and amortized over the
course of the loan period as an adjustment to interest cost. These book assets have no continuing
value.

Deferred Gain

I have added back the deferred gain appearing on Revstone’s statements since the deferral was
simply for reporting purposes.

GAAP requires that gains on sales of assets be deferred when the sale of the asset is
accompanied by an agreement of some other form of continuing association between the seller
and the buyer. Such a situation would be where the seller monetizes assets through a sale and
enters into an agreement with the buyer to continue to use the assets pursuant to a leasing
arrangement. TPOP recorded such a gain in 2009.

    REVSTONE – INSOLVENT FROM INCEPTION

Balance Sheet Test

As reflected in TABLE 1, after considering the necessary adjustments to the reported financial
statement values, Revstone’s liabilities greatly exceeded its assets at fair value from inception
forward, beginning with liabilities exceeding assets by over $4 million at the end of 2008, and
ending at the end of 2012 with liabilities exceeding assets by not less than $47 million.

In addition to Revstone’s obligations to the pension plans as a member of the controlled group,
Revstone was constantly providing guarantees for its own subsidiaries, other Hofmeister entities,
and for Hofmeister and his family. The following TABLE 2 summarizes the amounts of
guarantees issued by Revstone for each of the years in the Relevant Period.

Revstone Industries Guarantees
in Millions
                     2008                   2009           2010            2011             2012
Total by Year                          $ 32,330,853 $      90,575,956 $ 20,612,679 $        45,000,000




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See the accompanying EXHIBIT II for a detailed listing of the individual guarantees that
comprise these totals.

Capitalization

I found no evidence in the records that Revstone was ever capitalized with any monetary equity
investment. Before adjustments, Revstone’s initial tax return for the period ended December 31,
2008 reflected liabilities greater than assets of $1,636,697 from losses during the period with no
contributed capital. The beginning balance of contributed capital of $3.5 million reflected in the
2010 audited financial statements appears to have originated with Revstone recording a journal
entry with the balancing debit to the Metavation intercompany receivable. There is no evidence
that this receivable was ever funded nor is there evidence of any other contributed capital
reflected in any of the other financial statements or records I reviewed. In my opinion, Revstone
was without adequate capital from inception.

Cash Flow and Ability to Pay Debts as They Came Due

Throughout the Relevant Period, Hofmeister played a constant shell game moving cash among
both Revstone and non-Revstone entities, borrowing at one entity and using the cash at another,
and generally not paying obligations as they came due.

One of the most glaring examples of this type of activity relates to the self-insured health plan
that was initially a Revstone subsidiary and later moved to Ascalon. At the time the CRO was
appointed in January 2013, the Ascalon Health Plan was owed almost $5.1 million from various
Revstone entities. Because of cash constraints at the entity level, Hofmeister allowed the
individual entities whose employees participated in the health plan to defer making the
employer’s portion of the health and dental plan monthly premiums. At least $741,000 of that
amount was outstanding related to periods prior to the end of 2011.

Probably the most illustrative way to demonstrate the constant pressure the Revstone employees
were under for paying bills is to let them speak through their e-mail correspondence. The e-mail
correspondence my staff and I reviewed during our work is replete with discussion of the
constant pressure Revstone was under because of a lack of adequate funding. The accompanying
EXHIBIT III presents representative examples of that e-mail correspondence.

    Transfers

Transaction information underlying the statements and conclusions in this Report originated
from a number of sources. Huron reviewed the majority of the transactions in Revstone’s sole
operating bank account, Account No. 07380975883 with Fifth Third Bank (the “Fifth Third
Account”). The Fifth Third Account contained Revstone’s funds, was controlled and maintained



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by Revstone, and was used to transact Revstone’s business including the receipt and payment of
various intercompany loans, loans from third parties, and subsidiary operations. The Fifth Third
Account was opened on December 19, 2008 and closed on August 30, 2011. While reviewing
the Fifth Third Account debits and credits, we determined the transfers and payments detailed
below were made from this account using Revstone’s funds. Huron also reviewed other cash
account records in verifying the transaction activity. Payroll information regarding payments to
defendant Scott Hofmeister was traced to Revstone’s payroll records provided through
Revstone’s third party payroll processor.



                                         AIRLIE TRANSFERS

According to Revstone’s books and records, a total of $5,200,000 of Revstone’s funds was
transferred to Airlie Opportunity Master Fund, Ltd. (“Airlie Fund”) between April 2009 and
August 2010 (the “Airlie Transfers”). The Airlie Transfers were made via wire transfers from
the Fifth Third Account to Airlie Fund as follows:

                                        Transfer       Transfer
                                           Date        Amount
                                          4/2/09         $100,000
                                          7/1/09         $100,000
                                          2/9/10         $200,000
                                          2/9/10         $300,000
                                         2/11/10         $500,000
                                         5/13/10          $50,000
                                         8/19/10       $3,950,000
                                         Total:        $5,200,000

I have not located anything in Revstone’s books and records, or in the materials produced by the
defendants in the Adversary Proceedings, indicating (i) that Revstone was repaid for the Airlie
Transfers, (ii) that Revstone received any promissory notes, written agreements or verbal
repayment promises in exchange for the Airlie Transfers, (iii) that Revstone owed any debt to
any recipient or beneficiary of the Airlie Transfers at the time of the Airlie Transfers, or (iv) that
Revstone otherwise had any obligation to make the Airlie Transfers.

In fact, Revstone’s books and records indicate that (i) American Metals Industries, Inc. (“AMI”)
was indebted to Airlie Opportunity Capital Management, L.P. (“Airlie Management”) pursuant
to a November 15, 2007 promissory note issued by AMI in favor of Airlie Management in the
original principal amount of $3,855,732.29 (the “Airlie Note”), (ii) the Children’s Trusts entered
into a Sale and Assignment Agreement with Airlie Management (the “Airlie Agreement”) on or
about January 25, 2010, by which the Children’s Trusts agreed to (among other things) pay a
total of $4,500,000 to Airlie Management, and (iii) the Airlie Transfers were made to reduce



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AMI’s debt under the Airlie Note and satisfy the Children’s Trusts’ obligations under the Airlie
Agreement. AMI was wholly owned by the Children’s Trusts. Hofmeister was the President of
AMI, and was the trustee of the Children’s Trusts at the time of the Airlie Agreement and the
first six Airlie Transfers.

Based on the foregoing, it is my opinion that (i) the Airlie Transfers were made to Airlie Fund
between April 2, 2009 and August 19, 2010, (ii) Revstone did not receive reasonably equivalent
value in exchange for the Airlie Transfers, (iii) as discussed in the Insolvency Section of this
Report, Revstone was insolvent at the time the Airlie Transfers were made, and (iv) the Airlie
Transfers were made for the benefit of AMI and the Children’s Trusts. The Trustee is entitled to
recover the principal amount of the Airlie Transfers plus prejudgment interest at the federal
judgment rate from the date of each of the Airlie Transfers. 4

                                          DUKE TRANSFERS

According to Revstone’s books and records, Bill E. Duke (“Duke”) and Hi-Craft Engineering,
Inc. (“Hi-Craft”) received a total of $1,093,702.95 (the “Duke Transfers”) via wire transfers made
between December 2009 and July 2010, as follows:

                                        Transfer         Transfer
                                          Date            Amount
                                         12/1/09             $73,704
                                        12/18/09             $62,000
                                         7/16/10         $957,998.95
                                         Total:        $1,093,702.95

I have not located anything in Revstone’s books and records, or in the materials produced by the
defendants in the Adversary Proceedings, indicating (i) that Revstone was repaid for any of the
Duke Transfers, (ii) that Revstone received any promissory notes, written agreements or verbal
repayment promises with respect to any of the Duke Transfers, (iii) that Revstone owed any debt
to any recipient or beneficiary of any of the Duke Transfers at the time of the Duke Transfers, or
(iv) that Revstone otherwise had any obligation to make any of the Duke Transfers.
In fact, Revstone’s books and records indicate that the Duke Transfers were made to satisfy two
judgments totaling approximately $1,808,000 that were obtained by Duke and Hi-Craft on or
about June 30, 2008, as follows: Duke obtained a judgment against Hofmeister for $1,408,132;
Hi-Craft obtained a judgment against Hofmeister, MW Universal, Inc. (“MW Universal”) and
the Family Trust for $400,150. MW Universal was wholly owned by AMI, which was wholly
owned by the Children’s Trusts, at the time of the Duke Transfers. Moreover, at the time of the
Duke Transfers, Hofmeister was the Chairman of MW Universal, the President of AMI and the
trustee of the Children’s Trusts.

4
  The Airlie Transfers are the subject of the First Claim for Relief in the Hofmeister Adversary
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Based on the foregoing, it is my opinion that (i) the Duke Transfers were made between
December 1, 2009 and July 16, 2010, (ii) the Duke Transfers were made to satisfy obligations
owed, not by Revstone, but by Hofmeister, MW Universal and the Family Trust, (iii) as
discussed in the Insolvency Section of this Report, Revstone was insolvent at the time the Duke
Transfers were made, and (iv) the Duke Transfers were made for the benefit of Hofmeister, MW
Universal, AMI, the Children’s Trusts and the Family Trust. Prejudgment interest on the Duke
Transfers is recoverable at the federal judgment rate from the date of each avoided Duke
Transfer. 5
                                         ARETE TRANSFERS

According to Revstone’s books and records, a total of $731,496.57 of Revstone’s funds was
transferred (the “Arete Transfers”) either directly to Arete, LLC (“Arete”), or to GSL of Ill., LLC
(“GSL”) to satisfy obligations owed by Arete and its subsidiaries. The Arete Transfers were
made between February 2009 and June 2011 via wire transfers from the Fifth Third Account as
follows:

                                        Transfer       Transfer
                                           Date         Amount
                                         2/25/09            $5,000
                                          4/2/09          $338,000
                                         5/15/09           $31,206
                                         5/22/09           $50,000
                                         4/15/10           $35,538
                                         9/20/10           $32,697
                                        10/14/10           $46,500
                                        12/27/10            $7,250
                                          3/1/11           $25,000
                                         4/12/11           $14,500
                                         6/15/11        $64,326.57
                                         6/27/11           $81,479
                                         Total:        $731,496.57

The transfer of $64,326.57 on June 15, 2011 was made to GSL. The remainder of the Arete
Transfers were made directly to Arete.

I have not located anything in Revstone’s books and records, or in the materials produced by the
defendants in the Adversary Proceedings, indicating (i) that Revstone was repaid for the Arete
Transfers, (ii) that Revstone received any promissory notes, written agreements or verbal
repayment promises in exchange for the Arete Transfers, (iii) that Revstone owed any debt to


5
  The Duke Transfers are the subject of the Second Claim for Relief in the Hofmeister Adversary
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any recipient or beneficiary of the Arete Transfers at the time of the Arete Transfers, or (iv) that
Revstone otherwise had any obligation to make the Arete Transfers.

In fact, Revstone’s books and records indicate that (i) the transfer to GSL on June 15, 2011 was
made to satisfy obligations owed by Arete and its subsidiaries to GSL under an Equipment Lease
Agreement dated September 23, 2008 and (ii) the remainder of the Arete Transfers were made to
Arete to provide working capital to Arete, or for Arete to use to satisfy its insurance, pension
plan, interest, and other obligations of Arete and its subsidiaries. Per the Arete, LLC Operating
Agreement dated June 25, 2009, Arete was wholly owned by the Children’s Trusts, and
Hofmeister was the Chairman of Arete.

Based on the foregoing, it is my opinion that (i) the Arete Transfers were made to Arete and GSL
between February 25, 2009 and June 27, 2011, (ii) Revstone did not receive reasonably
equivalent value in exchange for the Arete Transfers, (iii) as discussed in the Insolvency Section
of this Report, Revstone was insolvent at the time the Arete Transfers were made, and (iv) the
Arete Transfers were made for the benefit of Arete and the Children’s Trusts. The Trustee is
entitled to recover the principal amount of the Arete Transfers plus prejudgment interest at the
federal judgment rate from the date of each of the Arete Transfers. 6

                                      INTERLOCK TRANSFERS

According to Revstone’s books and records, a total of $250,120 of Revstone’s funds was
transferred (the “Interlock Transfers”) between December 2009 and March 2011 in connection
with the acquisition of Interlock Die Company, LLC (“Interlock Die”) by Arete Interlock, LLC
(“Arete Interlock”). The Interlock Transfers were made via check and wire transfers from the
Fifth Third Account as follows:

                                        Transfer        Transfer
                                           Date         Amount
                                        12/23/09            $5,120
                                          3/2/10           $50,000
                                         5/10/10           $25,000
                                         8/27/10           $50,000
                                        11/24/10           $15,000
                                        12/13/10           $25,000
                                        12/16/10           $50,000
                                          3/1/11            $6,000
                                          3/1/11           $24,000
                                         Total:           $250,120


6
  The Arete Transfers are the subject of the Third Claim for Relief in the Hofmeister Adversary
Proceeding. The transfer to GSL also is the subject of the First Claim for Relief in the GSL Adversary
Proceeding.



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The transfers made on December 23, 2009 (via Check No. 1503) and on March 2, 2010, May 10,
2010 and August 27, 2010 (via wire transfer) in the total amount of $130,120 were made to
Patrick Smith (“Smith”). The transfer of $6,000 made on March 1, 2011 (via wire transfer) was
made to Utica Leasco. The remainder of the Interlock Transfers were made via wire transfer
directly to Interlock Die.

I have not located anything in Revstone’s books and records, or in the materials produced by the
defendants in the Adversary Proceedings, indicating (i) that Revstone was repaid for the
Interlock Transfers, (ii) that Revstone received any promissory notes, written agreements or
verbal repayment promises in exchange for the Interlock Transfers, (iii) that Revstone owed any
debt to any recipient or beneficiary of the Interlock Transfers at the time of the Interlock
Transfers, or (iv) that Revstone otherwise had any obligation to make the Interlock Transfers.

In fact, Revstone’s books and records indicate that (i) the transfers to Smith on March 2, 2010
and May 10, 2010 were payments on a seller note held by Smith in connection with the
acquisition of Interlock Die by Arete Interlock, (ii) the transfer to Utica Leasco was made to
satisfy an obligation of Interlock Die or Arete Interlock, and (iii) the transfers made directly to
Interlock Die were for its use as working capital or to satisfy its payroll and other obligations.
Revstone had no ownership interest in Interlock Die or Arete Interlock. To the contrary,
Interlock Die was owned by Arete Interlock, Arete Interlock was owned by JSM Midwest
Machining, LLC (“JSM Midwest”), and JSM Midwest was owned by the Children’s Trusts.

Based on the foregoing, it is my opinion that (i) the Interlock Transfers were made to Smith,
Utica Leasco and Interlock Die between December 23, 2009 and March 1, 2011, (ii) Revstone
did not receive reasonably equivalent value in exchange for the Interlock Transfers, (iii) as
discussed in the Insolvency Section of this Report, Revstone was insolvent at the time the
Interlock Transfers were made, and (iv) the Interlock Transfers were made for the benefit of
Interlock Die, Arete Interlock and the Children’s Trusts. The Trustee is entitled to recover the
principal amount of the Interlock Transfers plus prejudgment interest at the federal judgment rate
from the date of each of the Interlock Transfers. 7

                                         BAKER TRANSFERS

According to Revstone’s books and records, a total of $284,500 of Revstone’s funds was
transferred (the “Baker Transfers”) to Baker Metal Products Corporation (“Baker Metal”), or to
First Clearing, LLC (“First Clearing”) to satisfy loan obligations owed by Baker Metal. The
Baker Transfers were made between December 2009 and July 2011 via wire transfers from the
Fifth Third Account as follows:

                                        Transfer        Transfer

7
  The Interlock Transfers are the subject of the Fourth Claim for Relief in the Hofmeister Adversary
Proceeding. The transfers to Smith also are the subject of the First Claim for Relief in the Smith
Adversary Proceeding.



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                                           Date         Amount
                                        12/15/09          $50,000
                                         1/13/10          $50,000
                                          3/2/10          $40,000
                                          3/4/10         $141,000
                                         7/25/11           $3,500
                                         Total:          $284,500

The transfer of $3,500 on July 25, 2011 was made to First Clearing. The remainder of the Baker
Transfers were made directly to Baker Metal.

I have not located anything in Revstone’s books and records, or in the materials produced by the
defendants in the Adversary Proceedings, indicating (i) that Revstone was repaid for the Baker
Transfers, (ii) that Revstone received any promissory notes, written agreements or verbal
repayment promises in exchange for the Baker Transfers, (iii) that Revstone owed any debt to
any recipient or beneficiary of the Baker Transfers at the time of the Baker Transfers, or (iv) that
Revstone otherwise had any obligation to make the Baker Transfers.

In fact, Revstone’s books and records indicate that (i) the transfer to First Clearing on July 25,
2011 was made to satisfy loan obligations owed by Baker Metal to First Clearing, (ii) the
transfers on March 2, 2010 and March 4, 2010 were made to Baker Metal to provide it with
working capital, and (iii) the transfers on December 15, 2009 and January 13, 2010 were made to
Baker Metal on behalf of Arete. Arete Tubing Solutions, LLC, a 100% Arete member-managed
entity, purchased Baker Metal on September 30, 2009. As stated above, Arete was owned by the
Children’s Trusts, and Hofmeister was the Chairman of Arete.

Based on the foregoing, it is my opinion that (i) the Baker Transfers were made to Baker Metal
and First Clearing between December 15, 2009 and July 25, 2011, (ii) Revstone did not receive
reasonably equivalent value in exchange for the Baker Transfers, (iii) as discussed in the
Insolvency Section of this Report, Revstone was insolvent at the time the Baker Transfers were
made, and (iv) the Baker Transfers were made for the benefit of Baker Metal, Arete and the
Children’s Trusts as described above. The Trustee is entitled to recover the principal amount of
the Baker Transfers plus prejudgment interest at the federal judgment rate from the date of each
of the Baker Transfers. 8

                                           DFB TRANSFERS

According to Revstone’s books and records, a total of $1,055,797.72 of Revstone’s funds was
transferred to DFB Holdings, Inc. (“DFB”) or its counsel between February 2010 and February
2011 (the “DFB Transfers”). The DFB Transfers were made via wire transfers from the Fifth
Third Account as follows:

8
  The Baker Transfers are the subject of the Fifth Claim for Relief in the Hofmeister Adversary
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                                        Transfer         Transfer
                                           Date          Amount
                                         2/23/10             $10,000
                                         2/26/10             $10,000
                                         3/15/10            $250,000
                                          4/9/10             $10,000
                                          5/3/10            $125,000
                                          8/6/10             $25,000
                                         8/13/10             $25,000
                                         8/19/10             $25,000
                                         8/27/10             $25,000
                                          9/2/10             $25,000
                                          9/9/10             $25,000
                                         9/24/10             $25,000
                                         9/29/10             $25,000
                                         10/8/10             $25,000
                                        10/15/10             $25,000
                                        10/22/10             $25,000
                                         11/5/10             $25,000
                                        11/12/10             $25,000
                                        11/19/10             $25,000
                                        11/24/10             $25,000
                                         12/3/10            $125,000
                                        12/13/10             $25,000
                                        12/17/10             $25,000
                                        12/30/10             $25,000
                                          1/7/11             $50,000
                                         1/14/11             $25,000
                                         2/15/11             $797.72
                                         Total:        $1,055,797.72

The transfers on February 23, 2010 and February 26, 2010 were made to DFB’s counsel,
Wegman, Hessler & Vanderburg. The transfers made between March 15, 2010 and February 15,
2011 were made directly to DFB.
According to Revstone’s books and records, and the materials produced by the defendants in the
Adversary Proceedings, the DFB Transfers were made in settlement of litigation filed by DFB on
January 19, 2010 against Hofmeister and Revstone. The litigation arose out of an asset purchase
agreement (“APA”) between JJ Seville, LLC f/k/a JJH Holdings LLC (“JJ Seville”), as the
buyer, and DFB Properties, Ltd. and Seville Centrifugal Bronze, Inc. (now known as DFB), as
the sellers. Hofmeister executed the APA as the Chief Executive Officer of JJH Holdings LLC




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(now known as JJ Seville). The Children’s Trusts held a 50% ownership interest in JJ Seville.
Revstone did not hold any ownership interest in JJ Seville.

I have not located anything in Revstone’s books and records, or in the materials produced by the
defendants in the Adversary Proceedings, indicating (i) that JJ Seville, Hofmeister or the
Children’s Trusts repaid Revstone for the DFB Transfers, (ii) that Revstone received any
promissory notes, written agreements or verbal repayment promises from JJ Seville, Hofmeister
or the Children’s Trusts in exchange for the DFB Transfers, or (iii) that Revstone owed any debt
to JJ Seville, Hofmeister or the Children’s Trusts at the time of the DFB Transfers.

Based on the foregoing, it is my opinion that (i) the DFB Transfers were made to DFB or its
counsel between February 23, 2010 and February 15, 2011, (ii) neither JJ Seville, Hofmeister nor
the Children’s Trusts provided Revstone with anything of value in exchange for the DFB
Transfers, (iii) as discussed in the Insolvency Section of this Report, Revstone was insolvent at
the time the DFB Transfers were made, and (iv) JJ Seville, Hofmeister and the Children’s Trusts
were beneficiaries of the DFB Transfers. Prejudgment interest on the DFB Transfers is
recoverable at the federal judgment rate from the date of each avoided DFB Transfer. 9

                                     CRESTMARK TRANSFERS

According to Revstone’s books and records, a total of $499,361 of Revstone’s funds was
transferred (the “Crestmark Transfers”) to Crestmark Bank (“Crestmark”) between October 2009
and December 2010. The Crestmark Transfers were made via check and wire transfers from the
Fifth Third Account as follows:

                                        Transfer        Transfer
                                           Date         Amount
                                        10/23/09            $1,500
                                        12/18/09           $22,500
                                          2/3/10           $26,342
                                         2/19/10           $26,200
                                         3/16/10           $25,344
                                         4/16/10           $25,585
                                         8/16/10           $49,960
                                         9/23/10           $24,493
                                        11/19/10          $100,000
                                        12/15/10          $197,437
                                         Total:           $499,361

The transfer made on February 3, 2010 was made via Check No. 1616. The remainder of the
Crestmark Transfers were made via wire transfer.

9
  The DFB Transfers are the subject of the Sixth Claim for Relief in the Hofmeister Adversary
Proceeding.



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I have not located anything in Revstone’s books and records, or in the materials produced by the
defendants in the Adversary Proceedings, indicating (i) that Revstone was repaid for the
Crestmark Transfers, (ii) that Revstone received any promissory notes, written agreements or
verbal repayment promises in exchange for the Crestmark Transfers, (iii) that Revstone owed
any debt to any recipient or beneficiary of the Crestmark Transfers at the time of the Crestmark
Transfers, or (iv) that Revstone otherwise had any obligation to make the Crestmark Transfers.
In fact, Revstone’s books and records indicate that the Crestmark Transfers were payments owed
by Hofmeister on a personal loan from Crestmark to Hofmeister.

Based on the foregoing, it is my opinion that (i) the Crestmark Transfers were made to
Crestmark, for Hofmeister’s benefit, between October 23, 2009 and December 15, 2010, (ii)
Revstone did not receive reasonably equivalent value in exchange for the Crestmark Transfers,
and (iii) as discussed in the Insolvency Section of this Report, Revstone was insolvent at the time
the Crestmark Transfers were made. The Trustee is entitled to recover the principal amount of
the Crestmark Transfers plus prejudgment interest at the federal judgment rate from the date of
each of the Crestmark Transfers. 10

                                         RADCO TRANSFERS

According to Revstone’s books and records, a total of $316,153 of Revstone’s funds was
transferred (the “Radco Transfers”) to Radco Construction Services, Inc. (“Radco”) between
August 2010 and December 2010. The Radco Transfers were made via wire transfers from the
Fifth Third Account as follows:

                                        Transfer        Transfer
                                          Date          Amount
                                         8/17/10           $25,000
                                         8/20/10          $108,000
                                         8/27/10          $125,000
                                        11/19/10           $10,000
                                         12/8/10           $48,153
                                         Total:           $316,153

I have not located anything in Revstone’s books and records, or in the materials produced by the
defendants in the Adversary Proceedings, indicating (i) that Revstone was repaid for the Radco
Transfers, (ii) that Revstone received any promissory notes, written agreements or verbal
repayment promises in exchange for the Radco Transfers, (iii) that Revstone owed any debt to
any recipient or beneficiary of the Radco Transfers at the time of the Radco Transfers, or (iv)
that Revstone otherwise had any obligation to make the Radco Transfers.



10
  The Crestmark Transfers are the subject of the Seventh Claim for Relief in the Hofmeister Adversary
Proceeding.



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In fact, Revstone’s books and records indicate that the Radco Transfers were payments for
construction services (specifically, roof repairs) and related fees for property on Cypress Street in
Paris, Kentucky that was (i) owned by MSJ Realty, Inc., which is registered as an assumed name
corporation, having assumed the name of American Commercial Coatings, Inc. (“ACC/MSJ”),
and (ii) occupied by AMI and MW Universal. ACC/MSJ’s ultimate owner was the Family
Trust.

MW Universal was wholly owned by AMI, which was wholly owned by the Children’s Trusts.
Hofmeister was the Chairman of MW Universal and the President of AMI.

Based on the foregoing, it is my opinion that (i) the Radco Transfers were made to Radco
between August 17, 2010 and December 8, 2010, (ii) Revstone did not receive reasonably
equivalent value in exchange for the Radco Transfers, (iii) as discussed in the Insolvency Section
of this Report, Revstone was insolvent at the time the Radco Transfers were made, and (iv) the
Radco Transfers were made for the benefit of ACC/MSJ, AMI, MW Universal and the
Children’s Trusts. The Trustee is entitled to recover the principal amount of the Radco Transfers
plus prejudgment interest at the federal judgment rate from the date of each of the Radco
Transfers. 11

                                     PENN RIDGE TRANSFERS

According to Revstone’s books and records, a total of $175,000 of Revstone’s funds was
transferred (the “Penn Ridge Transfers”) to Penn Ridge Farms LLC (“Penn Ridge”) between
April 2010 and September 2010. The Penn Ridge Transfers were made via check and wire
transfers from the Fifth Third Account as follows:

                                        Transfer        Transfer
                                           Date         Amount
                                          4/2/10           $75,000
                                         8/20/10           $25,000
                                         9/29/10           $75,000
                                         Total:           $175,000

The transfer on April 2, 2010 was made via Check No. 1747. The remainder of the Penn Ridge
Transfers were made via wire transfer.
I have not located anything in Revstone’s books and records, or in the materials produced by the
defendants in the Adversary Proceedings, indicating (i) that Revstone was repaid for the Penn
Ridge Transfers, (ii) that Revstone received any promissory notes, written agreements or verbal
repayment promises in exchange for the Penn Ridge Transfers, (iii) that Revstone owed any debt

11
  The Radco Transfers are the subject of the Eighth Claim for Relief in the Hofmeister Adversary
Proceeding. The Radco Transfers also are the subject of the First Claim for Relief in the Radco
Adversary Proceeding.



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to any recipient or beneficiary of the Penn Ridge Transfers at the time of the Penn Ridge
Transfers, or (iv) that Revstone otherwise had any obligation to make the Penn Ridge Transfers.

In fact, the Penn Ridge Transfers appear to be horse-related payments made to Penn Ridge for
the benefit of Hofmeister, who was actively involved in the Thoroughbred racing industry.
Revstone, on the other hand, did not own any horses or conduct any horse-related business.

Based on the foregoing, it is my opinion that (i) the Penn Ridge Transfers were made to Penn
Ridge, for Hofmeister’s benefit, between April 2, 2010 and September 29, 2010, (ii) Revstone
did not receive reasonably equivalent value in exchange for the Penn Ridge Transfers, and (iii) as
discussed in the Insolvency Section of this Report, Revstone was insolvent at the time the Penn
Ridge Transfers were made. The Trustee is entitled to recover the principal amount of the Penn
Ridge Transfers plus prejudgment interest at the federal judgment rate from the date of each of
the Penn Ridge Transfers. 12

                                           CMRD TRANSFER

According to Revstone’s books and records, a total of $50,000 of Revstone’s funds was
transferred (the “CMRD Transfer”) to CMRD, LLC (“CMRD”) on August 17, 2010. The
CMRD Transfer was made via wire transfer from the Fifth Third Account.

I have not located anything in Revstone’s books and records, or in the materials produced by the
defendants in the Adversary Proceedings, indicating (i) that Revstone was repaid for the CMRD
Transfer, (ii) that Revstone received any promissory notes, written agreements or verbal
repayment promises in exchange for the CMRD Transfer, (iii) that Revstone owed any debt to
any recipient or beneficiary of the CMRD Transfer at the time of the CMRD Transfer, or (iv)
that Revstone otherwise had any obligation to make the CMRD Transfer.

Based on the foregoing, it is my opinion that (i) the CMRD Transfer was made to CMRD, for
Hofmeister’s benefit, on August 17, 2010, (ii) Revstone did not receive reasonably equivalent
value in exchange for the CMRD Transfer, and (iii) as discussed in the Insolvency Section of this
Report, Revstone was insolvent at the time of the CMRD Transfer. The Trustee is entitled to
recover the principal amount of the CMRD Transfer plus prejudgment interest at the federal
judgment rate from the date of the CMRD Transfer. 13




12
   The Penn Ridge Transfers are the subject of the Ninth Claim for Relief in the Hofmeister Adversary
Proceeding. The Penn Ridge Transfers also are the subject of the First Claim for Relief in the Penn Ridge
Adversary Proceeding.
13
   The CMRD Transfer is the subject of the Tenth Claim for Relief in the Hofmeister Adversary
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                                      KEENELAND TRANSFER

According to Revstone’s books and records, a total of $269,026.21 of Revstone’s funds was
transferred (the “Keeneland Transfer”) to Keeneland Association, Inc. (“Keeneland”) on January
5, 2010. The Keeneland Transfer was made via Check No. 1567 from the Fifth Third Account.

I have not located anything in Revstone’s books and records, or in the materials produced by the
defendants in the Adversary Proceedings, indicating (i) that Revstone was repaid for the
Keeneland Transfer, (ii) that Revstone received any promissory notes, written agreements or
verbal repayment promises in exchange for the Keeneland Transfer, (iii) that Revstone owed any
debt to any recipient or beneficiary of the Keeneland Transfer at the time of the Keeneland
Transfer, or (iv) that Revstone otherwise had any obligation to make the Keeneland Transfer.

In fact, the documents produced by the defendants in the Adversary Proceedings indicate that (i)
the Keeneland Transfer was a payment to Keeneland for the purchase of twelve Thoroughbred
horses at Keeneland’s 2009 Breeding Stock Sale, (ii) the buyer statement for this transaction was
directed to Nelson E. Clemmens under his Keeneland Account No. 124692-329901, and (iii)
Keeneland paid the sellers of the horses before it received the Keeneland Transfer from
Revstone. Clemmens has asserted that the horses that are the subject of this transaction were
purchased for Hofmeister. As stated above, Revstone did not own any horses or conduct any
horse-related business.

Based on the foregoing, it is my opinion that (i) the Keeneland Transfer was made to Keeneland
on January 5, 2010, (ii) Revstone did not receive reasonably equivalent value in exchange for the
Keeneland Transfer, (iii) as discussed in the Insolvency Section of this Report, Revstone was
insolvent at the time the Keeneland Transfer was made, and (iv) the Keeneland Transfer was
made for the benefit of Hofmeister and Nelson E. Clemmens (“Clemmens”). The Trustee is
entitled to recover the principal amount of the Keeneland Transfer plus prejudgment interest at
the federal judgment rate from the date of the Keeneland Transfer. 14

                               HOLMES HOLLISTER TRANSFERS

According to Revstone’s books and records, a total of $693,644 of Revstone’s funds was
transferred (the “Holmes Hollister Transfers”) to Holmes, Hollister & Co. (“Holmes Hollister”)
between July 2009 and June 2011. The Holmes Hollister Transfers were made via check and
wire transfers from the Fifth Third Account as follows:

                                        Transfer        Transfer
                                          Date          Amount

14
  The Keeneland Transfer is the subject of the Eleventh Claim for Relief in the Hofmeister Adversary
Proceeding. The Keeneland Transfer also is the subject of the First Claim for Relief in the Keeneland
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                                        Transfer        Transfer
                                           Date         Amount
                                         7/14/09           $30,000
                                         7/29/09           $15,000
                                          8/3/09           $20,617
                                         8/13/09           $13,000
                                         8/28/09           $30,000
                                         9/14/09           $35,000
                                         9/30/09           $26,027
                                         10/6/09            $2,000
                                         10/9/09           $12,000
                                        10/14/09           $14,000
                                        10/21/09           $22,000
                                        10/29/09           $40,000
                                        11/12/09           $40,000
                                        11/16/09           $20,500
                                        11/25/09           $35,000
                                        12/15/09           $35,000
                                        12/31/09           $15,000
                                         1/15/10           $43,000
                                         3/12/10          $100,000
                                         8/16/10           $25,000
                                         8/23/10           $33,000
                                         8/26/10           $61,000
                                        10/29/10            $6,500
                                         6/17/11           $15,000
                                         6/24/11            $5,000
                                         Total:           $693,644

The transfers made between August 3, 2009 and September 30, 2009 were made via check –
Check Nos. 1271, 1282, 1312, 1348 and 1361, respectively – as were the transfers made between
October 9, 2009 and January 15, 2010 – Check Nos. 1370, 1374, 1400, 1435, 1459, 1465, 1499,
1517, 1566 and 1580, respectively. The remainder of the Holmes Hollister Transfers were made
via wire transfer.

I have not located anything in Revstone’s books and records, or in the materials produced by the
defendants in the Adversary Proceedings, indicating (i) that Revstone was repaid for the Holmes
Hollister Transfers, (ii) that Revstone received any promissory notes, written agreements or
verbal repayment promises in exchange for the Holmes Hollister Transfers, (iii) that Holmes
Hollister, its principals (Douglas Q. Holmes and John B. Hollister), or any other party provided
reasonably equivalent value to Revstone in exchange for the Holmes Hollister Transfers, or (iv)
that Revstone otherwise had any obligation to make the Holmes Hollister Transfers.




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In fact, the available information indicates that:

•    The transfer of $30,000 made on July 14, 2009 was identified as an “investment” in Holmes
     Hollister. I have not located anything indicating that Revstone held any type of investment in
     Holmes Hollister at any time.
•    The transfer of $100,000 made on March 12, 2010 was for use as “working capital” by
     Holmes Hollister. I have not located anything indicating that Revstone had any obligation to
     provide Holmes Hollister with working capital.
•    The transfers made between August 16, 2010 and August 26, 2010, totaling $119,000, and
     the transfers made between June 17, 2011 and June 24, 2011, totaling $20,000, were
     identified as “consulting” or other expenses. I have not located anything indicating that
     Holmes Hollister provided services or anything else of reasonably equivalent value to
     Revstone in exchange for these transfers, or incurred expenses in the amounts of these
     transfers that were attributable to Revstone. Moreover, at the times of these transfers,
     Douglas Holmes served as the trustee of the Children’s Trusts.

Based on the foregoing, it is my opinion that (i) the Holmes Hollister Transfers were made to
Holmes Hollister between July 14, 2009 and June 24, 2011, (ii) Revstone did not receive
reasonably equivalent value in exchange for the Holmes Hollister Transfers, (iii) as discussed in
the Insolvency Section of this Report, Revstone was insolvent at the time the Holmes Hollister
Transfers were made, and (iv) the Holmes Hollister Transfers were made for the benefit of the
Children’s Trusts as described above. The Trustee is entitled to recover the principal amount of
the Holmes Hollister Transfers plus prejudgment interest at the federal judgment rate from the
date of each of the Holmes Hollister Transfers. 15

                                   MW UNIVERSAL TRANSFERS

According to Revstone’s books and records, a total of $1,668,160.64 of Revstone’s funds was
transferred (the “MW Universal Transfers”) to MW Universal, or to third parties to satisfy the
obligations of MW Universal or its subsidiary, MW Monroe Plastics, Inc. (“MW Monroe”). The
MW Universal Transfers were made between February 2009 and December 2010 via check and
wire transfers from the Fifth Third Account as follows:

                                                         Transfer
                                   Transfer Date         Amount
                                      2/24/09               $8,662.97
                                       4/8/09                 $50,000
                                      4/16/09              $42,814.22
                                      4/30/09                 $10,053
                                       5/1/09                $299,000

15
   The Holmes Hollister Transfers are the subject of the Twelfth Claim for Relief in the Hofmeister
Adversary Proceeding. The Holmes Hollister Transfers also are the subject of the First Claim for Relief
in the Holmes Hollister Adversary Proceeding.



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                                        5/15/09            $41,017.92
                                        5/29/09            $40,111.60
                                        6/22/09               $10,000
                                         7/2/09              $113,000
                                        11/3/09            $82,228.78
                                        11/4/09               $20,000
                                         2/3/10                $8,250
                                         2/9/10               $30,000
                                         3/4/10                $5,000
                                        3/29/10              $256,750
                                         6/3/10               $26,684
                                        8/13/10               $30,000
                                        8/16/10              $103,200
                                        8/17/10               $33,500
                                        8/25/10               $11,000
                                        9/23/10                  $300
                                       10/15/10               $11,800
                                        11/1/10              $334,000
                                        11/5/10                $6,000
                                       12/17/10            $94,788.15
                                        Total:          $1,668,160.64

The transfers made on February 24, 2009 and April 8, 2009 were made to MW Universal via
Check Nos. 1009 and 1096, respectively. The remainder of the MW Universal Transfers were
made via wire transfer.

I have not located anything in Revstone’s books and records, or in the materials produced by the
defendants in the Adversary Proceedings, indicating (i) that Revstone was repaid for the MW
Universal Transfers, (ii) that Revstone received any promissory notes, written agreements or
verbal repayment promises in exchange for the MW Universal Transfers, (iii) that Revstone
owed any debt to any recipient or beneficiary of the MW Universal Transfers at the time of the
MW Universal Transfers, or (iv) that Revstone otherwise had any obligation to make the MW
Universal Transfers.

In fact, the available information indicates that:

•   The transfers made on April 16, 2009 and April 30, 2009, totaling $52,857.22, were made to
    the law firm of Fiege Nawrocki LLP for legal services provided to MW Universal.
•   The transfer of $41,017.92 on May 15, 2009 was made to Travelers Insurance Company to
    satisfy an insurance payment owed by MW Universal.
•   The transfers made on May 29, 2009 and November 3, 2009, totaling $122,340.38, were
    made to MW Universal in connection with an ICON note or other obligation. Specifically,
    MW Universal entered into a Master Lease Agreement with IEMC Corp. on September 14,



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     2007, which was subsequently assigned to ICON Leasing Fund Eleven, LLC as identified in
     the Second Amendment and Restated Schedule 1 to the Master Lease Agreement.
•    The transfers made on February 9, 2010, June 3, 2010 and December 17, 2010, totaling
     $151,472.15, were made to NL Ventures VI, LP. According to the documents produced by
     the defendants in the Adversary Proceedings, these transfers were made to satisfy (i)
     obligations owed by MW Monroe pursuant to a lease agreement between MW Monroe (as
     lessee) and NL Ventures VI Universal, LLC (as lessor), (ii) obligations owed by MW
     Universal as the guarantor of MW Monroe’s obligations under that lease agreement, and (iii)
     obligations owed by both MW Universal and MW Monroe pursuant to a June 4, 2010
     settlement agreement between MW Universal, MW Monroe and NL Ventures VI Universal,
     LLC.
•    The transfer of $256,750 on March 29, 2010 was made to MW Universal to satisfy a pension
     debt obligation owed by one of MW Universal’s subsidiaries.
•    The transfer of $103,200 on August 16, 2010 was made to MW Universal on account of an
     obligation of Baker Metal. As previously discussed, Baker Metal was ultimately owned by
     Children’s Trusts.
•    The transfer of $11,800 on October 15, 2010 was made to provide working capital to MW
     Universal. Revstone had no obligation to provide working capital to MW Universal, and
     received no benefit from this transfer.

MW Universal was wholly owned by AMI, which was wholly owned by the Children’s Trusts.
Hofmeister was the Chairman of MW Universal and the President of AMI. Hofmeister also was
the trustee of the Children’s Trusts at the time of the MW Universal Transfers made between
February 24, 2009 and June 3, 2010.

Based on the foregoing, it is my opinion that (i) the MW Universal Transfers were made between
February 24, 2009 and December 17, 2010, (ii) Revstone did not receive reasonably equivalent
value in exchange for the MW Universal Transfers, (iii) as discussed in the Insolvency Section of
this Report, Revstone was insolvent at the time the MW Universal Transfers were made, and (iv)
the MW Universal Transfers were made for the benefit of MW Universal, AMI and the
Children’s Trusts. The Trustee is entitled to recover the principal amount of the MW Universal
Transfers plus prejudgment interest at the federal judgment rate from the date of each of the MW
Universal Transfers. 16

                                            JMP TRANSFER

According to Revstone’s books and records, a total of $1,900,000 of Revstone’s funds was
transferred (the “JMP Transfer”) to JMP Industries, Inc. (“JMP”) on September 30, 2010. The
JMP Transfer was made via wire transfer from the Fifth Third Account.



16
  The MW Universal Transfers are the subject of the Thirteenth Claim for Relief in the Hofmeister
Adversary Proceeding.



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The JMP Transfer was made pursuant to an agreement to restructure $10,000,000 of obligations
owed to JMP by Palm Plastics Holdings, LLC (“Palm Holdings”). Palm Holdings was owned
50% by JMP, and 50% by the Children’s Trusts. Hofmeister executed the restructuring
agreement on behalf of himself, as the Chief Executive Officer of Palm Holdings, as the Chief
Executive Officer of its wholly owned subsidiary, Palm Plastics, Ltd. (“Palm Plastics”), and as
the trustee of the Children’s Trusts. Revstone did not hold any ownership interest in Palm
Holdings or Palm Plastics.

I have not located anything in Revstone’s books and records, or in the materials produced by the
defendants in the Adversary Proceedings, indicating (i) that Palm Holdings, Palm Plastics,
Hofmeister or the Children’s Trusts repaid Revstone for the JMP Transfer, (ii) that Revstone
received any promissory notes, written agreements or verbal repayment promises from Palm
Holdings, Palm Plastics, Hofmeister or the Children’s Trusts in exchange for the JMP Transfer,
or (iii) that Revstone owed any debt to Palm Holdings, Palm Plastics, Hofmeister or the
Children’s Trusts at the time of the JMP Transfer.

Based on the foregoing, it is my opinion that (i) the JMP Transfer was made to JMP on
September 30, 2010, (ii) neither Palm Holdings, Palm Plastics, Hofmeister nor the Children’s
Trusts provided Revstone with anything of value in exchange for the JMP Transfer, (iii) as
discussed in the Insolvency Section of this Report, Revstone was insolvent at the time the JMP
Transfer was made, and (iv) the JMP Transfer was made for the benefit of Palm Holdings and
the Children’s Trusts. Upon avoidance of the JMP Transfer, prejudgment interest on the JMP
Transfer is recoverable at the federal judgment rate from the date of the JMP Transfer. 17

                                  PALM HOLDINGS TRANSFERS

According to Revstone’s books and records, a total of $1,000,000 of Revstone’s funds was
transferred (the “Palm Holdings Transfers”) to Palm Holdings and its subsidiary, Palm Plastics.
The Palm Holdings Transfers were made between April 2010 and May 2010 via check and wire
transfers from the Fifth Third Account as follows:

                                        Transfer        Transfer
                                          Date          Amount
                                         4/16/10          $400,000
                                         4/28/10          $200,000
                                         4/28/10          $200,000
                                         5/11/10          $200,000
                                         Total:         $1,000,000

The transfers made on April 28, 2010 were made via Check Nos. 1814 and 1815, respectively.
The remainder of the Palm Holdings Transfers were made via wire transfer.

17
  The JMP Transfer is the subject of the Fourteenth Claim for Relief in the Hofmeister Adversary
Proceeding.



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I have not located anything in Revstone’s books and records, or in the materials produced by the
defendants in the Adversary Proceedings, indicating (i) that Revstone was repaid for the Palm
Holdings Transfers, (ii) that Revstone received any promissory notes, written agreements or
verbal repayment promises in exchange for the Palm Holdings Transfers, (iii) that Revstone
owed any debt to any recipient or beneficiary of the Palm Holdings Transfers at the time of the
Palm Holdings Transfers, or (iv) that Revstone otherwise had any obligation to make the Palm
Holdings Transfers.

In fact, the documents produced by the defendants in the Adversary Proceedings indicate that (i)
Palm Holdings was owned 50% by JMP and 50% by the Children’s Trusts, (ii) Palm Plastics was
a wholly owned subsidiary of Palm Holdings, and (iii) Hofmeister was the Chief Executive
Officer of Palm Holdings, the Chief Executive Officer of Palm Plastics, and the trustee of the
Children’s Trusts. Revstone did not hold any ownership interest in Palm Holdings or Palm
Plastics.

Based on the foregoing, it is my opinion that (i) the Palm Holdings Transfers were made to Palm
Holdings or its subsidiary between April 16, 2010 and May 11, 2010, (ii) Revstone did not
receive reasonably equivalent value in exchange for the Palm Holdings Transfers, (iii) as
discussed in the Insolvency Section of this Report, Revstone was insolvent at the time the Palm
Holdings Transfers were made, and (iv) the Palm Holdings Transfers were made for the benefit
of Palm Holdings and the Children’s Trusts. The Trustee is entitled to recover the principal
amount of the Palm Holdings Transfers plus prejudgment interest at the federal judgment rate
from the date of each of the Palm Holdings Transfers. 18

                                 HIGHLAND FARMS TRANSFERS

According to Revstone’s books and records, a total of $87,500 of Revstone’s funds was
transferred (the “Highland Farms Transfers”) to Highland Farms, LLC (“Highland Farms”)
between October 2009 and July 2011. The Highland Farms Transfers were made, respectively,
via Check Nos. 1412, 1413, 2328 and 2337 from the Fifth Third Account, as follows:

                                        Transfer        Transfer
                                           Date         Amount
                                        10/30/09           $35,000
                                        10/30/09           $15,000
                                         6/10/11            $7,500
                                          7/6/11           $30,000
                                         Total:            $87,500



18
  The Palm Holdings Transfers are the subject of the Fifteenth Claim for Relief in the Hofmeister
Adversary Proceeding.



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I have not located anything in Revstone’s books and records, or in the materials produced by the
defendants in the Adversary Proceedings, indicating (i) that Revstone was repaid for the
Highland Farms Transfers, (ii) that Revstone received any promissory notes, written agreements
or verbal repayment promises in exchange for the Highland Farms Transfers, (iii) that Revstone
owed any debt to any recipient or beneficiary of the Highland Farms Transfers at the time of the
Highland Farms Transfers, or (iv) that Revstone otherwise had any obligation to make the
Highland Farms Transfers.

In fact, the Highland Farms Transfers appear to be horse-related payments made to Highland
Farms for the benefit of Highland Farms and Hofmeister, who was actively involved in the
Thoroughbred racing industry and owned Highland Farms. Revstone, on the other hand, did not
own any horses or conduct any horse-related business.

Based on the foregoing, it is my opinion that (i) the Highland Farms Transfers were made to
Highland Farms, for Hofmeister’s benefit, between October 30, 2009 and July 6, 2011, (ii)
Revstone did not receive reasonably equivalent value in exchange for the Highland Farms
Transfers, and (iii) as discussed in the Insolvency Section of this Report, Revstone was insolvent
at the time the Highland Farms Transfers were made. The Trustee is entitled to recover the
principal amount of the Highland Farms Transfers plus prejudgment interest at the federal
judgment rate from the date of each of the Highland Farms Transfers. 19

                                      TURNBERRY TRANSFER

According to Revstone’s books and records, a total of $100,000 of Revstone’s funds was
transferred (the “Turnberry Transfer”) to Turnberry Investors, LLC (“Turnberry”) on September
24, 2010. The Turnberry Transfer was made via wire transfer from the Fifth Third Account.

I have not located anything in Revstone’s books and records, or in the materials produced by the
defendants in the Adversary Proceedings, indicating (i) that Revstone was repaid for the
Turnberry Transfer, (ii) that Revstone received any promissory notes, written agreements or
verbal repayment promises in exchange for the Turnberry Transfer, or (iii) that Revstone
otherwise received anything of value in exchange for the Turnberry Transfer.

In fact, the available information indicates that the Turnberry Transfer was a real estate
investment made for Hofmeister’s benefit. Moreover, Revstone requested (but did not receive) a
refund of the Turnberry Transfer in September 2011.

Based on the foregoing, it is my opinion that (i) the Turnberry Transfer was made to Turnberry,
for Hofmeister’s benefit, on September 24, 2010, (ii) Revstone did not receive reasonably
equivalent value in exchange for the Turnberry Transfer, and (iii) as discussed in the Insolvency
Section of this Report, Revstone was insolvent at the time the Turnberry Transfer was made.

19
  The Highland Farms Transfers are the subject of the Sixteenth Claim for Relief in the Hofmeister
Adversary Proceeding.



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The Trustee is entitled to recover the principal amount of the Turnberry Transfer plus
prejudgment interest at the federal judgment rate from the date of the Turnberry Transfer. 20

                                     FASIG-TIPTON TRANSFER

According to Revstone’s books and records, a total of $100,000 of Revstone’s funds was
transferred (the “Fasig-Tipton Transfer”) to Fasig-Tipton Company, Inc. (“Fasig-Tipton”) on
March 17, 2010. The Fasig-Tipton Transfer was made via Check No. 1718 from the Fifth Third
Account.

I have not located anything in Revstone’s books and records, or in the materials produced by
Fasig-Tipton, indicating (i) that Revstone was repaid for the Fasig-Tipton Transfer, (ii) that
Revstone received any promissory notes, written agreements or verbal repayment promises in
exchange for the Fasig-Tipton Transfer, (iii) that Revstone owed any debt to any recipient or
beneficiary of the Fasig-Tipton Transfer at the time of the Fasig-Tipton Transfer, or (iv) that
Revstone otherwise had any obligation to make the Fasig-Tipton Transfer.

In fact, the documents produced by Fasig-Tipton indicate that (i) the Fasig-Tipton Transfer was a
payment to Fasig-Tipton for the purchase of two Thoroughbred horses at Fasig-Tipton’s
February 2010 Kentucky Winter Mixed Sale, (ii) Fasig-Tipton paid the sellers of the horses
before it received the Fasig-Tipton Transfer from Revstone, and (iii) the registration and other
certificates for both horses were received by Triton Farms, LLC (“Triton Farms”). As stated
above, Revstone did not own any horses or conduct any horse-related business. Hofmeister and
his family, however, were actively involved in the Thoroughbred racing industry.

Based on the foregoing, it is my opinion that (i) the Fasig-Tipton Transfer was made on or about
March 17, 2010, as described above, (ii) Revstone did not receive reasonably equivalent value in
exchange for the Fasig-Tipton Transfer, and (iii) as discussed in the Insolvency Section of this
Report, Revstone was insolvent at the time the Fasig-Tipton Transfer was made. The Trustee is
entitled to recover the principal amount of the Fasig-Tipton Transfer plus prejudgment interest at
the federal judgment rate from the date of the Fasig-Tipton Transfer. 21

                               TRITON/STONE SPIRE TRANSFERS

According to Revstone’s books and records, a total of $147,350 of Revstone’s funds was
transferred (the “Triton/Stone Spire Transfers”) to Triton Farms and Stone Spire III, LLC
(“Stone Spire”) between December 2009 and June 2011. The Triton/Stone Spire Transfers were
made via check and wire transfers from the Fifth Third Account, as follows:
20
   The Turnberry Transfer is the subject of the Seventeenth Claim for Relief in the Hofmeister Adversary
Proceeding. The Turnberry Transfer also is the subject of the First Claim for Relief in the Turnberry
Adversary Proceeding.
21
   The Fasig-Tipton Transfer is the subject of the Eighteenth Claim for Relief in the Hofmeister
Adversary Proceeding. The Fasig-Tipton Transfer also is the subject of the First Claim for Relief in the
Fasig-Tipton Adversary Proceeding.



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                                        Transfer        Transfer
                                           Date         Amount
                                        12/24/09           $15,000
                                          9/9/10            $1,350
                                          5/9/11           $16,000
                                         6/15/11           $15,000
                                         6/17/11          $100,000
                                         Total:           $147,350

The transfers made on December 24, 2009, September 9, 2010 and June 17, 2011 were made to
Triton Farms via Check Nos. 1554, 2093 and 2332, respectively. The remaining two transfers
were made to Stone Spire via wire transfer.

I have not located anything in Revstone’s books and records, or in the materials produced by the
defendants in the Adversary Proceedings, indicating (i) that Revstone was repaid for the
Triton/Stone Spire Transfers, (ii) that Revstone received any promissory notes, written
agreements or verbal repayment promises in exchange for the Triton/Stone Spire Transfers, (iii)
that Revstone owed any debt to any recipient or beneficiary of the Triton/Stone Spire Transfers
at the time of the Triton/Stone Spire Transfers, or (iv) that Revstone otherwise had any
obligation to make the Triton/Stone Spire Transfers.

In fact, the information available indicates that (i) Stone Spire was owned by Triton Farms and
Clemmens, and (ii) all of the Triton/Stone Spire Transfers were horse-related disbursements.
Revstone did not own any horses or conduct any horse-related business. On the other hand,
Hofmeister and his family, Clemmens, and their respective entities were actively involved in the
Thoroughbred racing industry.

Based on the foregoing, it is my opinion that (i) the Triton/Stone Spire Transfers were made to
Triton Farms and Stone Spire, as described above, between December 24, 2009 and June 17,
2011, (ii) Revstone did not receive reasonably equivalent value in exchange for the Triton/Stone
Spire Transfers, and (iii) as discussed in the Insolvency Section of this Report, Revstone was
insolvent at the time the Triton/Stone Spire Transfers were made. The Trustee is entitled to
recover the principal amount of the Triton/Stone Spire Transfers plus prejudgment interest at the
federal judgment rate from the date of each of the Triton/Stone Spire Transfers. 22

                                  JSM CLEVELAND TRANSFERS



22
  The Triton/Stone Spire Transfers are the subject of the Nineteenth Claim for Relief in the Hofmeister
Adversary Proceeding. The transfers to Stone Spire also are discussed at ¶¶ 40-41 of the operative
complaint in the Hofmeister Adversary Proceeding, and are included in the First Claim for Relief in the
Clemmens Adversary Proceeding.



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According to Revstone’s books and records, a total of $621,353 of Revstone’s funds was
transferred (the “JSM Cleveland Transfers”) to JSM Cleveland, Inc. (“JSM Cleveland”) or for
the benefit of JSM Cleveland. The JSM Cleveland Transfers were made between April 2009 and
December 2010 via check and wire transfers from the Fifth Third Account as follows:

                                         Transfer       Transfer
                                            Date        Amount
                                           4/2/09          $40,000
                                          4/22/09          $30,000
                                          4/24/09          $50,000
                                           7/3/09          $29,653
                                          7/31/09          $15,000
                                          12/3/09           $6,000
                                         12/18/09          $25,000
                                          2/25/10          $25,000
                                          3/17/10          $45,000
                                          3/30/10          $26,000
                                          8/27/10        $175,000
                                          8/31/10          $15,000
                                           9/3/10        $139,000
                                          12/8/10             $700
                                          Total:         $621,353

The transfers on 7/31/09, 12/18/09, 3/17/10, 3/30/10 and 8/31/10 were made via Check Nos.
1234, 1520, 1710, 1744 and 2035, respectively, to JSM Enterprises, Inc. (“JSM Enterprises”).
The remainder of the JSM Cleveland Transfers were made via wire transfer to JSM Cleveland
and to a third party, Hahn Loeser & Parks, LLP.

I have not located anything in Revstone’s books and records, or in the materials produced by the
defendants in the Adversary Proceedings, indicating (i) that Revstone was repaid for the JSM
Cleveland Transfers, (ii) that Revstone received any promissory notes, written agreements or
verbal repayment promises in exchange for the JSM Cleveland Transfers, (iii) that Revstone
owed any debt to any recipient or beneficiary of the JSM Cleveland Transfers at the time of the
JSM Cleveland Transfers, or (iv) that Revstone otherwise had any obligation to make the JSM
Cleveland Transfers.

In fact, the available information indicates that:

•   JSM Cleveland was wholly owned by JSM Enterprises. JSM Enterprises was a holding
    company with no active operations, and with no active subsidiaries other than JSM
    Cleveland.




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•    The transfers made on April 2, 2009, February 25, 2010 and August 27, 2010, totaling
     $240,000, were made to the law firm of Hahn Loeser & Parks LLP in settlement of a lawsuit
     filed by Carl Tenk, et al. against JSM Cleveland.
•    The transfer of $29,653 on July 3, 2009 was made to Batten Capital Secured Debt Fund 1 for
     the benefit of JSM Cleveland. Revstone had no obligation to make this payment.
•    The transfers made on April 22, 2009 and April 24, 2009 were made to JSM Cleveland for its
     use as working capital. Revstone had no obligation to provide JSM Cleveland with working
     capital.
•    The transfer of $139,000 on September 3, 2010 was made to JSM Cleveland to use for
     accrued vacation pay. Revstone had no obligation to make this payment.

Based on the foregoing, it is my opinion that (i) the JSM Cleveland Transfers were made to or
for the benefit of JSM Cleveland between April 2, 2009 and December 8, 2010, (ii) Revstone did
not receive reasonably equivalent value in exchange for the JSM Cleveland Transfers, and (iii) as
discussed in the Insolvency Section of this Report, Revstone was insolvent at the time the JSM
Cleveland Transfers were made. The Trustee is entitled to recover the principal amount of the
JSM Cleveland Transfers plus prejudgment interest at the federal judgment rate from the date of
each of the JSM Cleveland Transfers. 23

                                      MID-STATES TRANSFER

According to Revstone’s books and records, a total of $100,000 of Revstone’s funds was
transferred (the “Mid-States Transfer”) to Mid-States Capital, LLC (“Mid-States”) on April 2,
2009. The Mid-States Transfer was made via wire transfer from the Fifth Third Account.

I have not located anything in Revstone’s books and records, or in the materials produced by
Mid-States, indicating (i) that Revstone was repaid for the Mid-States Transfer, (ii) that Revstone
received any promissory notes, written agreements or verbal repayment promises in exchange for
the Mid-States Transfer, (iii) that Revstone owed any debt to any recipient or beneficiary of the
Mid-States Transfer at the time of the Mid-States Transfer, or (iv) that Revstone otherwise had
any obligation to make the Mid-States Transfer.

In fact, the documents produced by Mid-States indicate that the Mid-States Transfer was a
payment for consulting services provided in connection with Fourslides, Inc. (“Fourslides”).
Fourslides was owned by Arete. Arete was wholly owned by the Children’s Trusts, and
Hofmeister was the Chairman of Arete and Fourslides.

Based on the foregoing, it is my opinion that (i) the Mid-States Transfer was made on April 2,
2009 to Mid-States, (ii) Revstone did not receive reasonably equivalent value in exchange for the
Mid-States Transfer, (iii) as discussed in the Insolvency Section of this Report, Revstone was
insolvent at the time the Mid-States Transfer was made, and (iv) the Mid-States Transfer was

23
  The JSM Cleveland Transfers are the subject of the Twentieth Claim for Relief in the Hofmeister
Adversary Proceeding.



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made for the benefit of Hofmeister and the Children’s Trusts. The Trustee is entitled to recover
the principal amount of the Mid-States Transfer plus prejudgment interest at the federal
judgment rate from the date of the Mid-States Transfer. 24

                                         SIMON TRANSFERS

According to Revstone’s books and records, a total of $195,000 of Revstone’s funds was
transferred (the “Simon Transfers”) to the law firm of Simon PLC Attorneys & Counselors f/k/a
Simon, Galasso & Frantz, PLC (“Simon PLC”). The Simon Transfers were made between April
2009 and October 2009 via wire transfers from the Fifth Third Account. On October 27, 2009,
Simon PLC repaid $17,195 of the Simon Tranfers to Revstone. These transactions are depicted
in the following chart:

                                        Transfer        Transfer
                                           Date         Amount
                                          4/7/09            $25,000
                                         4/30/09            $50,000
                                         6/25/09            $80,000
                                        10/19/09            $40,000
                                        10/27/09          $(17,195)
                                         Total:           $177,805

I have not located anything in Revstone’s books and records, or in the materials produced by the
defendants in the Adversary Proceedings, indicating (i) that Revstone received any repayment
for the Simon Transfers other than the $17,195 received on October 27, 2009, (ii) that Revstone
received any promissory notes, written agreements or verbal repayment promises in exchange for
the Simon Transfers, (iii) that Revstone owed any debt to any recipient or beneficiary of the
Simon Transfers at the time of the Simon Transfers, or (iv) that Revstone otherwise had any
obligation to make the Simon Transfers.

In fact, the information available indicates that (i) Simon PLC was legal counsel to Hofmeister
and the Family Trusts in connection with litigation filed on behalf of the Family Trusts,
captioned as George S. Hofmeister Family Trust, et al. v. FGH Industries, LLC, et al., Case No.
06-cv-13984 (DT) (E.D. Mich.), and related arbitration proceedings (the “FGH Litigation”), and
(ii) the Simon Transfers were payments to Simon PLC for legal services provided and expenses
incurred on behalf of Hofmeister and the Family Trusts in connection with the FGH Litigation.
Revstone was not a party to the FGH Litigation, had no interest in the FGH Litigation, and was
not represented by Simon PLC in connection with the FGH Litigation (or otherwise).



24
  The Mid-States Transfer is the subject of the Twenty-First Claim for Relief in the Hofmeister
Adversary Proceeding. The Mid-States Transfer also is the subject of the First Claim for Relief in the
Mid-States Adversary Proceeding.



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Based on the foregoing, it is my opinion that (i) the Simon Transfers were made to Simon PLC
between April 7, 2009 and October 19, 2009, (ii) Revstone was repaid $17,195 of the Simon
Transfers on October 27, 2009 but did not receive reasonably equivalent value in exchange for
the remaining $177,805 of the Simon Transfers, (iii) as discussed in the Insolvency Section of
this Report, Revstone was insolvent at the time the Simon Transfers were made, and (iv) the
Simon Transfers were made for the benefit of Hofmeister. The Trustee is entitled to recover the
principal amount of the Simon Transfers plus prejudgment interest at the federal judgment rate
from the date of each of the Simon Transfers. 25

                                        COMVEST TRANSFER

According to Revstone’s books and records, a total of $300,000 of Revstone’s funds was
transferred (the “ComVest Transfer”) to ComVest Capital, LLC (“ComVest”) on July 3, 2009.
The ComVest Transfer was made via wire transfer from the Fifth Third Account.

I have not located anything in Revstone’s books and records, or in the materials produced by the
defendants in the Adversary Proceedings, indicating (i) that Revstone was repaid for the
ComVest Transfer, (ii) that Revstone received any promissory notes, written agreements or
verbal repayment promises in exchange for the ComVest Transfer, (iii) that Revstone owed any
debt to any recipient or beneficiary of the ComVest Transfer at the time of the ComVest
Transfer, or (iv) that Revstone otherwise had any obligation to make the ComVest Transfer.

In fact, the information available indicates that the ComVest Transfer was a payment on loan or
other obligations owed to ComVest by W Forge Holdings, Inc. and MW Universal, as guarantor.
As stated above, MW Universal is wholly owned by AMI, and AMI is wholly owned by the
Children’s Trusts. Revstone has no ownership interest in AMI, MW Universal, or W Forge
Holdings, Inc.

Based on the foregoing, it is my opinion that (i) the ComVest Transfer was made on or about
July 3, 2009, (ii) Revstone did not receive reasonably equivalent value in exchange for the
ComVest Transfer, (iii) as discussed in the Insolvency Section of this Report, Revstone was
insolvent at the time the ComVest Transfer was made, and (iv) the ComVest Transfer was made
for the benefit of W Forge Holdings, Inc., MW Universal, AMI and the Children’s Trusts. 26

                                    AMI MORTON TRANSFERS

According to Revstone’s books and records, a total of $180,000 of Revstone’s funds was
transferred (the “AMI Morton Transfers”) to AMI Morton Fabrication, LLC (“AMI Morton”).

25
   The Simon Transfers are the subject of the Twenty-Second Claim for Relief in the Hofmeister
Adversary Proceeding. The Simon Transfers also are the subject of the First Claim for Relief in the
Simon Adversary Proceeding.
26
   The ComVest Transfer is the subject of the Twenty-Third Claim for Relief in the Hofmeister Adversary
Proceeding.



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The AMI Morton Transfers were made between February 2009 and April 2011 via checks issued
from the Fifth Third Account, as follows:

                                        Transfer        Transfer
                                           Date         Amount
                                         2/25/09          $125,000
                                          4/7/09           $50,000
                                         4/14/11            $5,000
                                         Total:           $180,000

The transfers identified above were made via Check Nos. 1006, 1078 and 2299, respectively.

I have not located anything in Revstone’s books and records, or in the materials produced by the
defendants in the Adversary Proceedings, indicating (i) that Revstone was repaid for the AMI
Morton Transfers, (ii) that Revstone received any promissory notes, written agreements or verbal
repayment promises in exchange for the AMI Morton Transfers, (iii) that Revstone owed any
debt to any recipient or beneficiary of the AMI Morton Transfers at the time of the AMI Morton
Transfers, or (iv) that Revstone otherwise had any obligation to make the AMI Morton Transfers.

In fact, the information available indicates that AMI Morton was wholly owned by the
Children’s Trusts. Revstone had no ownership interest in AMI Morton.

Based on the foregoing, it is my opinion that (i) the AMI Morton Transfers were made between
February 25, 2009 and April 14, 2011, (ii) Revstone did not receive reasonably equivalent value
in exchange for the AMI Morton Transfers, (iii) as discussed in the Insolvency Section of this
Report, Revstone was insolvent at the time the AMI Morton Transfers were made, and (iv) the
AMI Morton Transfers were made to or for the benefit of AMI Morton and the Children’s
Trusts. The Trustee is entitled to recover the principal amount of the AMI Morton Transfers plus
prejudgment interest at the federal judgment rate from the date of each of the AMI Morton
Transfers. 27




27
  The AMI Morton Transfers are the subject of the Twenty-Fourth Claim for Relief in the Hofmeister
Adversary Proceeding. The AMI Morton Transfers also are the subject of the First Claim for Relief in the
AMI Morton Adversary Proceeding.



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                                      CLEMMENS TRANSFERS

According to Revstone’s books and records, a total of $705,000 of Revstone’s funds was
transferred (the “Clemmens Transfers”) to Clemmens between December 2009 and April 2011.28
The Clemmens Transfers were made via wire transfers from the Fifth Third Account, as follows:

                                        Transfer        Transfer
                                           Date         Amount
                                        12/22/09           $20,000
                                         2/24/10            $5,000
                                          3/3/10            $5,000
                                          3/5/10           $50,000
                                         3/12/10          $150,000
                                         3/26/10          $200,000
                                         8/13/10          $100,000
                                         8/27/10          $100,000
                                        10/15/10           $10,000
                                         11/5/10           $50,000
                                         4/12/11           $15,000
                                         Total:           $705,000

I have not located anything in Revstone’s books and records, or in the materials produced by the
defendants in the Adversary Proceedings, indicating (i) that Revstone was repaid for the
Clemmens Transfers, (ii) that Revstone received any promissory notes, written agreements or
verbal repayment promises in exchange for the Clemmens Transfers, (iii) that Clemmens or any
other party provided reasonably equivalent value to Revstone in exchange for the Clemmens
Transfers, or (iv) that Revstone otherwise had any obligation to make the Clemmens Transfers.

In fact, the available information indicates that:

•    The transfer of $20,000 made on December 22, 2009 was a horse-related expense. As stated
     above, Revstone did not own any horses or conduct any horse-related business. Hofmeister
     and Clemmens, on the other hand, were actively involved in the Thoroughbred racing
     industry.
•    The transfers made on February 24, 2010 and March 3, 2010, totaling $10,000, were
     identified as “trustee” fees. At the times of these transfers, Clemmens was the trustee of the
     Family Trust.


28
   The Clemmens Transfers are discussed at ¶¶ 40-41 of the operative complaint in the Hofmeister
Adversary Proceeding. The Clemmens Transfers, as well as the two transfers to Stone Spire discussed
above, also are the subject of the First Claim for Relief in the Clemmens Adversary Proceeding. In the
Clemmens Adversary Proceeding, the Trustee seeks to recover from Clemmens a total principal amount
of $736,000.



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•   The transfers made between March 5, 2010 and August 27, 2010, totaling $150,000, were
    identified as “financing” fees. I have not located anything indicating that Clemmens
    provided services or anything else of reasonably equivalent value to Revstone in exchange
    for these transfers. Moreover, at the times of these transfers – in fact, at the time of all of the
    Clemmens Transfers – Clemmens was the trustee of the Family Trust.

Based on the foregoing, it is my opinion that (i) the Clemmens Transfers were made to
Clemmens between December 22, 2009 and April 12, 2011, (ii) Revstone did not receive
reasonably equivalent value in exchange for the Clemmens Transfers, and (iii) as discussed in
the Insolvency Section of this Report, Revstone was insolvent at the time the Clemmens
Transfers were made. The Trustee is entitled to recover the principal amount of the Clemmens
Transfers plus prejudgment interest at the federal judgment rate from the date of each of the
Clemmens Transfers.

                               SCOTT HOFMEISTER TRANSFERS

According to Revstone’s books and records, a total of $133,986.67 of Revstone’s funds was
transferred (the “Scott Transfers”) to Hofmeister’s son, Scott R. Hofmeister (“Scott Hofmeister”)
between January 2012 and December 2012. The Scott Transfers were made via wire transfer
from Ceridian, Revstone’s payroll processor, as follows:

                                      Transfer          Transfer
                                         Date           Amount
                                       1/13/12             $5,367.79
                                       1/27/12             $5,331.17
                                       2/10/12             $5,175.48
                                       2/24/12             $5,175.48
                                        3/9/12             $5,175.48
                                       3/23/12             $5,175.48
                                        4/6/12             $5,175.48
                                       4/20/12             $5,175.48
                                        5/4/12             $5,175.48
                                       5/18/12             $5,175.48
                                        6/1/12             $5,175.48
                                       6/15/12             $5,175.48
                                       6/29/12             $5,175.48
                                       7/13/12             $5,175.48
                                       7/27/12             $5,175.48
                                       8/10/12             $5,175.48
                                       8/24/12             $5,175.48
                                        7/7/12             $5,175.48
                                       7/21/12             $5,175.48
                                       10/5/12             $5,175.48



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                                      Transfer          Transfer
                                        Date            Amount
                                      10/19/12              $5,175.48
                                       11/2/12              $5,175.48
                                      11/16/12             $5,145..91
                                      11/30/12              $4,877.40
                                      12/14/12              $4,877.40
                                      12/18/12              $4,877.40
                                       Total:            $133,986.67

The Scott Transfers made between January 13, 2012 and November 30, 2012, totaling
$124,231.87, were made prior to the Petition Date (the “Scott Pre-Petition Transfers”). The two
remaining Scott Transfers, totaling $9,754.80, were made after the Petition Date, on December
14, 2012 and December 28, 2012 (the “Scott Post-Petition Transfers”).

I have not located anything in Revstone’s books and records, or in the materials produced by the
defendants in the Adversary Proceedings, indicating (i) that Revstone was repaid for the Scott
Transfers, (ii) that Revstone received any promissory notes, written agreements or verbal
repayment promises in exchange for the Scott Transfers, (iii) that Scott Hofmeister or any other
party provided reasonably equivalent value to Revstone in exchange for the Scott Transfers, or
(iv) that Revstone otherwise had any obligation to make the Scott Transfers.

In fact, the available information indicates that, while the Scott Transfers purported to be wages
paid to Scott Hofmeister as an employee of Revstone, the Scott Transfers were made when Scott
Hofmeister was a full-time student at Harvard Business School.

Based on the foregoing, it is my opinion that (i) the Scott Transfers were made to Scott
Hofmeister between January 13, 2012 and December 28, 2012, (ii) Revstone did not receive
reasonably equivalent value in exchange for the Scott Pre-Petition Transfers, (iii) as discussed in
the Insolvency Section of this Report, Revstone was insolvent at the time the Scott Pre-Petition
Transfers were made, and (iv) the Scott Post-Petition Transfers were not made in the ordinary
course of Revstone’s business. The Trustee is entitled to recover the principal amount of the
Scott Transfers plus prejudgment interest at the federal judgment rate from the date of each of
the Scott Transfers. 29

                                NON-HEALTHCARE TRANSFERS

Between 2012 and June 2013, Hofmeister caused a total of at least $541,354.34 to be transferred
(the “Non-Healthcare Transfers”) from the Ascalon Health Plan. The Non-Healthcare Transfers
were made using funds designated by the Debtor and its subsidiaries for the Ascalon Health Plan,


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  The Scott Transfers are the subject of the First Claim for Relief in the Scott Hofmeister Adversary
Proceeding.



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but were made for purposes unrelated to the provision of healthcare benefits to plan participants
or the administration of the Ascalon Health Plan. The Non-Healthcare Transfers were as follows:

                                      Transfer          Transfer
                                         Date           Amount
                                         2012            $139,005.45
                                       2/15/13                $1,600
                                       2/20/13                  $700
                                       3/22/13               $11,000
                                       4/10/13               $20,000
                                        5/1/13              $250,000
                                       5/21/13               $60,000
                                       6/14/13               $32,000
                                      1Q 2013             $27,048.89
                                       Total:            $541,354.34

                                     Repayment           $-13,300.00
                                      Revised
                                       Total:            $528,054.34

All of the Non-Healthcare Transfers were made via check and/or wire transfer from Fifth Third
Bank Account No. 7381299333 (the “9333 Account”), except for the two payroll transfers,
which were made from Fifth Third Bank Account No. 7381299325 (the “9325 Account”).

There is no evidence that any of the Non-Healthcare Transfers were made for purposes related to
the Ascalon Health Plan. In fact, the detail regarding the purpose of each of the Non-Healthcare
Transfers (other than those related to the Hofmeister Farm Employees and the earliest Triton
Farm payments (see below)) was provided to me through Hofmeister’s counsel on a schedule
titled “Non-Health related Payments, July 10, 2013” (the “Hofmeister Admission”). The
Hofmeister Admission is attached as EXHIBIT IV to this Report. In addition to the Hofmeister
Admission, other available information indicates that:

•   The transfers made on February 15, 2013 and February 20, 2013, totaling $2,300, were made
    to Triton Farms. Triton Farms is a Hofmeister-related horse business unrelated to the
    provision of health benefits to plan participants.
•   The transfer of $11,000 made on March 22, 2013 was identified as a transfer for Triton
    Farms-Harvard Tuition. As stated above, Triton Farms is a Hofmeister-related horse
    business, and Hofmeister’s son (Scott Hofmeister) was a student at Harvard Business School.
    Hofmeister, himself, informed me on June 25, 2013 that this payment was made for his son’s
    business school tuition. There is no connection between Scott Hofmeister’s MBA and the
    provision of health benefits to plan participants.




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•   The transfer of $20,000 on April 10, 2013 was made to SH Development. SH Development
    was organized on or around October 12, 2012, and is member managed by Hofmeister and
    John Sekely, both of whom have a 50% membership interest.
•   The transfer of $250,000 made on May 1, 2013 was allocated as follows, according to the
    Hofmeister Admission:
    - $100,000 was transferred to JMP. JMP, a manufacturing entity, is a third party entity that
       engaged in various business transactions with Hofmeister and Children’s Trust.
    - $65,578 was identified as UBS Interest. UBS Securities, LLC is a financial firm, and
       was a litigant that asserted claims against Hofmeister and Revstone.
    - $25,000 was used for Ascalon’s payroll obligations.
    - $5,000 was transferred to Bradley Racing Stable, LLC. Hofmeister was actively involved
       in the Thoroughbred racing industry.
    - $10,000 was transferred to Nelson Clemmens. At the time of this transfer, Clemmens
       was the trustee of the Family Trust.
    - $20,000 was transferred to Bullock & Coffman. Bullock & Coffman represented several
       Revstone and Spara, LLC entities in the Boston Financial Group, LLC litigation.
    - $5,000 was transferred to PPC Recovery. I have not seen anything indicating that this
       transfer was made for purposes related to the Ascalon Health Plan
    - $19,075 was transferred to Lincoln National Life. Hofmeister held a life insurance policy
       with Lincoln National Life.
    - $346.98 was used to make a payment on Hofmeister’s US Air Mastercard. I have not
       seen anything indicating that the payment was applied to charges related to the Ascalon
       Health Plan.
•   A May 31, 2013 transfer was allocated in the Hofmeister Admission as follows:
    - $37,000 was used for Ascalon’s payroll obligations.
    - $6,000 was transferred to Utica Leasing. Utica Leasco, LLC is a manufacturing industry
       asset based lender.
    - $16,183.33 was transferred to DIDS, LLC (“DIDS”) on account of interest payments
       related to notes which are a portion of the prohibited pension asset transactions that have
       been the subject of intense litigation in Revstone’s bankruptcy proceedings. DIDS was a
       limited liability company under Fairfield Castings, LLC set up with the stated purpose of
       facilitating sales financing. DIDS’ sole purpose was to facilitate loan agreements with
       Hofmeister entities which were funded by and sold to the Fairfield Plan.
    - $816.67 was transferred to the law firm of Steckbauer Weinhart Jaffe LLP (“SWJ”).
       There is no evidence that SWJ provided legal services or incurred expenses related to the
       Ascalon Health Plan.
•   The Hofmeister Admission allocated the transfer on June 14, 2013 of $32,000 as follows:
    - $16,667 was used for Ascalon’s payroll obligations.
    - $15,333 was transferred to Ohio State University. An analyst with Revstone was a
       candidate in the Ohio State University Masters of Business Administration program.
       Like the case of Hofmeister’s son, there is no apparent connection between this MBA
       tuition and the Ascalon Health Plan.




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•   During 2012, transfers of $139,005.45 were for payroll and related employer paid benefits
    for persons employed by Hofmeister on his horse farm (the “Hofmeister Farm Employees”).
    The Hofmeister Farm Employees were included on the payroll of Health and Benefits
    Services, LLC, an Ascalon entity that provided administrative services to the Ascalon Health
    Plan. I understand it was an open secret that Hofmeister paid the Hofmeister Farm
    Employees with funds belonging to the Ascalon Health Plan, even though those individuals
    provided no services to the Ascalon Health Plan. Pam Lucas, Revstone’s Director of Human
    Resources, identified the Hofmeister Farm Employees in an e-mail dated April 8, 2014. A
    copy of that email, along with payroll registers related to the Hofmeister Farm Employees, is
    attached as EXHIBIT V to this Report.

                               Hofmeister Farm           Amount Paid in
                               Employee Name                 2012
                             Florence, O.                       $40,262.04
                             Florence, S.                       $45,180.31
                             Florence, S. Jr.                   $30,648.96
                             Florence, W.                        $6,573.64
                             Ratliff, P.                        $16,340.50
                             Total                             $139,005.45


•   The transfer of $27,048.89 consisted of several payments made over a 9 to 10 week period in
    early 2013 for payroll and benefits of the Hofmeister Farm Employees unrelated to the
    Ascalon Health Plan.

                               Hofmeister Farm           Amount Paid in
                               Employee Name               1Q 2013
                             Florence, O.                        $8,021.58
                             Florence, S.                        $8,393.92
                             Florence, S. Jr.                    $5,193.29
                             Florence, W.                        $1,575.87
                             Ratliff, P.                         $3,864.23
                             Total                              $27,048.89


On July 15, 2013, Ascalon repaid $13,300 to the Ascalon Health Plan. To date, the remainder of
the Non-Healthcare Transfers remain unpaid.



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Hofmeister committed to repay the sum of $210,000 on or before December 31, 2013, without
admitting liability for the Non-Healthcare Transfers. He failed to do so. I am not aware of any
efforts taken by either Ascalon or the Children’s Trusts to enforce Hofmeister’s repayment
commitment, or to repay or collect the remainder of the Non-Healthcare Transfers.

As part of my evaluation of the Non-Healthcare Transfers, I reviewed the activity in the 9333
Account from December 1, 2012 through June 30, 2013. All deposits from December 1, 2012
through June 30, 2013 were either employer health premium contributions made by the Debtor
and its subsidiaries, or other health plan related inflows, such as rebates from healthcare
providers and claim settlements. No “general” funds were deposited into the 9333 Account
during this period. The 9325 Account was funded with transfers made from the 9333 Account.

In summary, Hofmeister caused the Non-Healthcare Transfers to be made for purposes unrelated
to the Ascalon Health Plan. As a result of Hofmeister’s improper Non-Healthcare Transfers, the
Ascalon Health Plan had at least $528,054.34 fewer dollars available to it for the payment of
employee medical claims, administrative costs and other legitimate expenses of the Ascalon
Health Plan.


    Predicate Creditors

As of December 3, 2012, Revstone was indebted to many creditors. At least two of those
creditors were owed amounts that have been outstanding since the beginning of 2009.

Revstone was obligated to the Commonwealth of Kentucky, Division of Unemployment
Insurance, for unpaid unemployment insurance taxes for the first quarter of 2009 in an amount of
$884.99. Records reflect that Revstone had 13 employees in Kentucky as of January 2009 for
whom Revstone was obligated to pay unemployment insurance taxes and was at least partially
delinquent in paying that obligation. That obligation remained unpaid as of the petition date.

As of December 3, 2012, Revstone was obligated for an employer contribution under the Indiana
Employer Security Act for the first quarter of 2009 in the amount of $344.84. The Indiana
Department of Workforce Development Collections Unit filed proof of claim No. 62 which
includes this amount.




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APPENDIX B
Revstone Industries, LLC
List of Adversary Parties


The Adversary Proceedings pending in the United States Bankruptcy Court for the District of
Delaware are as follows:
1.     Caruso v. George S. Hofmeister, et al., Adv. No. 14-50033 (the “Hofmeister Adversary Proceeding”)
2.     Caruso v. Radco Construction Services, Inc., Adv. No. 14-50651 (the “Radco Adversary Proceeding”)
3.     Caruso v. Penn Ridge Farms, LLC, Adv. No. 14-50652 (the “Penn Ridge Adversary Proceeding”)
4.     Caruso v. Holmes, Hollister & Co., Adv. No. 14-50654 (the “Holmes Hollister Adversary
       Proceeding”)
5.     Caruso v. Turnberry Investors, LLC, Adv. No. 14-50656 (the “Turnberry Adversary Proceeding”)
6.     Caruso v. Simon PLC Attorneys & Counselors, Adv. No. 14-50975 (the “Simon Adversary
       Proceeding”)
7.     Caruso v. Scott Hofmeister, et al., Adv. No. 14-50977 (the “Scott Hofmeister Adversary Proceeding”)
8.     Caruso v. Mid-States Capital, LLC, Adv. No. 14-50978 (the “Mid-States Adversary Proceeding”)
9.     Caruso v. AMI Morton Fabrication, LLC, Adv. No. 14-50979 (the “AMI Morton Adversary
       Proceeding”)
10.    Caruso v. Patrick Smith, Adv. No. 14-50980 (the “Smith Adversary Proceeding”)
11.    Caruso v. GSL of Ill., LLC, Adv. No. 14-50981 (the “GSL Adversary Proceeding”)
12.    Caruso v. Ascalon Enterprises, LLC, et al., Adv. No. 14-50031 (the “Healthcare Plan Adversary
       Proceeding”)
13.    Caruso v. Homer W. McClarty, et al., Adv. No. 14-50986 (the “Pension Plan Adversary
Proceeding”)


The Adversary Proceedings pending in the United States Bankruptcy Court for the Eastern
District of Kentucky are as follows:
1.     Caruso v. Keeneland Association, Inc., et al., Adv. No. 15-05123 (the “Keeneland Adversary
       Proceeding”)
2.     Caruso v. Fasig-Tipton Company, Inc., Adv. No. 15-05094 (the “Fasig-Tipton Adversary Proceeding”)
3.     Caruso v. Nelson E. Clemmens, Adv. No. 16-05016 (the “Clemmens Adversary Proceeding”)




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Revstone Industries, LLC
Documents and Other Information Relevant to Expert’s Analysis and Conclusions
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 1.    Revstone Industries, LLC shared database of electronically stored information, including
       emails
 2.    2008 and 2009 Consolidated Financial Statements and Independent Auditors Reports for
       Cerion (c/k/a Revstone Transportation, LLC) and Revstone Transportation, LLC,
       respectively
 3.    2010 and 2011 Consolidated Financial Statements and Independent Auditors Reports for
       Revstone Industries, LLC and subsidiaries
 4.    2009 and 2012 Consolidated Financial Statements of AarKel Manufacturing Inc.
 5.    2010 Consolidated Financial Statements with Supplementary Information, T Cast
       Holdings, LLC and Subsidiary
 6.    2011 Consolidated Financial Statements of Fairfield Castings, LLC DBA Revstone
       Castings Fairfield, LLC and Metavation Castings Fairfield, LLC
 7.    2011 Revstone Quality of Earnings Reports
 8.    2012 Revstone Industries Dec 2012 Stmts v11 (2) (internal)
 9.    2012 US Tool Financials (internal)
10.    2012 Greenwood Forgings Plex 2010-2012 (internal)
11.    2012 Eptec, S.A. de C.V. (A wholly owned subsidiary of Metavation Mexico, LLC)
       Financial Statements for the Years Ended December 31, 2012 and 2011
12.    2008-2012 appraisals for Revstone and subsidiaries
13.    Revstone Industries, LLC 2008 and 2009 Federal Tax Returns
14.    Other tax related documents from the shared database of electronically stored information
15.    Pension Plan documents: 2007-2011 Form 5500 filings; 2011 Determination Letter;
       2006 IRS Review; 2009-2012 Schedule of Assets
16.    Fifth Third Bank Account: bank statements, copies of canceled checks, wire transfer
       confirmations, internal wire log, and intercompany transactions
17.    Other cash records, bank statements, and receipt or disbursement support for Revstone
       and subsidiaries
18.    Transactional records for Revstone and its subsidiaries, including purchase and sale
       agreements, and refinancing agreements.
19.    Revstone and its operating subsidiaries’ credit agreements, promissory notes and
       guarantees
20.    Organizational records of Revstone and its subsidiaries
21.    Organizational records of George Hofmeister’s related entities
22.    Organizational records of the Children’s Trusts and their related entities
23.    Organizational records of the Family Trust and its related entities
24.    Revstone and its subsidiaries’ pre-petition Board of Managers meeting minutes
25.    Miscellaneous county real estate records
26.    Ceridian payroll reports
27.    Documents produced and/or filed by Revstone or the Trustee in the Adversary
       Proceedings and related proceedings



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Revstone Industries, LLC
Documents and Other Information Relevant to Expert’s Analysis and Conclusions
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28.    Documents produced and/or filed by the Defendants in the Adversary Proceedings and
       the defendants in related proceedings
29.    Documents filed by Revstone or other parties in Revstone’s and TPOP’s chapter 11 cases
30.    Documents produced by Mellen, Smith & Pivoz, PLC
31.    Revstone’s creditor files and proofs of claim.
32.    Preliminary Report Regarding Solvency at December 31, 2010 prepared by AlixPartners
       for settlement purposes
33.    Health and Benefits Services payroll registers and payroll analysis: Year ended 12/26/12,
       Year-to-date 07/12/13
34.    Fifth Third Bank statements – Ascalon Accounts #9333, #3909, #9325, December 2012
       to June 2013
35.    Health and Benefits Services Analysis of bank statements between 12/06/12 – 07/15/13
36.    Letter from S. Toll to L. Davis Jones on 09/16/13 re: $210,000 repayment for non-
       healthcare related transfers
37.    Letter from L. Davis Jones to S. Toll re: Farmhand payroll transfers from Healthcare
       accounts
38.    Fifth Third wire transfer detail re: $13,300 repayment to Ascalon on 07/15/13 for Triton
       Farms
39.    Non-Health related payments analysis provided by George Hofmeister and Sheldon Toll
       on 07/10/13 for transfers made on 04/10/13, 05/01/13, 05/31/13 and 06/14/13
40.    Letter from J. DiDonato to S. Toll re: $11,000 Triton Farms transfer made on 03/22/13
41.    April 8, 2014 e-mail from Pam Lucas re: Hofmeister Farm Employees.
42.    Accounting for Business Combinations (ASC 805)
43.    Automotive industry research and Capital IQ reports




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  EXHIBIT II
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          of 5     2008 REVSTONE INDUSTRIES ORGANIZATIONAL CHART



                                          Revstone Industries, LLC




                                                                                Revstone Transportation, LLC
                 Revstone Plastics, LLC




                                                                                          Metavation Mexico I,        Metavation Mexico
                                                              Metavation, LLC
                                                                                                  LLC                      II, LLC
                                                                                                                                          Case 14-50977-BLS




                                                Metavation Mt.
                                                                                                                                          Doc 78-1




                                                 Pleasant, LLC
                                                                                                        EPTEC S.A. De. C.V.


                                              Metavation Traverse
                                              City Building Three,
                                                       LLC


                                              Metavation Traverse
                                                                                                                                          Filed 04/14/17




                                                   City, LLC



                                                Hillsdale Salaried
                                                     Pension



                                                Hillsdale Hourly




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                                                     Pension
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                               2009 REVSTONE INDUSTRIES ORGANIZATIONAL CHART
                                                                                                                                                                                                                                                                                                    Case 14-50977-BLS




                                                                                                                     Revstone Industries, LLC




                                                              Revstone Plastics,                                                                                                                                                                    Revstone Wallaceburg      Revstone Industries
                                       Revstone Energy                                                                      Revstone Transportation,
                                                                    LLC                                                                                                                                                                                  Canada, LLC             Canada, Inc.
                                                                                                                                      LLC
                                                                                                                                                                                                                                                                                                    Doc 78-1




                                                                                   MW Texas Die Casting,                                                                                                                                                                      Revstone Industries
                               Revstone Plastics,   Chicago Miniature                                           Contech Casting            Metavation, LLC                  MPI, LLC             Metavation Mexico,     Metavation Mexico
                                                                                          Inc.                                                                                                                                                      Aarkel Tool & Die, Inc.     Burlington, Inc.
                                    Canada             Lighting, LLC                                                                                                                                    LLC                  II, LLC



               Omega Tool
                                                             Chicago Miniature                                                                     Metavation Vassar                                                                 Aarkel de Mexico SA
               Corporation
                                                             Lamp (Canada) Inc.            TDC purchased by MW in 2007                                                                                        Eptec S.A. de C.V.            de CV
                                                                 (Sold 9/09)               and Contech by Trust in 2009.                                                          Cerion MPI Knox, LLC
                                                                                             Both included in RT Audit.
              Talhin/T Sales                                                              Adjusted out in Solvency Report                         Metavation Traverse                                                                  New Ventures de
               Corporation                                  C Mini Luces Innova-                                                                       City, LLC                                                                       Mexico SA de CV
                                                              Technologies Ltd.
                                                                                                                                                                                       Cerion MPI
                                                                                                                                                                                                                                                                                                    Filed 04/14/17




                                                                                                                                                       Metavation Mt.                                                                  North American
           Talhin/T Corporation                              Chicago Miniature                                                                          Pleasant, LLC                                                                 Tooling Co S de RL
                                                             Lighting Costa Rica                                                                         (Sold 6/09)                                                                         (JV)
                                                                                                                                                                                   Cerion MPI Avenue,
                                                                     S.A.
                                                                                                                                                                                           LLC
                                                                                                                                                  Metavation Traverse
                                                                                                                                                  City Building Three,
                                                                                                                                                           LLC                     Cerion MPI Mexico,
                                                                                                                                                                                           LLP

                                                                                                                                                       Hillsdale Salaried
                                                                                                                                                         Pension Plan
                                                                                                                                                                                   MPI International
                                                                                                                                                                                  Mexico S. De R. L. De.
                                                                                                                                                                                          C.V.




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                                                                                                                                                       Hillsdale Hourly
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                                                                                                                                                        Pension Plan

                                                                                                                                                                                         Skill, LLC
                                                                                                                                                                                       (Sold 10/09)
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           2010 REVSTONE INDUSTRIES ORGANIZATIONAL CHART
                                                                                                                                                                                                                                                                                                                                                                                                       Case 14-50977-BLS




                                                                                             Revstone Industries, LLC




                                                                                                                                                                                                                                          Revstone Wallaceburg                                                 Revstone Industries
                                                                                                                                                                                                                                                                                                                                                                                                       Doc 78-1




Revstone Energy, LLC         Revstone Plastic, LLC                                                 Revstone Transportation, LLC             Revstone Mexico S. De R.L.       Revstone San Luis Potosi                                                            RPM Tec, LLC                                     Canada, Inc.       Revstone Tool &
                                                                                                                                                                                                                                               Canada, Inc.
                                                                                                                                                    De. C.V.                    S. De. RL. De. C.V.                                                                                                                                  Engineering, LLC




                                                                                                                                                                                                                                            Aarkel Tool & Die,
         Revstone Plastics           Chicago Miniature                                                                                                                                                                                                                 Power-Tec Manufacturing,                Revstone Industries
                                                                                                                                                                                                                                                   Inc.                                                                                         US Tool & Engineering, LLC
           Canada, Inc.                 Lighting, LLC                                                                                                                                                                                                                   LLC (2, one MI, one DE)                  Burlington, Inc.
                                                                                      MW Texas Die Casting,                       Metavation Mexico     Metavation Mexico,
                                                              Contech Casting, LLC                                    MPI, LLC                                                     Metavation, LLC                                                                                                                                                                              US Tool, LLC & Lansing Tool, LLC
                                                                                             Inc.                                      II, LLC                 LLC
                                                                                                                                                                                                                                                                                                                                                                                     (combined in Audit)
 Talhin/T Corporation                  Chicago Miniature
       (Canadian                       Lighting Costa Rica                                                                                                                                                                                                                                                                                      Lansing Tool & Engineering,
                                                                Contech Castings                                                                                                                                                Aarkel de Mexico                           Arrow Racing, LLC
     Receivership)                             S.A.                                                                                                                                                                                                                                                                                                         LLC
                                                              Real Estate Holdings,                                                                                                                                               S.A. De. C.V.
                                                                                               Cerion MPI Knox, LLC                                                                            Metavation Vassar,
                                                                       LLC                                                                    EPTEC S. A. De C.V.
    Talhin/T Sales                                                                                                                                                                                   LLC
                                      C Mini Luces Innova –
     Corporation
                                        Technologies Ltd.                                                                                                                                                                      New Ventures de
      (Canadian
    Receivership)                                                                                                                                                                             Metavation Traverse             Mexico S.A. De. C.V.                                 Arrow Racing Engines, LLC                                                                      Spara Tactical Mobility,
                                                                                               Cerion MPI Gold Road,                                                                                                                                                                                                                                T Cast Holdings, LLC
                                                                                                                                                                                                                                                                                                                                                                                                       Filed 04/14/17




                                                                                                                                                                                              City Building Three,                                                                                                                                                                          LLC
                                                                                                       LLC
     Omega Tool                                                                                                                                                                                        LLC
                                                                                                                                                                                                                                North American
     Corporation
                                                                                                                                                                                                                               Tooling Co. S de RL
      (Sold 7/10)
                                                                                                 Cerion MPI Grand                                                                             Metavation Traverse                  de CV (JV)
                                                                                                   Avenue, LLC                                                                                     City, LLC                                                               RPM Towing, LLC                                                      Greenwood Forgings, LLC (fka
                                                                                                                                                                                                                                                                                                                                                     Contech Forgings)


                                                                                                Cerion MPI Mexico,
                                                                                                        LLP                                                                                           MIDS, LLC
                                                                                                                                                                                                                                                                         RPM Retail Sales, LLC
                                                                                                                                                                                                                                                                                                                                                 Revstone Casting Fairfield,
                                                                                                                                                                                                                                                                                                                                                           LLC
                                                                                                  MPI International
                                                                                                 Mexico S. de R.L. de
                                                                                                        C.V.                                                                       Hillsdale Hourly               Hillsdale Salaried                                     Saleen Distribution &
                                                                                                                                                                                    Pension Plan                    Pension Plan                                              Sales, LLC




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                                                                                                                                                                                                                                                                                                                                        Revstone Castings
                                                                                                                                                                                                                                                                                                                                                                                                       Page 92 of 309




                                                                                                                                                                                                                                                                                                                                         GMP Local 350              DIDS, LLC
                                                                                                                                                                                                                                                                                                                                          Pension Plan
                                                                                                                                                                                                                                                                                Saleen, LLC
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       2011 REVSTONE INDUSTRIES ORGANIZATIONAL CHART
                                                                                       Revstone Industries, LLC




        Revstone Energy, LLC   Revstone Plastics, LLC                                 Revstone Transportation,             Revstone Mexico S. De R.L.      Revstone San Luis Potosi                                                                                                                          Revstone International   Revstone Tool &
                                                                                                                                                                                                                                                                                                                                                                                              Doc 78-1




                                                                                                                                                                                                               Revstone Wallaceburg                   Revstone Lighting, LLC           Revstone Industries
                                                                                                LLC                                De. C.V.                   S. De. RL. De. C.V.                                                                                                                                   S. ar. L          Engineering, LLC
                                                                                                                                                                                                                    Canada, Inc.                                                          Canada, Inc.



                                                                                                                                                                                                                                                                                                             Revstone Luxemburg                 Lansing Tool &
                                                                                                                                                                                                                                                                                       Revstone Industries
         Revstone Plastics,                             MW Texas Die                                                            Metavation Mexico,        Metavation Mexico                                                                                                                                        S. ar. L                    Engineering, LLC      US Tool, LLC & Lansing
                                   Brownstone                                                        Metavation, LLC                                                                                                                                                                     Burlington, Inc.
              Canada                                                     Contech Castings, LLC                                                                                        MPI, LLC                 AarKel Tool & Die, Inc.
                                    (Sold 4/11)          Casting, Inc.                                                                 LLC                     II, LLC                                                                                                                                                                                               Tool, LLC (combined in
                                                                                                                                                                                                                                                                                                                                                                             Audit)
                                                                                                                                                                                                                                                                                                              Revstone Germany             US Tool & Engineering,
                                                                                                                                                                                                                                                                  Chicago Miniature                                 GmbH                            LLC
                                                                         Contech Casting Real
                                                                                                                                                                                                                                                                     Lighting, LLC
                                                                         Estate Holdings, LLC                                                   Eptec S.A. De C.V.
                                                                                                                  Metavation Vassar,                                                        Cerion MPI Knox, LLC
                                                                                                                                                                                                                             North American Tooling
                                                                                                                        LLC
                                                                                                                                                                                                                              Co S de RL de CV (JV)
                                                                                                                                                                                                                                   (Sold 2/11)                                                                                              Greenwood Forging, LLC
                                                                                                                                                                                                                                                                                                                                             (fka Contech Forging)
                                                                                                                                                                                                                                                          Chicago Miniature        C Mini Luces
                                                                                                                  Metavation Traverse                                                                                                                     Lighting Costa Rica       Innovation
                                                                                                                                                                                             Cerion MPI Mexico,                 New Ventures de
                                                                                                                       City, LLC                                                                                                                                  S.A.           Technologies Ltd.
                                                                                                                                                                                                                                                                                                                                                                                              Filed 04/14/17




                                                                                                                                                                                                     LLP                        Mexico SA de CV


                                                                                                                  Metavation Traverse
                                                                                                                                                                                             MPI International
                                                                                                                  City Building Three,                                                                                          Aarkel de Mexico
                                                                                                                                                                                             Mexico, S. De. R. L.
                                                                                                                           LLC                                                                                                      SA de CV
                                                                                                                                                                                                  De. C.V.                     (Discontinued Ops)


                                                                                                                       MIDS, LLC                                                                 Cerion MPI Grand
                                                                                                                                                                                                   Avenue, LLC



                                                                                                                                                                                                 Cerion MPI Golf
                                                                                                        Hillsdale Hourly           Hillsdale Salaried                                               Road, LLC
                                                                                                         Pension Plan                Pension Plan




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       2012 REVSTONE INDUSTRIES, LLC ORGANIZATIONAL CHART




                                                                                                Revstone Industries, LLC
                                                                                                                                                                                                                                                                                                                                                                                                      Case 14-50977-BLS




                                                                                                                                                                                 Revstone San Luis
         Revstone Energy, LLC      Revstone Plastics, LLC                                                                                           Revstone Mexico S. De.
                                                                                                         Revstone Transportation, LLC                                           Potosi S. De. R.L. De.           Revstone Wallaceburg                                                                  Revstone International          Revstone Tool &
                                                                                                                                                         R.L. De. C.V.                                                                    Revstone Lighting LLC.                 Revstone Industries
                                                                                                                                                                                         C.V.                         Canada, Inc.                                                                            S. ar. L                 Engineering, LLC
                                                                                                                                                                                                                                                                                    Canada Inc.



                                Revstone Plastics,                                                                                                                                                                                                                               Revstone Industries
                                     Canada             Metavation Mexico II,     Metavation Mexico,                                     MPI, LLC             MW Texas Die Casting,                                                                                                Burlington Inc.                Revstone Luxemburg
                                                                                                             Metavation, LLC                                                             Contech Casting, LLC                                                                                                                                   Lansing Tool &
                                                                                                                                                                                                                                                                                                                                                                                                      Doc 78-1




                                                                LLC                      LLC                                                                         Inc.                                        AarKel Tool & Die Inc.                     Creative Lighting         (Canadian                         S. ar. L.
                                                                                                                                                                                                                                                                                                                                               Engineering, LLC
                                                                                                                                        (Sold 11/12)                                                                                                         Solutions, LLC         Receivership)
                                                                                                                                                                                                                                                                                                                                                                       US Tool, LLC & Lansing Tool,
                                                                                                                                                                                                                                                                                                                                                                        LLC (combined in Audit)
                                                                                               Metavation Traverse                                                                         Contech Castings                                                                                                        Revstone Germany
                                                                     Eptec S.A. De. C.V.            City, LLC                                                                            Real Estate Holdings,                                              Chicago Miniature                                            GmbH
                                                                                                                                                Cerion MPI Knox, LLC                              LLC                                                                                                                                     US Tool & Engineering, LLC
                                                                                                                                                                                                                                                               Lighting, LLC


                                                                                               Metavation Vassar,
                                                                                                     LLC                                         Cerion MPI Mexico,                                                                           Chicago Miniature            C Mini Luces                                                     Greenwood Forging, LLC
                                                                                                                                                         LLP                                                                                  Lighting Costa Rica           Innovation                                                       (fka Contech Forging)
                                                                                                                                                                                                                                                      S.A.               Technologies, Ltd.
                                                                                               Metavation Traverse
                                                                                               City Building Three,
                                                                                                        LLC                                       MPI International
                                                                                                                                                 Mexico, S.A. De. R.L.
                                                                                                                                                         C.V.
                                                                                                                                                                                                                                                                                                                                                                                                      Filed 04/14/17




                                                                                                     MIDS, LLC
                                                                                                                                                     Cerion MPI Golf
                                                                                                                                                        Road, LLC


                                                                                Hillsdale Salaried       Hillsdale Hourly
                                                                                  Pension Plan            Pension Plan                              Cerion MPI Grand
                                                                                                                                                      Avenue, LLC




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EXHIBIT III - Examples of Communications Stressing the Critical Liquidity Issues at Revstone and Related Entities

     Date              From                       To                       Subject Entity                     Subject
                                   D. Lifton, T. Hoefer, S. Toll,                                     DNE: Purchase Agreement
    8/7/2009          M. Irvin                                             Revstone, Timco
                                   T. Myers, R. Berg                                                       Confirmation
                                   G. Hofmeister, T. Saeli, D.
   8/10/2009         J. Zolkin     Lifton, D. Smith, J. Mirro, J.             Revstone                   Victory Park concerns
                                   Rathbun
                                   S. Toll, D. Smith, D. Lifton, S.
   8/13/2009       G. Hofmeister                                              Revstone                    Jordanian financing
                                   Alkhafaji
                                   T. Saeli, D. Smith, J. White, T.
   9/16/2009          M. Carr      Hoefer, G. Hofmeister, D.            ADS, Revstone Plastics    ADS - Liquidity issues and financing
                                   Lifton, W. Aspatore
    6/8/2010        Sheldon Toll   G, Hofmeister, D. Smith                      Timco                      Timco Shut Down
   6/26/2010          J. White     G. Hofmeister                        Timco, ChML, Omega        Omega - Cash from ChML account
                                   G. Hofmeister, D. Lifton, T.
   9/27/2010          J. White                                         Aarkel, Timco, Talhin/T    Weekly Update - Week Ending 9/26
                                   Hoefer, T. Brady
   11/5/2010       G. Hofmeister   D. Smith                                Revstone, Timco              Timco - Revstone at risk
                                   D. Lifton, T. Hoefer, M. Pente,
  11/23/2010          J. White                                                Revstone             Conversation with Access Capital
                                   D. Smith
                                                                         Revstone and Ducker          Revised Schedule Ducker
  11/28/2010        Scott Ulnick   Roger Goldbaum
                                                                             Worldwide            Worldwide Payments from Revstone
                                   G. Hofmeister, T. Brady, D.
                                                                       Revstone, AarKel, Timco,
  11/29/2010       R. Goldbaum     Lifton, P. Peterson , D. Smith,                                  Weekly Update - WE Nov 20th
                                                                                ChML
                                   J. Wilber, M. Carr
   5/18/2011       G. Hofmeister   J. Gray, J. Stipp                          Revstone                 Letter from G. Hofmeister
                                   A. Smith, B. Smith, D. Lifton,
   5/30/2011         D. Smith      J. O'Toole, J. Brown, M.               Valley, Power Tec                 Cash Forecasts
                                   Mitchell, M. Putz, M. Carr
    6/3/2011         D. Lifton     D. Smith                                   Revstone             $ - Personal payments to D. Lifton
                                   C. Saurini, R. Smith, S.
                                   Szatkowski, T. Herzinger, J.
    6/7/2011          J. Stipp     Brown, A. Washeleski, D.                   Revstone                     Cash needs today
                                   Smith, G. Hofmeister, D.
                                   Lifton
                                                                                                  Oakland County Treasurer - unpaid
    7/9/2012         J. Ackley     D. Smith, L. Jacobs                        Revstone
                                                                                                                tax
  11/30/2012         J. Ackley     G. Hofmeister, D. Smith                    Revstone                  Don Lifton/Airplane




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EXHIBIT IV




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EXHIBIT V

FARM EMPLOYEE PAYROLL CHARGED TO
HEALTH AND BENEFITS, LLC




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James Lukenda




From: Pam Lucas [mailto:plucas@revstone.com]
Sent: Tuesday, April 08, 2014 12:50 PM
To: John Owens
Subject: Farmhands 2013 Employment

During 2013, there were 5 farmhands: Ottis Florence, Steve Florence, Steve Florence, Jr., Whitney Florence and Palace
Ratliff. They were all paid from Health & Benefits from 1-1-13 to 3-10-13, and starting 3-11-13 were transferred to
Ascalon’s payroll.

Please let me know if you need additional details.

Pamela J. Lucas|Dir. Human Resources/Payroll Manager/Office Manager
REVSTONE
29895 Greenfield Road
Suite 101
Southfield MI 48076
PHONE 248.351.1033
MOBILE 248.417.7876
www.revstone.com



Note: To view our e-mail disclaimer please click here.




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      FUTA .6% on $7,000
      SUTA '12 = 2.7% on $9,000/ '13 = 3.2% on $9,000
                                                        RATES USED:




RATES USED:
SUTA '12 = 2.7% on $9,000/ '13 = 3.2% on $9,000
FUTA .6% on $7,000




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                                                         A149
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                                                         A150
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                                                         A151
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                                                         A152
                                                                    085-DIV/DEPT PAYROLL REGISTER                085                          
                                                                                                                                                   PAY
                    REB        HEALTH AND BENEFIT SERVICES, LLC                                         12/27/13       B-12/27/13              26               1
                    NO.          CO. NAME                                                               REPORT DATE       CHECKS DATED            PERIOD   PAGE NO.
                    DIV-DEPT   - 99X01      -
                    ************************************************************************************************************************************
                    HOURS/EARNS       PC DESCRIPTION               HOURS          EARNINGS        PC   DESCRIPTION             HOURS          EARNINGS
                       CURRENT        1    REGULAR                 80.00          5,000.00             FSAH                                      96.15-
                                                                                                       TOTAL                   80.00          4,903.85
                    PRE-TAX ITEMS
Page 153 of 309




                        CURRENT            DENTL                                        23.52-           MED                                         229.10-




                                                                                                                                                                      A153
                                           VISN                                          6.13-           TOTAL                                       258.75-
                    ************************************************************************************************************************************
                    HOURS/EARNS       PC DESCRIPTION                HOURS            EARNINGS      PC    DESCRIPTION               HOURS           EARNINGS
                        Q-TO-D        1    REGULAR                560.00            35,000.00            TOTAL                    560.00          35,000.00
                        Y-TO-D        1    REGULAR              2,080.00          130,000.00             TOTAL                  2,080.00         130,000.00
                        FLX-1         1    REGULAR                160.00            10,000.00            TOTAL                    160.00          10,000.00
                    ************************************************************************************************************************************
                    EARNINGS FROM DEDUCTIONS
                        QTD           FSAH            673.05-
                        YTD           FSAH          2,499.90-
Filed 04/14/17




                    PRE-TAX ITEMS
                        QTD           DENTL           164.64- MED               1,603.70-     VISN            42.91-    TOTAL         1,811.25-
                        YTD           DENTL           611.52- MED               5,956.60-     VISN           159.38-    TOTAL         6,727.50-
                        FTD1          DENTL            47.04- MED                 458.20-     VISN            12.26-    TOTAL            517.50-
                    MEMO DEDUCTION
                        CURRENT       ACHBR           623.66
                        QTD           ACHBR         4,365.62
                        YTD           ACHBR        16,215.16
                        FTD1          ACHBR         1,247.32
                    OTHER DEDUCTIONS
Doc 78-1




                        CURRENT       W2GRP            22.29
                        QTD           W2GRP           156.03
                        YTD           W2GRP           579.54
                        FTD1          W2GRP            44.58
                    DED BALANCES
                                      FSAH          2,499.90-
                    ************************************************************************************************************************************
Case 14-50977-BLS




                    GROSS TO NET           WAGES        SOCSEC        FEDERAL          STATE        LOCAL            SDI/UC         DEDUCTION           NET
                                                        MEDICR
                     CUR      GRPAY      4645.10          0.00         669.64         259.44 TOT                                                    3648.34
                              GRCOMP     4903.85         67.68                        259.44 KY
                     QTD      GRPAY     32515.70       1551.21        4687.48        1816.08 TOT                                                   23987.19
                              GRCOMP    34326.95        473.74                       1816.08 KY
                     YTD      GRPAY    120772.60       7049.40       17423.24        6745.44 TOT                                                   87794.91
                              GRCOMP   127500.10       1759.61                       6745.44 KY
                    ************************************************************************************************************************************
                    WAGE AND TAXES          QTD WAGES     QTD TAXES       YTD WAGES      YTD TAXES    FX1 WAGES       FX1 TAXES     FX2 WAGES      FX2 TAXES
                    EE SSEC TO LMT           25019.59       1551.21       113700.00        7049.40      1682.64          104.32
                        MDCR TO LMT          32671.73        473.74       121352.14        1759.61      9334.78          135.36
                    FIT                      32515.70       4687.48       120772.60       17423.24      9290.20         1339.28
                    FUTA TO LMT                                             7000.00
                    SIT
                    KY KENTUCKY              32671.73       1816.08       121352.14        6745.44      9334.78          518.88
                    SDI/UC
                    KY KENTUCKY              35000.00                     130000.00                    10000.00
                                                       PAY ANALYSIS REPORTING
                                                                  085-DIV/DEPT PAYROLL REGISTER               085
                                                                                                                                             PAY
                    REB      HEALTH AND BENEFIT SERVICES, LLC                                        12/27/13         B-12/27/13           26             2
                    NO.         CO. NAME                                                             REPORT DATE         CHECKS DATED       PERIOD   PAGE NO.
                    ************************************************************************************************************************************
                    CURRENT TAX RECAP                 0      VOID/MANUAL CHECKS INCLUDED
                                                                                   ************************ LIABILITIES ************************
                    FORM 8109 FEDERAL DEPOSIT       TYPE   JURISDICTION            TAXABLE WAGES    LIMIT   WAGES TO LIMIT    RATE          AMOUNT
                    EMPLOYEE MDCR           67.68
                    EMPLOYER MDCR           67.68                                      4,667.39    UNLIM            4,667.39   1.45 %       67.68 MDCR
                    EMPLOYEE FIT           669.64
                    TOTAL DEPOSIT          805.00                                                                              7.65 %       67.68
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                                                    FUTA STANDARD RATE                 4,645.10     7000                 .00    .60 %         .00




                                                                                                                                                                A154
                                                    FUTA KENTUCKY         CR RED                    7000            7,000.00    .90 %       63.00
                                                    TOTAL                                                                                   63.00
                                                     SUI    KY-KENTUCKY                 5,000.00     9300               .00    3.20 %          .00
                                                     TOTAL                              5,000.00                                               .00
                                                                                   ***************** STATE/LOCAL TAXES WITHHELD ****************
                                                                                   TAXABLE WAGES    LIMIT   WAGES TO LIMIT      RATE        AMOUNT
                                                     SIT    KY-KENTUCKY                 4,667.39                                            259.44
                                                     TOTAL                              4,667.39                                            259.44
                    FEDERAL 401-K DEFERRAL LIMIT                                                    17500
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                    FEDERAL 401-K CATCH-UP DEFERRAL LIMIT                                            5500
                    EMPLOYEE CENSUS    ACTIVE EMPS      1                         NET PAY ANALYSIS    # DEP ADV       1     CK & VM TOT        .00
                                       TOTAL EMPS       1                                             # EMPS PAID     1     EFTS TOTAL    3,648.34
                                                                                                                            TOTAL NET     3,648.34 *
                                                                                                                            TOTAL TAXES   1,127.44 **
                                                                                                                                          4,775.78 ***
                    ************************************************************************************************************************************
Doc 78-1
Case 14-50977-BLS
                                                      PAY ANALYSIS REPORTING
                                                                   085-DIV/DEPT PAYROLL REGISTER              085                         
                                                                                                                                               PAY
                    REB        HEALTH AND BENEFIT SERVICES, LLC                                      12/27/13       B-12/27/13             26               3
                    NO.           CO. NAME                                                           REPORT DATE       CHECKS DATED           PERIOD   PAGE NO.
                    DIV-DEPT    - 99X02       -
                    ************************************************************************************************************************************
                    HOURS/EARNS       PC DESCRIPTION               HOURS          EARNINGS        PC   DESCRIPTION             HOURS          EARNINGS
                       CURRENT        1    REGULAR                160.00          4,346.16             HSA                                      192.31-
                                                                                                       TOTAL                  160.00          4,153.85
                    PRE-TAX ITEMS
Page 155 of 309




                       CURRENT             401K                                      70.39-            DENTL                                      11.37-




                                                                                                                                                                  A155
                                           MED                                         8.77-           VISN                                        6.01-
                                                                                                       TOTAL                                      96.54-
                    ************************************************************************************************************************************
                    HOURS/EARNS       PC DESCRIPTION               HOURS          EARNINGS        PC   DESCRIPTION             HOURS           EARNINGS
                       Q-TO-D         1    REGULAR              1,120.00         30,423.12             TOTAL                1,120.00          30,423.12
                       Y-TO-D         1    REGULAR              6,134.50        148,171.89        3P   VAC PAYOUT              40.00             865.39
                                                                                                       TOTAL                6,174.50         149,037.28
                       FLX-1          1    REGULAR                320.00          8,692.32             TOTAL                  320.00           8,692.32
                    ************************************************************************************************************************************
                    DEDUCTION TO NET
Filed 04/14/17




                       CURRENT        VOLIN              .92                                                          TOTAL             .92
                       QTD            VOLIN             6.44                                                          TOTAL            6.44
                       YTD            $LS1            160.00    VOLIN            23.92                                TOTAL          183.92
                       FTD1           VOLIN             1.84                                                          TOTAL            1.84
                    EARNINGS FROM DEDUCTIONS
                       QTD            HSA           1,346.17-
                       YTD            HSA           7,456.71-
                       FTD1           HSA             384.62-
                    PRE-TAX ITEMS
                       QTD            401K            492.73- DENTL              79.59-    MED              61.39-    VISN            42.07-
Doc 78-1




                                                                                                                      TOTAL          675.78-
                       YTD            401K          2,133.06- DENTL             339.21-    MED            228.02-     VISN           180.16-
                                                                                                                      TOTAL       2,880.45-
                       FTD1           401K            140.78- DENTL              22.74-    MED              17.54-    VISN            12.02-
                                                                                                                      TOTAL          193.08-
                    MEMO DEDUCTION
                       CURRENT        ACHBR           446.73    HSAER            46.00
Case 14-50977-BLS




                       QTD            ACHBR         3,127.11    HSAER           322.96
                       YTD            ACHBR        14,359.98    HSAER         1,615.44     MISC1            20.00-
                       FTD1           ACHBR           893.46    HSAER            92.16
                    OTHER DEDUCTIONS
                       CURRENT        W2GRP             5.58
                       QTD            W2GRP            39.06
                       YTD            W2GRP           288.00
                       FTD1           W2GRP            11.16
                    DED BALANCES
                                      HSA           7,456.71- HSAER           1,615.44
                    ************************************************************************************************************************************
                    GROSS TO NET           WAGES        SOCSEC        FEDERAL       STATE          LOCAL           SDI/UC       DEDUCTION           NET
                                                        MEDICR
                     CUR       GRPAY        4057.31     256.27         429.03      207.12 TOT                                          .92      3104.04
                               GRCOMP       4153.85      59.93                     207.12 KY
                     QTD       GRPAY       28401.17    1793.85        3003.21     1449.84 TOT                                         6.44     21728.30
                               GRCOMP      29076.95     419.53                    1449.84 KY
                     YTD       GRPAY      138523.47    8747.65      15489.77      6964.48 TOT                                      183.92     105091.83
                               GRCOMP     141403.92    2045.82                    6964.48 KY
                                                       PAY ANALYSIS REPORTING
                                                                  085-DIV/DEPT PAYROLL REGISTER               085
                                                                                                                                             PAY
                    REB      HEALTH AND BENEFIT SERVICES, LLC                                        12/27/13         B-12/27/13           26             4
                    NO.         CO. NAME                                                             REPORT DATE          CHECKS DATED      PERIOD   PAGE NO.
                    ************************************************************************************************************************************
                    WAGE AND TAXES          QTD WAGES     QTD TAXES     YTD WAGES     YTD TAXES     FX1 WAGES     FX1 TAXES     FX2 WAGES     FX2 TAXES
                    EE SSEC TO LMT           28932.96       1793.85     141091.03        8747.65      8266.56        512.53
                        MDCR TO LMT          28932.96        419.53     141091.03        2045.82      8266.56        119.87
                    FIT                      28401.17       3003.21     138523.47      15489.77       8114.62        858.06
                    FUTA TO LMT                                          25853.11
                    SIT
                    KY KENTUCKY              28440.23       1449.84     138811.47        6964.48      8125.78        414.24
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                    SDI/UC




                                                                                                                                                                A156
                    KY KENTUCKY              30423.12                   149037.28                     8692.32
                    ************************************************************************************************************************************
                    CURRENT TAX RECAP                 0      VOID/MANUAL CHECKS INCLUDED
                                                                                   ************************ LIABILITIES ************************
                    FORM 8109 FEDERAL DEPOSIT       TYPE   JURISDICTION            TAXABLE WAGES    LIMIT   WAGES TO LIMIT    RATE          AMOUNT
                    EMPLOYEE SSEC          256.27
                    EMPLOYEE MDCR           59.93
                    EMPLOYER SSEC          256.26                                      4,133.28   113700            4,133.28    6.20 %     256.26 SSEC
                    EMPLOYER MDCR           59.93                                      4,133.28    UNLIM            4,133.28    1.45 %      59.93 MDCR
                    EMPLOYEE FIT           429.03
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                    TOTAL DEPOSIT        1,061.42                                                                               7.65 %     316.19
                                                    FUTA STANDARD RATE                 4,127.70     7000                  .00    .60 %        .00
                                                    FUTA KENTUCKY         CR RED                    7000            25,853.11    .90 %     232.68
                                                    TOTAL                                                                                  232.68
                                                     SUI    KY-KENTUCKY                 4,346.16     9300               .00    3.20 %          .00
                                                     TOTAL                              4,346.16                                               .00
                                                                                   ***************** STATE/LOCAL TAXES WITHHELD ****************
                                                                                   TAXABLE WAGES    LIMIT   WAGES TO LIMIT      RATE        AMOUNT
                                                     SIT    KY-KENTUCKY                 4,062.89                                            207.12
Doc 78-1




                                                     TOTAL                              4,062.89                                            207.12
                    FEDERAL 401-K DEFERRAL LIMIT                                                    17500
                    FEDERAL 401-K CATCH-UP DEFERRAL LIMIT                                            5500
                    EMPLOYEE CENSUS    ACTIVE EMPS      2                         NET PAY ANALYSIS    # DEP ADV       2     CK & VM TOT        .00
                                       TERM EMPS        3                                             # EMPS PAID     2     EFTS TOTAL    3,104.04
                                       TOTAL EMPS        5                                                                  TOTAL NET     3,104.04 *
                                                                                                                            TOTAL TAXES   1,501.22 **
Case 14-50977-BLS




                                                                                                                                          4,605.26 ***
                    ************************************************************************************************************************************
                                                      PAY ANALYSIS REPORTING
                                                                    085-DIV/DEPT PAYROLL REGISTER             085                         
                                                                                                                                               PAY
                    REB         HEALTH AND BENEFIT SERVICES, LLC                                     12/27/13       B-12/27/13             26               5
                    NO.           CO. NAME                                                           REPORT DATE       CHECKS DATED           PERIOD   PAGE NO.
                    DIV-DEPT    - 99X03      -
                    ************************************************************************************************************************************
                    HOURS/EARNS       PC DESCRIPTION               HOURS          EARNINGS        PC   DESCRIPTION             HOURS          EARNINGS
                       Y-TO-D         1    REGULAR              1,395.50         19,509.04             TOTAL                1,395.50         19,509.04
                    ************************************************************************************************************************************
                    GROSS TO NET           WAGES        SOCSEC       FEDERAL        STATE          LOCAL         SDI/UC         DEDUCTION          NET
                                                        MEDICR
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                     CUR       GRPAY             .00




                                                                                                                                                                  A157
                               GRCOMP            .00
                     YTD      GRPAY     17821.39       1104.92       1569.38       825.47 TOT                                      639.15     13424.06
                              GRCOMP    17821.39        258.41                     825.47 KY
                    ************************************************************************************************************************************
                    WAGE AND TAXES          QTD WAGES     QTD TAXES     YTD WAGES     YTD TAXES     FX1 WAGES     FX1 TAXES     FX2 WAGES     FX2 TAXES
                    EE SSEC TO LMT                                       17821.39        1104.92
                        MDCR TO LMT                                      17821.39         258.41
                    FIT                                                  17821.39        1569.38
Filed 04/14/17




                    FUTA TO LMT                                          17715.35
                    SIT
                    KY KENTUCKY                                          17821.39         825.47
                    SDI/UC
                    KY KENTUCKY                                          19509.04
                    ************************************************************************************************************************************
                    CURRENT TAX RECAP                 0      VOID/MANUAL CHECKS INCLUDED
                                                                                   ************************ LIABILITIES ************************
                    FORM 8109 FEDERAL DEPOSIT          TYPE JURISDICTION           TAXABLE WAGES    LIMIT   WAGES TO LIMIT    RATE          AMOUNT
                                                       FUTA STANDARD RATE                     .00    7000              .00    .60 %            .00
Doc 78-1




                                                       FUTA KENTUCKY        CR RED                   7000        17,715.35    .90 %         159.44
                                                       TOTAL                                                                                159.44
                    FEDERAL 401-K DEFERRAL LIMIT                                                    17500
                    FEDERAL 401-K CATCH-UP DEFERRAL LIMIT                                            5500
                    EMPLOYEE CENSUS    TERM EMPS        3                         NET PAY ANALYSIS                        CK & VM TOT          .00
                                       TOTAL EMPS       3                                                                 TOTAL NET            .00 *
Case 14-50977-BLS




                                                                                                                          TOTAL TAXES       159.44 **
                                                                                                                                            159.44 ***
                    ************************************************************************************************************************************
                                                        PAY ANALYSIS REPORTING
                                                                     085-DIV/DEPT PAYROLL REGISTER                085                           
                                                                                   GRAND TOTALS                                                      PAY
                    REB       HEALTH AND BENEFIT SERVICES, LLC                                           12/27/13       B-12/27/13               26               6
                    NO.         CO. NAME                                                                 REPORT DATE       CHECKS DATED             PERIOD   PAGE NO.
                    ************************************************************************************************************************************
                    HOURS/EARNS       PC DESCRIPTION               HOURS          EARNINGS        PC   DESCRIPTION             HOURS          EARNINGS
                       CURRENT        1    REGULAR                240.00          9,346.16             FSAH                                      96.15-
                                           HSA                                      192.31-            TOTAL                  240.00          9,057.70
                    PRE-TAX ITEMS
                       CURRENT             401K                                          70.39-            DENTL                                        34.89-
                                           MED                                          237.87-            VISN                                         12.14-
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                                                                                                           TOTAL                                       355.29-




                                                                                                                                                                        A158
                    ************************************************************************************************************************************
                    HOURS/EARNS       PC DESCRIPTION                 HOURS            EARNINGS       PC    DESCRIPTION               HOURS           EARNINGS
                       Q-TO-D         1    REGULAR               1,680.00            65,423.12             TOTAL                  1,680.00          65,423.12
                       Y-TO-D         1    REGULAR               9,610.00          297,680.93        3P    VAC PAYOUT                40.00             865.39
                                                                                                           TOTAL                  9,650.00         298,546.32
                       FLX-1          1    REGULAR                 480.00            18,692.32             TOTAL                    480.00          18,692.32
                    ************************************************************************************************************************************
                    DEDUCTION TO NET
                       CURRENT        VOLIN              .92                                                              TOTAL               .92
                       QTD            VOLIN             6.44                                                              TOTAL              6.44
Filed 04/14/17




                       YTD            $LS1            160.00     VOLIN               23.92                                TOTAL            183.92
                       FTD1           VOLIN             1.84                                                              TOTAL              1.84
                    EARNINGS FROM DEDUCTIONS
                       QTD            FSAH            673.05- HSA                1,346.17-
                       YTD            FSAH          2,499.90- HSA                7,456.71-
                       FTD1           HSA             384.62-
                    PRE-TAX ITEMS
                       QTD            401K            492.73- DENTL                244.23-     MED          1,665.09-     VISN              84.98-
                                                                                                                          TOTAL         2,487.03-
                       YTD            401K          2,133.06- DENTL                950.73-     MED          6,184.62-     VISN             339.54-
Doc 78-1




                                                                                                                          TOTAL         9,607.95-
                       FTD1           401K            140.78- DENTL                  69.78-    MED            475.74-     VISN              24.28-
                                                                                                                          TOTAL            710.58-
                    MEMO DEDUCTION
                       CURRENT        ACHBR         1,070.39     HSAER              46.00
                       QTD            ACHBR         7,492.73     HSAER             322.96
                       YTD            ACHBR        30,575.14     HSAER           1,615.44      MISC1            20.00-
Case 14-50977-BLS




                       FTD1           ACHBR         2,140.78     HSAER               92.16
                    OTHER DEDUCTIONS
                       CURRENT        W2GRP            27.87
                       QTD            W2GRP           195.09
                       YTD            W2GRP           867.54
                       FTD1           W2GRP            55.74
                    DED BALANCES
                                      FSAH          2,499.90- HSA                7,456.71-     HSAER        1,615.44
                    ************************************************************************************************************************************
                    GROSS TO NET           WAGES        SOCSEC         FEDERAL          STATE         LOCAL            SDI/UC         DEDUCTION           NET
                                                        MEDICR
                     CUR     GRPAY       8702.41        256.27         1098.67         466.56 TOT                                            .92      6752.38
                             GRCOMP      9057.70        127.61                         466.56 KY
                     QTD     GRPAY      60916.87       3345.06         7690.69        3265.92 TOT                                           6.44     45715.49
                             GRCOMP     63403.90        893.27                        3265.92 KY
                     YTD     GRPAY     277117.46      16901.97        34482.39       14535.39 TOT                                        823.07     206310.80
                             GRCOMP    286725.41       4063.84                       14535.39 KY
                    ************************************************************************************************************************************
                    WAGE AND TAXES          QTD WAGES     QTD TAXES        YTD WAGES       YTD TAXES    FX1 WAGES       FX1 TAXES     FX2 WAGES      FX2 TAXES
                    EE SSEC TO LMT           53952.55        3345.06       272612.42        16901.97      9949.20          616.85
                                                        PAY ANALYSIS REPORTING
                                                                  085-DIV/DEPT PAYROLL REGISTER               085
                                                                                GRAND TOTALS                                                 PAY
                    REB      HEALTH AND BENEFIT SERVICES, LLC                                        12/27/13         B-12/27/13           26             7
                    NO.         CO. NAME                                                             REPORT DATE          CHECKS DATED      PERIOD   PAGE NO.
                    WAGE AND TAXES          QTD WAGES     QTD TAXES     YTD WAGES     YTD TAXES     FX1 WAGES     FX1 TAXES     FX2 WAGES     FX2 TAXES
                        MDCR TO LMT          61604.69        893.27     280264.56        4063.84     17601.34        255.23
                    FIT                      60916.87       7690.69     277117.46      34482.39      17404.82       2197.34
                    FUTA TO LMT                                          50568.46
                    SIT
                    KY KENTUCKY              61111.96       3265.92     277985.00      14535.39      17460.56        933.12
                    SDI/UC
                    KY KENTUCKY              65423.12                   298546.32                    18692.32
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                    ************************************************************************************************************************************




                                                                                                                                                                A159
                    CURRENT TAX RECAP                 0      VOID/MANUAL CHECKS INCLUDED
                                                                                   ************************ LIABILITIES ************************
                    FORM 8109 FEDERAL DEPOSIT       TYPE   JURISDICTION            TAXABLE WAGES    LIMIT   WAGES TO LIMIT    RATE          AMOUNT
                    EMPLOYEE SSEC          256.27
                    EMPLOYEE MDCR          127.61
                    EMPLOYER SSEC          256.26                                      8,800.67   113700            4,133.28    6.20 %     256.26 SSEC
                    EMPLOYER MDCR          127.61                                      8,800.67    UNLIM            8,800.67    1.45 %     127.61 MDCR
                    EMPLOYEE FIT         1,098.67
                    TOTAL DEPOSIT        1,866.42                                                                               7.65 %     383.87
                                                    FUTA STANDARD RATE                 8,772.80     7000                  .00    .60 %        .00
Filed 04/14/17




                                                    FUTA KENTUCKY         CR RED                    7000            50,568.46    .90 %     455.12
                                                    TOTAL                                                                                  455.12
                                                     SUI    KY-KENTUCKY                 9,346.16     9300               .00    3.20 %          .00
                                                     TOTAL                              9,346.16                                               .00
                                                                                   ***************** STATE/LOCAL TAXES WITHHELD ****************
                                                                                   TAXABLE WAGES    LIMIT   WAGES TO LIMIT      RATE        AMOUNT
                                                     SIT    KY-KENTUCKY                 8,730.28                                            466.56
                                                     TOTAL                              8,730.28                                            466.56
                    FEDERAL 401-K DEFERRAL LIMIT                                                    17500
Doc 78-1




                    FEDERAL 401-K CATCH-UP DEFERRAL LIMIT                                            5500
                    EMPLOYEE CENSUS    ACTIVE EMPS      3                         NET PAY ANALYSIS    # DEP ADV       3     CHECK TOTAL        .00
                                       TERM EMPS        6                                             # EMPS PAID     3     EFTS TOTAL    6,752.38
                                       TOTAL EMPS       9                                                                   TOTAL NET     6,752.38 *
                                                                                                                            TOTAL TAXES   2,788.10 **
                                                                                                                                          9,540.48 ***
                    ************************************************************************************************************************************
Case 14-50977-BLS
                                                      PAY ANALYSIS REPORTING
                                                                    085-DIV/DEPT PAYROLL REGISTER               085                          
                                                                           BILLING AUDIT INFORMATION                                              PAY
                    REB       HEALTH AND BENEFIT SERVICES, LLC                                         12/27/13       B-12/27/13              26               8
                    NO.          CO. NAME                                                              REPORT DATE       CHECKS DATED            PERIOD   PAGE NO.
                    ------------------------------------------------------------------------------------------------------------------------------------
                          9 EMPLOYEES INCLUDED.                11 DATA GROUPS SELECTED.           1 COPY PRINTED.
                    OUTPUT MEDIA - PRINTED - YES              ORCHESTRATOR PRINT - NO                                   CD-ROM FILE - NO
                    REPORT TYPE - PAY ANALYSIS REPORT         SUMMARY                                                   I/P    13/12/10 11.56.24          R35.78
                                                                                                                        O/P    13/12/23 09.36.19          R36.07
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                                                                                                                        PRT    13/12/23 9.36.39




                                                                                                                                                                     A160
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Doc 78-1
Case 14-50977-BLS
                                                        PAY ANALYSIS REPORTING
                                                                  086- ALPHABETIC PAYROLL REGISTER            086                            
                                                                                                                                                  PAY
                    REB      HEALTH AND BENEFIT SERVICES, LLC                                        12/27/13         B-12/27/13              26               1
                    NO.         CO. NAME                                                             REPORT DATE         CHECKS DATED            PERIOD   PAGE NO.
                    EMPLOYEE ID                            ....... HOURS AND EARNINGS ....... .... DED AND ADJ ....     .......GROSS TO NET ......
                    EMPLOYEE NAME                          PC DESCR RATE    HOURS    AMOUNT   DESCR   AMOUNT CODES       Y-TO-D   TYPE   CURRENT          CHECK#
                    ------------------------------------------------------------------------------------------------------------------------------------
                    99-X02-01615                            1 REGUL           80.00    1461.54 ACHBR     152.50 0M0*     35400.04 GRCOMP 1361.54
                    BROWN, WYATT W                             HSA                      100.00-HSAER      23.08 0N0      34103.16 GRPAY    1311.66
                                                            ---------- PRE-TAX ITEMS ----------           23.00      *    2186.63 SSEC       84.10
                                                               401K                      43.85-HSA       100.00-060E       511.39 MDCR       19.67
Page 161 of 309




                                                               DENTL                      3.79-401K U      3.00-8F0       3755.44 FIT       144.39




                                                                                                                                                                     A161
                                       FRQ B      STAT A       VISN                       2.24-           43.85-     E    1638.52 ST1 KY     63.02
                    BASE 1461.54       M/S S      SEX M ------------- Q-TO-D --------------MED                   060       183.92 TOTDED       .92
                    FCAST 80.00E       ST1 KY               1 REGULAR        560.00   10230.78 DENTL       3.79-060E     25827.26 NET       999.56  A349
                    FILE# 1615         F#EX 01 S#EX 01 ------------- Y-TO-D --------------VISN             2.24-060E              EFT A     999.56
                    HIRE 01/16/12      SADJ NRES            1 REGULAR       2080.00   38000.04 VOLIN        .92 000*     CUR SSEC WAGES    1356.47
                    PTO-C                                   ------------ F-TO-D 1 -------------LTD               000     CUR MDCR WAGES    1356.47
                    OT EX N                                 1 REGULAR        160.00    2923.08 LIFE              000 --WAGES-- Q-TO-D --TAXES--
                    DSS PT Y                                                                   W2GRP        .96 0F0*      9495.29 SSEC      588.71
                                                                                               EFTA1                      9495.29 MDCR      137.68
                    EFT-ACCOUNT#      ID BK TP TRANSIT-NO                                      ------ BAL/LMT ------      9181.62 FIT      1010.73
Filed 04/14/17




                                       A PQ C 2421-7612-9                                       HSAER    600.00 BAL       9188.34 ST KY     441.14
                                                                                                         600.00 LMT      10230.78 SUI KY
                    ALT DATE:                                                                  HSA      2600.00-BAL --WAGES-- Y-TO-D --TAXES--
                    DOB:                    02/01/79                                                    2600.00-LMT      35268.22 SSEC     2186.63
                                                                                               ------ Q-TO-D -------     35268.22 MDCR      511.39
                                                                                               ACHBR    1067.50          34103.16 FIT      3755.44
                                                                                               HSAER     161.48           7000.00 FUTA
                                                                                               HSA       700.00-         34128.12 ST KY 1638.52
                                                                                               401K      306.95-         38000.04 SUI KY
                                                                                               DENTL      26.53-      --WAGES-- F-TO-D 1 --TAXES--
Doc 78-1




                                                                                               VISN       15.68-          2712.94 SSEC      168.20
                                                                                               VOLIN       6.44           2712.94 MDCR       39.34
                                                                                               W2GRP       6.72           2623.32 FIT       288.78
                                                                                               ------ Y-TO-D -------      2625.24 ST KY     126.04
                                                                                               $LS1      160.00           2923.08 SUI KY
                                                                                               ACHBR    3965.00
                                                                                               HSAER     600.00
Case 14-50977-BLS




                                                                                               HSA      2600.00-
                                                                                               401K     1140.10-
                                                                                               DENTL      98.54-
                                                                                               VISN       58.24-
                                                                                               VOLIN      23.92
                                                                                               W2GRP      24.96
                                                                                               MISC1      20.00-
                                                                                               ----- F-TO-D 1 ------
                                                                                               ACHBR     305.00
                                                                                               HSAER      46.08
                                                                                               HSA       200.00-
                                                                                               401K       87.70-
                                                                                               DENTL       7.58-
                                                                                               VISN        4.48-
                                                                                               VOLIN       1.84
                                                                                               W2GRP       1.92
                    ------------------------------------------------------------------------------------------------------------------------------------
                                                      PAY ANALYSIS REPORTING
                                                                    086- ALPHABETIC PAYROLL REGISTER            086
                                                                                                                                                 PAY
                    REB         HEALTH AND BENEFIT SERVICES, LLC                                       12/27/13         B-12/27/13             26             2
                    NO.           CO. NAME                                                             REPORT DATE         CHECKS DATED         PERIOD   PAGE NO.
                    EMPLOYEE ID                              ....... HOURS AND EARNINGS ....... .... DED AND ADJ ....     .......GROSS TO NET ......
                    EMPLOYEE NAME                            PC DESCR RATE    HOURS    AMOUNT   DESCR   AMOUNT CODES       Y-TO-D   TYPE   CURRENT       CHECK#
                    ------------------------------------------------------------------------------------------------------------------------------------
                    99-X03-97913                            ------------- Y-TO-D --------------                         7106.04 GRCOMP       .00
                    FLORENCE, OTTIS                         1 REGULAR        488.50    7205.39                          7106.04 GRPAY        .00
                                                                                                                         440.57 SSEC         .00
                                                                                                                         103.04 MDCR         .00
Page 162 of 309




                                                                                                                         656.88 FIT          .00




                                                                                                                                                                    A162
                                       FRQ B      STAT T                                                                 350.44 ST1 KY       .00
                    BASE 14.7500       M/S M      SEX M                                                                  524.95 TOTDED       .00
                    FILE# 97913        ST1 KY                                                                           5030.16 NET          .00
                    HIRE 01/01/07      F#EX 00 S#EX 00                                                              --WAGES-- Y-TO-D --TAXES--
                    TERM 03/08/13                                                                                       7106.04 SSEC      440.57
                    PTO-C                                                                                               7106.04 MDCR      103.04
                    OT EX N                                                                                             7106.04 FIT       656.88
                                                                                                                        7000.00 FUTA
                    ALT DATE:                                                                                           7106.04 ST KY     350.44
                    DOB:                                                                                                7205.39 SUI KY
Filed 04/14/17




                    ------------------------------------------------------------------------------------------------------------------------------------
                    99-X03-97914                            ------------- Y-TO-D --------------                         6415.15 GRCOMP       .00
                    FLORENCE, STEVE                         1 REGULAR        499.50    7617.40                          6415.15 GRPAY        .00
                                                                                                                         397.74 SSEC         .00
                                                                                                                          93.02 MDCR         .00
                                                                                                                         366.02 FIT          .00
                                       FRQ B      STAT T                                                                 295.01 ST1 KY       .00
                    BASE 15.2500       M/S S      SEX M                                                                   83.05 TOTDED       .00
                    FILE# 97914        ST1 KY                                                                           5180.31 NET          .00
Doc 78-1




                    HIRE 01/01/07      F#EX 04 S#EX 04                                                              --WAGES-- Y-TO-D --TAXES--
                    TERM 03/08/13                                                                                       6415.15 SSEC      397.74
                    PTO-C                                                                                               6415.15 MDCR       93.02
                    OT EX N                                                                                             6415.15 FIT       366.02
                                                                                                                        6415.15 FUTA
                    ALT DATE:                                                                                           6415.15 ST KY     295.01
                    DOB:                                                                                                7617.40 SUI KY
Case 14-50977-BLS




                    ------------------------------------------------------------------------------------------------------------------------------------
                    99-X03-97915                            ------------- Y-TO-D --------------                         4300.20 GRCOMP       .00
                    FLORENCE, STEVEN JR                     1 REGULAR        407.50    4686.25                          4300.20 GRPAY        .00
                                                                                                                         266.61 SSEC         .00
                                                                                                                          62.35 MDCR         .00
                                                                                                                         546.48 FIT          .00
                                        FRQ B     STAT T                                                                 180.02 ST1 KY       .00
                    BASE 11.5000        M/S S     SEX M                                                                   31.15 TOTDED       .00
                    FILE# 97915         ST1 KY                                                                          3213.59 NET          .00
                    HIRE 01/01/07       F#EX 00 S#EX 02                                                             --WAGES-- Y-TO-D --TAXES--
                    TERM 03/08/13       FADJ $    10.00                                                                 4300.20 SSEC      266.61
                    PTO-C                                                                                               4300.20 MDCR       62.35
                    OT EX N                                                                                             4300.20 FIT       546.48
                                                                                                                        4300.20 FUTA
                    ALT DATE:                                                                                           4300.20 ST KY     180.02
                    DOB:                                                                                                4686.25 SUI KY
                    ------------------------------------------------------------------------------------------------------------------------------------
                                                        PAY ANALYSIS REPORTING
                                                                      086- ALPHABETIC PAYROLL REGISTER            086
                                                                                                                                                   PAY
                    REB           HEALTH AND BENEFIT SERVICES, LLC                                       12/27/13         B-12/27/13             26             3
                    NO.             CO. NAME                                                             REPORT DATE         CHECKS DATED         PERIOD   PAGE NO.
                    EMPLOYEE ID                                ....... HOURS AND EARNINGS ....... .... DED AND ADJ ....     .......GROSS TO NET ......
                    EMPLOYEE NAME                              PC DESCR RATE    HOURS    AMOUNT   DESCR   AMOUNT CODES       Y-TO-D   TYPE   CURRENT       CHECK#
                    ------------------------------------------------------------------------------------------------------------------------------------
                    99-X02-01543                            ------------- Y-TO-D --------------                         1353.85 GRCOMP       .00
                    FLORENCE, WHITNEY E                     1 REGULAR        166.50    1415.26                          1353.85 GRPAY        .00
                                                                                                                          86.57 SSEC         .00
                                                                                                                          20.25 MDCR         .00
Page 163 of 309




                                                                                                                          93.29 FIT          .00




                                                                                                                                                                      A163
                                        FRQ B     STAT T                                                                  31.32 ST1 KY       .00
                    BASE   8.5000       M/S S     SEX F                                                                 1122.42 NET          .00
                    FILE#  1543         ST1 KY                                                                      --WAGES-- Y-TO-D --TAXES--
                    HIRE   01/03/12     F#EX 00 S#EX 00                                                                 1396.31 SSEC       86.57
                    TERM   03/08/13                                                                                     1396.31 MDCR       20.25
                    PTO-C                                                                                               1353.85 FIT        93.29
                    OT EX    N                                                                                          1396.31 FUTA
                    DSS PT    Y                                                                                         1353.85 ST KY      31.32
                                                                                                                        1415.26 SUI KY
                    ALT DATE:
Filed 04/14/17




                    DOB:
                    ------------------------------------------------------------------------------------------------------------------------------------
                    99-X02-97897                            1 REGUL           80.00    2884.62 ACHBR     294.23 0M0*     72600.06 GRCOMP   2792.31
                    HURST, DAVID T                             HSA                       92.31-HSAER      23.08 0N0      71424.94 GRPAY    2745.65
                                                            ---------- PRE-TAX ITEMS ----------           23.00      *    4478.58 SSEC      172.17
                                                               401K                      26.54-HSA        92.31-060E      1047.41 MDCR       40.26
                                                               DENTL                      7.58-401K U       .92-8F0       7409.47 FIT       284.64
                                       FRQ B      STAT A       MED                        8.77-           26.54-     E    3748.82 ST1 KY    144.10
                    BASE 2884.62       M/S M      SEX M        VISN                       3.77-MED         8.77-060E     54740.66 NET      2104.48  A350
Doc 78-1




                    FCAST 80.00E       ST1 KY               ------------- Q-TO-D --------------DENTL       7.58-060E              EFT B    2104.48
                    FILE# 97897        F#EX 02 S#EX 04 1 REGULAR             560.00   20192.34 VISN        3.77-060E     CUR SSEC WAGES    2776.81
                    HIRE 11/07/06                           ------------- Y-TO-D --------------LTD               000     CUR MDCR WAGES    2776.81
                    PTO-C                                   1 REGULAR       2080.00   75000.12 LIFE              000 --WAGES-- Q-TO-D --TAXES--
                    OT EX N                                 ------------ F-TO-D 1 -------------W2GRP       4.62 0F0*     19437.67 SSEC     1205.14
                    DSS PT Y                                1 REGULAR        160.00    5769.24 EFTB2                     19437.67 MDCR      281.85
                                                                                               ------ BAL/LMT ------     19219.55 FIT      1992.48
Case 14-50977-BLS




                    EFT-ACCOUNT#      ID BK TP TRANSIT-NO                                      HSAER     600.00 BAL      19251.89 ST KY    1008.70
                                       B JR C 0830-0013-7                                                600.00 LMT      20192.34 SUI KY
                                                                                               HSA      2400.06-BAL --WAGES-- Y-TO-D --TAXES--
                    ALT DATE:                                                                           2400.06-LMT      72235.10 SSEC     4478.58
                    DOB:                    05/11/71                                           ------ Q-TO-D -------     72235.10 MDCR     1047.41
                                                                                               ACHBR    2059.61          71424.94 FIT      7409.47
                                                                                               HSAER     161.48           7000.00 FUTA
                                                                                               HSA       646.17-         71545.06 ST KY    3748.82
                                                                                               401K      185.78-         75000.12 SUI KY
                                                                                               MED        61.39-      --WAGES-- F-TO-D 1 --TAXES--
                                                                                               DENTL      53.06-          5553.62 SSEC      344.33
                                                                                               VISN       26.39-          5553.62 MDCR       80.53
                                                                                               W2GRP      32.34           5491.30 FIT       569.28
                                                                                               ------ Y-TO-D -------      5500.54 ST KY     288.20
                                                                                               ACHBR    7649.98           5769.24 SUI KY
                                                                                               HSAER     600.00
                                                                                               HSA      2400.06-
                                                                                               401K      690.04-
                                                                                               MED       228.02-
                                                                                               DENTL     174.34-
                                                          PAY ANALYSIS REPORTING
                                                                  086- ALPHABETIC PAYROLL REGISTER            086
                                                                                                                                             PAY
                    REB      HEALTH AND BENEFIT SERVICES, LLC                                        12/27/13       B-12/27/13             26             4
                    NO.         CO. NAME                                                             REPORT DATE       CHECKS DATED         PERIOD   PAGE NO.
                    EMPLOYEE ID                            ....... HOURS AND EARNINGS ....... .... DED AND ADJ .... .......GROSS TO NET ......
                    EMPLOYEE NAME                          PC DESCR RATE    HOURS    AMOUNT   DESCR   AMOUNT CODES   Y-TO-D   TYPE   CURRENT         CHECK#
                    99-X02-97897
                    HURST, DAVID T
                             ***** CONTINUED *****                                              ------ Y-TO-D -------
                                                                                                VISN       82.72-
                                                                                                W2GRP     120.12
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                                                                                                ----- F-TO-D 1 ------




                                                                                                                                                                A164
                                                                                                ACHBR     588.46
                                                                                                HSAER      46.08
                                                                                                HSA       184.62-
                                                                                                401K       53.08-
                                                                                                MED        17.54-
                                                                                                DENTL      15.16-
                                                                                                VISN        7.54-
                                                                                                W2GRP       9.24
                    ------------------------------------------------------------------------------------------------------------------------------------
                    99-X01-97923                            1 REGUL           80.00    5000.00 ACHBR      623.66 0M0* 127500.10 GRCOMP 4903.85
Filed 04/14/17




                    RAMSAY, SCOTT                              FSAH                      96.15-FSAH        96.15-060E 120772.60 GRPAY      4645.10
                                                            ---------- PRE-TAX ITEMS ----------MED        229.10-060E     7049.40 SSEC         .00
                                                               DENTL                     23.52-DENTL       23.52-060E     1759.61 MDCR       67.68
                                                               MED                      229.10-VISN         6.13-060E    17423.24 FIT       669.64
                                       FRQ B       STAT A      VISN                       6.13-LTD                000     6745.44 ST1 KY    259.44
                    BASE 5000.00       M/S M      SEX M ------------- Q-TO-D --------------LIFE                   000    87794.91 NET      3648.34  A351
                    FCAST 80.00E       ST1 KY               1 REGULAR        560.00   35000.00 W2GRP       22.29 0F0*             EFT A    3648.34
                    FILE# 97923        F#EX 03 S#EX 03 ------------- Y-TO-D --------------EFTA1                          CUR MDCR WAGES    4667.39
                    HIRE 01/01/07      FADJ $     13.85     1 REGULAR       2080.00 130000.00 ------ BAL/LMT --------WAGES-- Q-TO-D --TAXES--
                    PTO-C                                   ------------ F-TO-D 1 -------------FSAH      2499.90-BAL     25019.59 SSEC     1551.21
Doc 78-1




                    OT EX N                                 1 REGULAR        160.00   10000.00           2499.90-LMT     32671.73 MDCR      473.74
                    DSS PT Y                                                                    ------ Q-TO-D -------    32515.70 FIT      4687.48
                                                                                                ACHBR    4365.62         32671.73 ST KY 1816.08
                    EFT-ACCOUNT#      ID BK TP TRANSIT-NO                                       FSAH      673.05-        35000.00 SUI KY
                                       A 54 C 0421-0119-0                                       MED      1603.70-     --WAGES-- Y-TO-D --TAXES--
                                                                                                DENTL     164.64-       113700.00 SSEC     7049.40
                    ALT DATE:                                                                   VISN       42.91-       121352.14 MDCR     1759.61
Case 14-50977-BLS




                    DOB:                    03/23/60                                            W2GRP     156.03        120772.60 FIT     17423.24
                                                                                                ------ Y-TO-D -------     7000.00 FUTA
                                                                                                ACHBR   16215.16        121352.14 ST KY 6745.44
                                                                                                FSAH     2499.90-       130000.00 SUI KY
                                                                                                MED      5956.60-     --WAGES-- F-TO-D 1 --TAXES--
                                                                                                DENTL     611.52-         1682.64 SSEC      104.32
                                                                                                VISN      159.38-         9334.78 MDCR      135.36
                                                                                                W2GRP     579.54          9290.20 FIT      1339.28
                                                                                                ----- F-TO-D 1 ------     9334.78 ST KY     518.88
                                                                                                ACHBR    1247.32         10000.00 SUI KY
                                                                                                FSAH      192.30-
                                                                                                MED       458.20-
                                                                                                DENTL      47.04-
                                                                                                VISN       12.26-
                                                                                                W2GRP      44.58
                    ------------------------------------------------------------------------------------------------------------------------------------
                    99-X02-01544                            ------------- Y-TO-D --------------                           3352.76 GRCOMP       .00
                    RATLIFF, PALACE ASHTON                  1 REGULAR        408.00    3468.00                            3352.76 GRPAY        .00
                                                                                                                           214.32 SSEC         .00
                                                                                                                            50.12 MDCR         .00
                                                      PAY ANALYSIS REPORTING
                                                                      086- ALPHABETIC PAYROLL REGISTER            086
                                                                                                                                               PAY
                    REB           HEALTH AND BENEFIT SERVICES, LLC                                       12/27/13       B-12/27/13            26            5
                    NO.             CO. NAME                                                             REPORT DATE       CHECKS DATED       PERIOD   PAGE NO.
                    EMPLOYEE ID                                ....... HOURS AND EARNINGS ....... .... DED AND ADJ .... .......GROSS TO NET ......
                    EMPLOYEE NAME                              PC DESCR RATE    HOURS    AMOUNT   DESCR   AMOUNT CODES   Y-TO-D   TYPE   CURRENT       CHECK#
                    99-X02-01544
                    RATLIFF, PALACE ASHTON
                             ***** CONTINUED *****
                                                                                                                             354.36 FIT        .00
                                           FRQ B     STAT T                                                                  132.75 ST1 KY     .00
Page 165 of 309




                    BASE     8.5000        M/S S     SEX M                                                                  2601.21 NET        .00




                                                                                                                                                                  A165
                    FILE#    1544          ST1 KY                                                                       --WAGES-- Y-TO-D --TAXES--
                    HIRE     01/03/12      F#EX 00   S#EX 00                                                                3456.80 SSEC    214.32
                    TERM     03/08/13                                                                                       3456.80 MDCR     50.12
                    PTO-C                                                                                                   3352.76 FIT     354.36
                    OT EX    N                                                                                              3456.80 FUTA
                    DSS PT    Y                                                                                             3352.76 ST KY   132.75
                                                                                                                            3468.00 SUI KY
                    ALT DATE:
                    DOB:
Filed 04/14/17




                    ------------------------------------------------------------------------------------------------------------------------------------
                    99-X02-97949                            ------------- Y-TO-D -------------------- BAL/LMT ------    28697.21 GRCOMP      .00
                    SCHUTTERS, JENNIFER E                   1 REGULAR       1400.00   30288.47 HSAER     415.44 BAL     28288.76 GRPAY       .00
                                                            3P VAC PAYOUT     40.00     865.39           600.00 LMT      1781.55 SSEC        .00
                                                                                               HSA      2456.65-BAL       416.65 MDCR        .00
                                                                                                        3649.88-LMT      3877.21 FIT         .00
                                       FRQ B      STAT T                                       ------ Y-TO-D -------     1413.07 ST1 KY      .00
                    BASE   1730.77     M/S S      SEX F                                        ACHBR    2745.00         20800.28 NET         .00
                    FILE#  97949       ST1 KY                                                  HSAER     415.44      --WAGES-- Y-TO-D --TAXES--
                    HIRE   11/30/09    F#EX 00 S#EX 01                                         HSA      2456.65-        28734.60 SSEC    1781.55
Doc 78-1




                    TERM   09/04/13                                                            401K      302.92-        28734.60 MDCR     416.65
                    PTO-C                                                                      DENTL      66.33-        28288.76 FIT     3877.21
                    OT EX    N                                                                 VISN       39.20-         7000.00 FUTA
                    DSS PT    Y                                                                W2GRP     142.92         28431.68 ST KY 1413.07
                                                                                                                        31153.86 SUI KY
                    ALT DATE:
                    DOB:                       12/04/57
Case 14-50977-BLS




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                                                          PAY ANALYSIS REPORTING
                                                                     086- ALPHABETIC PAYROLL REGISTER             086
                                                                                   GRAND TOTALS                                                   PAY
                    REB       HEALTH AND BENEFIT SERVICES, LLC                                           12/27/13       B-12/27/13               26            6
                    NO.         CO. NAME                                                                 REPORT DATE       CHECKS DATED          PERIOD   PAGE NO.
                    ************************************************************************************************************************************
                    HOURS/EARNS       PC DESCRIPTION               HOURS          EARNINGS        PC   DESCRIPTION             HOURS          EARNINGS
                       CURRENT        1    REGULAR                240.00          9,346.16             FSAH                                      96.15-
                                           HSA                                      192.31-            TOTAL                  240.00          9,057.70
                    PRE-TAX ITEMS
                       CURRENT             401K                                          70.39-            DENTL                                        34.89-
                                           MED                                          237.87-            VISN                                         12.14-
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                                                                                                           TOTAL                                       355.29-




                                                                                                                                                                     A166
                    ************************************************************************************************************************************
                    HOURS/EARNS       PC DESCRIPTION                 HOURS            EARNINGS       PC    DESCRIPTION               HOURS           EARNINGS
                       Q-TO-D         1    REGULAR               1,680.00            65,423.12             TOTAL                  1,680.00          65,423.12
                       Y-TO-D         1    REGULAR               9,610.00          297,680.93        3P    VAC PAYOUT                40.00             865.39
                                                                                                           TOTAL                  9,650.00         298,546.32
                       FLX-1          1    REGULAR                 480.00            18,692.32             TOTAL                    480.00          18,692.32
                    ************************************************************************************************************************************
                    DEDUCTION TO NET
                       CURRENT        VOLIN              .92                                                              TOTAL               .92
                       QTD            VOLIN             6.44                                                              TOTAL              6.44
Filed 04/14/17




                       YTD            $LS1            160.00     VOLIN               23.92                                TOTAL            183.92
                       FTD1           VOLIN             1.84                                                              TOTAL              1.84
                    EARNINGS FROM DEDUCTIONS
                       QTD            FSAH            673.05- HSA                1,346.17-
                       YTD            FSAH          2,499.90- HSA                7,456.71-
                       FTD1           FSAH            192.30- HSA                  384.62-
                    PRE-TAX ITEMS
                       QTD            401K            492.73- DENTL                244.23-     MED          1,665.09-     VISN              84.98-
                                                                                                                          TOTAL         2,487.03-
                       YTD            401K          2,133.06- DENTL                950.73-     MED          6,184.62-     VISN             339.54-
Doc 78-1




                                                                                                                          TOTAL         9,607.95-
                       FTD1           401K            140.78- DENTL                  69.78-    MED            475.74-     VISN              24.28-
                                                                                                                          TOTAL            710.58-
                    MEMO DEDUCTION
                       CURRENT        ACHBR         1,070.39     HSAER              46.00
                       QTD            ACHBR         7,492.73     HSAER             322.96
                       YTD            ACHBR        30,575.14     HSAER           1,615.44      MISC1            20.00-
Case 14-50977-BLS




                       FTD1           ACHBR         2,140.78     HSAER               92.16
                    OTHER DEDUCTIONS
                       CURRENT        W2GRP            27.87
                       QTD            W2GRP           195.09
                       YTD            W2GRP           867.54
                       FTD1           W2GRP            55.74
                    DED BALANCES
                                      FSAH          2,499.90- HSA                7,456.71-     HSAER        1,615.44
                    ************************************************************************************************************************************
                    GROSS TO NET           WAGES        SOCSEC         FEDERAL          STATE         LOCAL            SDI/UC         DEDUCTION           NET
                                                        MEDICR
                     CUR     GRPAY       8702.41        256.27         1098.67         466.56 TOT                                            .92      6752.38
                             GRCOMP      9057.70        127.61                         466.56 KY
                     QTD     GRPAY      60916.87       3345.06         7690.69        3265.92 TOT                                           6.44     45715.49
                             GRCOMP     63403.90        893.27                        3265.92 KY
                     YTD     GRPAY     277117.46      16901.97        34482.39       14535.39 TOT                                        823.07     206310.80
                             GRCOMP    286725.41       4063.84                       14535.39 KY
                    ************************************************************************************************************************************
                    WAGE AND TAXES          QTD WAGES     QTD TAXES        YTD WAGES       YTD TAXES    FX1 WAGES       FX1 TAXES     FX2 WAGES      FX2 TAXES
                    EE SSEC TO LMT           53952.55        3345.06       272612.42        16901.97      9949.20          616.85
                                                        PAY ANALYSIS REPORTING
                                                                  086- ALPHABETIC PAYROLL REGISTER            086
                                                                                GRAND TOTALS                                                 PAY
                    REB      HEALTH AND BENEFIT SERVICES, LLC                                         12/27/13        B-12/27/13           26             7
                    NO.         CO. NAME                                                             REPORT DATE          CHECKS DATED      PERIOD   PAGE NO.
                    WAGE AND TAXES          QTD WAGES     QTD TAXES     YTD WAGES     YTD TAXES     FX1 WAGES     FX1 TAXES     FX2 WAGES     FX2 TAXES
                        MDCR TO LMT          61604.69        893.27     280264.56        4063.84     17601.34        255.23
                    FIT                      60916.87       7690.69     277117.46      34482.39      17404.82       2197.34
                    FUTA TO LMT                                          50568.46
                    SIT
                    KY KENTUCKY              61111.96       3265.92     277985.00      14535.39      17460.56        933.12
                    SDI/UC
                    KY KENTUCKY              65423.12                   298546.32                    18692.32
Page 167 of 309




                    ************************************************************************************************************************************




                                                                                                                                                                A167
                    CURRENT TAX RECAP                 0      VOID/MANUAL CHECKS INCLUDED
                                                                                   ************************ LIABILITIES ************************
                    FORM 8109 FEDERAL DEPOSIT       TYPE   JURISDICTION            TAXABLE WAGES    LIMIT   WAGES TO LIMIT    RATE          AMOUNT
                    EMPLOYEE SSEC          256.27
                    EMPLOYEE MDCR          127.61
                    EMPLOYER SSEC          256.26                                      8,800.67   113700            4,133.28    6.20 %     256.26 SSEC
                    EMPLOYER MDCR          127.61                                      8,800.67    UNLIM            8,800.67    1.45 %     127.61 MDCR
                    EMPLOYEE FIT         1,098.67
                    TOTAL DEPOSIT        1,866.42                                                                               7.65 %     383.87
                                                    FUTA STANDARD RATE                 8,772.80      7000                 .00    .60 %        .00
Filed 04/14/17




                                                    FUTA KENTUCKY         CR RED                     7000           50,568.46    .90 %     455.12
                                                    TOTAL                                                                                  455.12
                                                     SUI    KY-KENTUCKY                 9,346.16     9300               .00    3.20 %          .00
                                                     TOTAL                              9,346.16                                               .00
                                                                                   ***************** STATE/LOCAL TAXES WITHHELD ****************
                                                                                   TAXABLE WAGES    LIMIT   WAGES TO LIMIT      RATE        AMOUNT
                                                     SIT    KY-KENTUCKY                 8,730.28                                            466.56
                                                     TOTAL                              8,730.28                                            466.56
                    FEDERAL 401-K DEFERRAL LIMIT                                                    17500
Doc 78-1




                    FEDERAL 401-K CATCH-UP DEFERRAL LIMIT                                            5500
                    EMPLOYEE CENSUS    ACTIVE EMPS      3                         NET PAY ANALYSIS    # DEP ADV       3     CHECK TOTAL        .00
                                       TERM EMPS        6                                             # EMPS PAID     3     EFTS TOTAL    6,752.38
                                       TOTAL EMPS       9                                                                   TOTAL NET     6,752.38 *
                                                                                                                            TOTAL TAXES   2,788.10 **
                                                                                                                                          9,540.48 ***
                    ************************************************************************************************************************************
Case 14-50977-BLS
                                                      PAY ANALYSIS REPORTING
                                                                    086- ALPHABETIC PAYROLL REGISTER            086                          
                                                                           BILLING AUDIT INFORMATION                                              PAY
                    REB       HEALTH AND BENEFIT SERVICES, LLC                                         12/27/13       B-12/27/13              26               8
                    NO.          CO. NAME                                                              REPORT DATE       CHECKS DATED            PERIOD   PAGE NO.
                    ------------------------------------------------------------------------------------------------------------------------------------
                          9 EMPLOYEES INCLUDED.                12 DATA GROUPS SELECTED.           1 COPY PRINTED.
                    OUTPUT MEDIA - PRINTED - YES              ORCHESTRATOR PRINT - NO                                   CD-ROM FILE - NO
                    REPORT TYPE - PAY ANALYSIS REPORT         DETAIL                                                    I/P    13/12/10 11.56.24          R35.78
                                                                                                                        O/P    13/12/23 09.36.19          R36.07
Page 168 of 309




                                                                                                                        PRT    13/12/23 9.36.39




                                                                                                                                                                     A168
Filed 04/14/17
Doc 78-1
Case 14-50977-BLS
                                                        PAY ANALYSIS REPORTING
                                                                                                                
                    REB      HEALTH AND BENEFIT SERVICES, LLC            INDIV DED REG *HSAER*                         6A5   PD 26      12/27/13    PAGE       1
                    ID NUMBER    EMPLOYEE NAME                                        CURRENT      TO-DATE   BALANCE     LIMIT   REMAINDER    PERM AMT     CODES
                    99-X02-01615 BROWN,WYATT W                                          23.00       600.00    600.00   600.00           .00        23.08     0N0
                    99-X02-97897 HURST,DAVID T                                          23.00       600.00    600.00   600.00           .00        23.08     0N0
                    99-X02-97949 SCHUTTERS,JENNIFER E                                              415.44    415.44    600.00        184.56                  0ND
                    *      COMPANY TOTALS                                               46.00      1615.44   1615.44   1800.00       184.56
Page 169 of 309




                                                                                                                                                                   A169
                                             *      TOTAL       ACTIVE        INACT         TERM
                    EMPLOYEE COUNTS                     3            2                         1
Filed 04/14/17
Doc 78-1
Case 14-50977-BLS                      PAYROLL REPORTS
                                                                                                                
                    REB      HEALTH AND BENEFIT SERVICES, LLC            INDIV DED REG *ACHBR*                         6A6   PD 26    12/27/13   PAGE       1
                    ID NUMBER    EMPLOYEE NAME                                        CURRENT      TO-DATE   BALANCE    LIMIT   REMAINDER   PERM AMT    CODES
                    99-X02-01615 BROWN,WYATT W                                         152.50      3965.00                                    152.50      0M0
                    99-X02-97897 HURST,DAVID T                                         294.23      7649.98                                    294.23      0M0
                    99-X01-97923 RAMSAY,SCOTT                                          623.66    16215.16                                     623.66      0M0
                    99-X02-97949 SCHUTTERS,JENNIFER E                                              2745.00                                                0MD
Page 170 of 309




                                                                                                                                                                A170
                    *      COMPANY TOTALS                                             1070.39    30575.14
                                             *      TOTAL       ACTIVE        INACT         TERM
                    EMPLOYEE COUNTS                     4            3                         1
Filed 04/14/17
Doc 78-1
Case 14-50977-BLS                      PAYROLL REPORTS
                                                                                                                
                    REB     HEALTH AND BENEFIT SERVICES, LLC            INDIV DED REG *FSAH *                           6B5   PD 26      12/27/13    PAGE        1
                    ID NUMBER   EMPLOYEE NAME                                        CURRENT      TO-DATE    BALANCE      LIMIT    REMAINDER   PERM AMT      CODES
                    99-X01-97923 RAMSAY,SCOTT                                          96.15-     2499.90-   2499.90-   2499.90-         .00        96.15-     060
                    *     COMPANY TOTALS                                               96.15-     2499.90-   2499.90-   2499.90-
                                            *      TOTAL       ACTIVE        INACT         TERM
Page 171 of 309




                    EMPLOYEE COUNTS                    1            1




                                                                                                                                                                     A171
Filed 04/14/17
Doc 78-1
Case 14-50977-BLS                      PAYROLL REPORTS
                                                                                                                  
                    REB      HEALTH AND BENEFIT SERVICES, LLC            INDIV DED REG *HSA     *                          6B7   PD 26       12/27/13     PAGE       1
                    ID NUMBER    EMPLOYEE NAME                                        CURRENT       TO-DATE    BALANCE      LIMIT    REMAINDER      PERM AMT     CODES
                    99-X02-01615 BROWN,WYATT W                                         100.00-      2600.00-   2600.00-   2600.00-           .00      100.00-      060
                    99-X02-97897 HURST,DAVID T                                         92.31-       2400.06-   2400.06-   2400.06-          .00         92.31-     060
                    99-X02-97949 SCHUTTERS,JENNIFER E                                               2456.65-   2456.65-   3649.88-       1193.23-                  06D
                    *      COMPANY TOTALS                                              192.31-      7456.71-   7456.71-   8649.94-       1193.23-
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                                                                                                                                                                         A172
                                             *     TOTAL        ACTIVE        INACT         TERM
                    EMPLOYEE COUNTS                    3             2                         1
Filed 04/14/17
Doc 78-1
Case 14-50977-BLS                      PAYROLL REPORTS
                                                                                                               
                    REB     HEALTH AND BENEFIT SERVICES, LLC            $LS1-6E1-IDR                                  6E1   PD 26    12/27/13   PAGE       1
                    ID NUMBER   EMPLOYEE NAME                                        CURRENT      TO-DATE   BALANCE    LIMIT   REMAINDER   PERM AMT    CODES
                    99-X02-01615 BROWN,WYATT W                                                     160.00                                                00D
                    *     COMPANY TOTALS                                                           160.00
                                            *      TOTAL       ACTIVE        INACT         TERM
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                    EMPLOYEE COUNTS                    1            1




                                                                                                                                                               A173
Filed 04/14/17
Doc 78-1
Case 14-50977-BLS                      PAYROLL REPORTS
                                                                                                                
                    REB     HEALTH AND BENEFIT SERVICES, LLC            401K-611-IDR                                   611   PD 26    12/27/13   PAGE       1
                    ID NUMBER   EMPLOYEE NAME                           AT $17500    CURRENT      TO-DATE    BALANCE    LIMIT   REMAINDER   PERM AMT    CODES
                                                                        DEFER LMT
                    99-X02-01615 BROWN,WYATT W                                         43.85-     1140.10-                                       3.00- U 8F0
                    99-X02-97897 HURST,DAVID T                                         26.54-      690.04-                                       .92- U 8F0
                    99-X02-97949 SCHUTTERS,JENNIFER E                                              302.92-                                              % 8FD
Page 174 of 309




                    *     COMPANY TOTALS                                               70.39-     2133.06-




                                                                                                                                                                A174
                                            *      TOTAL       ACTIVE        INACT         TERM
                    EMPLOYEE COUNTS                    3            2                         1
Filed 04/14/17
Doc 78-1
Case 14-50977-BLS                      PAYROLL REPORTS
                                                                                                                 
                    REB      HEALTH AND BENEFIT SERVICES, LLC            W2GRP-616-IDR                                  616   PD 26    12/27/13    PAGE       1
                    ID NUMBER    EMPLOYEE NAME                                        CURRENT       TO-DATE   BALANCE    LIMIT   REMAINDER   PERM AMT     CODES
                    99-X02-01615 BROWN,WYATT W                                             .96        24.96                                        .96      0F0
                    99-X02-97897 HURST,DAVID T                                           4.62       120.12                                        4.62      0F0
                    99-X01-97923 RAMSAY,SCOTT                                            22.29       579.54                                       22.29     0F0
                    99-X02-97949 SCHUTTERS,JENNIFER E                                                142.92                                                 0FD
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                                                                                                                                                                  A175
                    *      COMPANY TOTALS                                                27.87       867.54
                                             *     TOTAL        ACTIVE        INACT          TERM
                    EMPLOYEE COUNTS                    4             3                          1
Filed 04/14/17
Doc 78-1
Case 14-50977-BLS                      PAYROLL REPORTS
                                                                                                                 
                    REB     HEALTH AND BENEFIT SERVICES, LLC            MED-620-IDR                                     620   PD 26    12/27/13   PAGE        1
                    ID NUMBER   EMPLOYEE NAME                                         CURRENT      TO-DATE    BALANCE    LIMIT   REMAINDER   PERM AMT     CODES
                    99-X02-97897 HURST,DAVID T                                           8.77-      228.02-                                       8.77-     060
                    99-X01-97923 RAMSAY,SCOTT                                          229.10-     5956.60-                                    229.10-      060
                    *     COMPANY TOTALS                                               237.87-     6184.62-
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                                                                                                                                                                  A176
                                            *      TOTAL       ACTIVE        INACT          TERM
                    EMPLOYEE COUNTS                    2            2
Filed 04/14/17
Doc 78-1
Case 14-50977-BLS                      PAYROLL REPORTS
                                                                                                                 
                    REB     HEALTH AND BENEFIT SERVICES, LLC            DENTL-626-IDR                                   626   PD 26    12/27/13    PAGE        1
                    ID NUMBER   EMPLOYEE NAME                                        CURRENT       TO-DATE    BALANCE    LIMIT   REMAINDER   PERM AMT      CODES
                    99-X02-01615 BROWN,WYATT W                                           3.79-       98.54-                                       3.79-      060
                    99-X02-97897 HURST,DAVID T                                           7.58-      174.34-                                       7.58-      060
                    99-X01-97923 RAMSAY,SCOTT                                           23.52-      611.52-                                       23.52-     060
                    99-X02-97949 SCHUTTERS,JENNIFER E                                                66.33-                                                  06D
Page 177 of 309




                                                                                                                                                                   A177
                    *     COMPANY TOTALS                                                34.89-      950.73-
                                            *      TOTAL       ACTIVE        INACT          TERM
                    EMPLOYEE COUNTS                    4            3                          1
Filed 04/14/17
Doc 78-1
Case 14-50977-BLS                      PAYROLL REPORTS
                                                                                                                 
                    REB      HEALTH AND BENEFIT SERVICES, LLC            VISN-627-IDR                                   627   PD 26    12/27/13   PAGE        1
                    ID NUMBER    EMPLOYEE NAME                                        CURRENT      TO-DATE    BALANCE    LIMIT   REMAINDER   PERM AMT     CODES
                    99-X02-01615 BROWN,WYATT W                                           2.24-       58.24-                                       2.24-     060
                    99-X02-97897 HURST,DAVID T                                           3.77-       82.72-                                       3.77-     060
                    99-X01-97923 RAMSAY,SCOTT                                            6.13-      159.38-                                       6.13-     060
                    99-X02-97949 SCHUTTERS,JENNIFER E                                               39.20-                                                  06D
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                                                                                                                                                                  A178
                    *      COMPANY TOTALS                                               12.14-      339.54-
                                             *      TOTAL       ACTIVE        INACT         TERM
                    EMPLOYEE COUNTS                     4            3                         1
Filed 04/14/17
Doc 78-1
Case 14-50977-BLS                      PAYROLL REPORTS
                                                                                                               
                    REB     HEALTH AND BENEFIT SERVICES, LLC            INDIV DED REG *VOLIN*                         653   PD 26    12/27/13   PAGE       1
                    ID NUMBER   EMPLOYEE NAME                                        CURRENT      TO-DATE   BALANCE    LIMIT   REMAINDER   PERM AMT    CODES
                    99-X02-01615 BROWN,WYATT W                                           .92        23.92                                       .92      000
                    *     COMPANY TOTALS                                                 .92        23.92
                                            *      TOTAL       ACTIVE        INACT         TERM
Page 179 of 309




                    EMPLOYEE COUNTS                    1            1




                                                                                                                                                               A179
Filed 04/14/17
Doc 78-1
Case 14-50977-BLS                      PAYROLL REPORTS
                                                                                                                
                    REB     HEALTH AND BENEFIT SERVICES, LLC            MISC1-697-IDR                                  697   PD 26    12/27/13   PAGE       1
                    ID NUMBER   EMPLOYEE NAME                                        CURRENT      TO-DATE    BALANCE    LIMIT   REMAINDER   PERM AMT    CODES
                    99-X02-01615 BROWN,WYATT W                                                      20.00-                                                0ND
                    *     COMPANY TOTALS                                                            20.00-
                                            *      TOTAL       ACTIVE        INACT         TERM
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                    EMPLOYEE COUNTS                    1            1




                                                                                                                                                                A180
Filed 04/14/17
Doc 78-1
Case 14-50977-BLS                      PAYROLL REPORTS
                                                                  086- ALPHABETIC PAYROLL REGISTER            086                            
                                                                                                                                                  PAY
                    REB      HEALTH AND BENEFIT SERVICES, LLC                                        01/11/13         B-01/11/13              01               1
                    NO.         CO. NAME                                                             REPORT DATE         CHECKS DATED            PERIOD   PAGE NO.
                    EMPLOYEE ID                            ....... HOURS AND EARNINGS ....... .... DED AND ADJ ....     .......GROSS TO NET ......
                    EMPLOYEE NAME                          PC DESCR RATE    HOURS    AMOUNT   DESCR   AMOUNT CODES       Y-TO-D   TYPE   CURRENT          CHECK#
                    ------------------------------------------------------------------------------------------------------------------------------------
                    99-X02-01615                            1 REGUL           80.00    1461.54 $LS1       20.00 000*      1361.54 GRCOMP 1361.54
                    BROWN, WYATT W                             HSA                      100.00-ACHBR     152.50 0M0*      1311.66 GRPAY    1311.66
                                                            ---------- PRE-TAX ITEMS ----------HSAER      23.08 0N0*        84.10 SSEC       84.10
                                                               401K                      43.85-HSA       100.00-060E        19.67 MDCR       19.67
Page 181 of 309




                                                               DENTL                      3.79-401K U      3.00-8F0        145.69 FIT       145.69




                                                                                                                                                                     A181
                                       FRQ B      STAT A       VISN                       2.24-           43.85-     E      63.02 ST1 KY     63.02
                    BASE 1461.54       M/S S      SEX M ------------- Q-TO-D --------------MED                   060        20.92 TOTDED     20.92
                    FCAST 80.00E       ST1 KY               1 REGULAR         80.00    1461.54 DENTL       3.79-060E       978.26 NET       978.26  A231
                    FILE# 1615         F#EX 01 S#EX 01 ------------- Y-TO-D --------------VISN             2.24-060E              EFT A     978.26
                    HIRE 01/16/12      SADJ NRES            1 REGULAR         80.00    1461.54 VOLIN        .92 000*     CUR SSEC WAGES    1356.47
                    PTO-C                                   ------------ F-TO-D 1 -------------LTD               000     CUR MDCR WAGES    1356.47
                    OT EX N                                 1 REGULAR         80.00    1461.54 LIFE              000 --WAGES-- Q-TO-D --TAXES--
                    DSS PT Y                                                                   W2GRP        .96 0F0*      1356.47 SSEC       84.10
                                                                                               EFTA1                      1356.47 MDCR       19.67
                    EFT-ACCOUNT#      ID BK TP TRANSIT-NO                                      ------ BAL/LMT ------      1311.66 FIT       145.69
Filed 04/14/17




                                       A PQ C 2421-7612-9                                       $LS1     160.00 BAL       1355.51 FUTA
                                                                                                         427.43 LMT       1312.62 ST KY      63.02
                    ALT DATE:                                                                  HSAER      23.08 BAL       1461.54 SUI KY
                    DOB:                    02/01/79                                                     600.00 LMT --WAGES-- Y-TO-D --TAXES--
                                                                                               HSA       100.00-BAL       1356.47 SSEC       84.10
                                                                                                        2600.00-LMT       1356.47 MDCR       19.67
                                                                                               ------ Q-TO-D -------      1311.66 FIT       145.69
                                                                                               $LS1       20.00           1355.51 FUTA
                                                                                               ACHBR     152.50           1312.62 ST KY      63.02
                                                                                               HSAER      23.08           1461.54 SUI KY
Doc 78-1




                                                                                               HSA       100.00-      --WAGES-- F-TO-D 1 --TAXES--
                                                                                               401K       43.85-          1356.47 SSEC       84.10
                                                                                               DENTL       3.79-          1356.47 MDCR       19.67
                                                                                               VISN        2.24-          1311.66 FIT       145.69
                                                                                               VOLIN        .92           1355.51 FUTA
                                                                                               W2GRP        .96           1312.62 ST KY      63.02
                                                                                               ------ Y-TO-D -------      1461.54 SUI KY
Case 14-50977-BLS




                                                                                               $LS1       20.00
                                                                                               ACHBR     152.50
                                                                                               HSAER      23.08
                                                                                               HSA       100.00-
                                                                                               401K       43.85-
                                                                                               DENTL       3.79-
                                                                                               VISN        2.24-
                                                                                               VOLIN        .92
                                                                                               W2GRP        .96
                                                                                               ----- F-TO-D 1 ------
                                                                                               $LS1       20.00
                                                                                               ACHBR     152.50
                                                                                               HSAER      23.08
                                                                                               HSA       100.00-
                                                                                               401K       43.85-
                                                                                               DENTL       3.79-
                                                                                               VISN        2.24-
                                                                                               VOLIN        .92
                                                                                               W2GRP        .96
                    ------------------------------------------------------------------------------------------------------------------------------------
                                                      PAY ANALYSIS REPORTING
                                                                     086- ALPHABETIC PAYROLL REGISTER            086
                                                                                                                                                  PAY
                    REB         HEALTH AND BENEFIT SERVICES, LLC                                        01/11/13         B-01/11/13             01             2
                    NO.           CO. NAME                                                              REPORT DATE         CHECKS DATED         PERIOD   PAGE NO.
                    EMPLOYEE ID                               ....... HOURS AND EARNINGS ....... .... DED AND ADJ ....     .......GROSS TO NET ......
                    EMPLOYEE NAME                             PC DESCR RATE    HOURS    AMOUNT   DESCR   AMOUNT CODES       Y-TO-D   TYPE   CURRENT       CHECK#
                    ------------------------------------------------------------------------------------------------------------------------------------
                    99-X03-97913                            1 REGUL 14.7500 92.00      1357.00 DENTL       7.58-060E     1357.00 GRCOMP 1357.00
                    FLORENCE, OTTIS                         ---------- PRE-TAX ITEMS ----------VISN        3.77-060E     1337.13 GRPAY    1337.13
                                                               DENTL                      7.58-AFLPT       8.52-060E       82.90 SSEC       82.90
                                                               VISN                       3.77-VOLIN      55.11 000*       19.39 MDCR       19.39
Page 182 of 309




                                                               AFLPT                      8.52-STD        22.33 000*      120.38 FIT       120.38




                                                                                                                                                                     A182
                                       FRQ B      STAT A ------------- Q-TO-D --------------LIFE                 000       65.21 ST1 KY     65.21
                    BASE 14.7500       M/S M      SEX M 1 REGULAR             92.00    1357.00 SPOUS      27.55 000*      104.99 TOTDED    104.99
                    FCAST .00 E        ST1 KY               ------------- Y-TO-D --------------EFTA1                      944.26 NET       944.26   A232
                    FILE# 97913        F#EX 00 S#EX 00 1 REGULAR              92.00    1357.00 ------ Q-TO-D -------             EFT A     944.26
                    HIRE 01/01/07                           ------------ F-TO-D 1 -------------DENTL       7.58-        CUR SSEC WAGES    1337.13
                    PTO-C                                   1 REGULAR         92.00    1357.00 VISN        3.77-        CUR MDCR WAGES    1337.13
                    OT EX N                                                                    AFLPT       8.52-     --WAGES-- Q-TO-D --TAXES--
                                                                                               VOLIN      55.11          1337.13 SSEC       82.90
                    EFT-ACCOUNT#      ID BK TP TRANSIT-NO                                      STD        22.33          1337.13 MDCR       19.39
                                       A KY C 0421-0117-4                                      SPOUS      27.55          1337.13 FIT       120.38
Filed 04/14/17




                                                                                               ------ Y-TO-D -------     1337.13 FUTA
                    ALT DATE:                                                                  DENTL       7.58-         1337.13 ST KY      65.21
                    DOB:                    05/11/46                                           VISN        3.77-         1357.00 SUI KY
                                                                                               AFLPT       8.52-     --WAGES-- Y-TO-D --TAXES--
                                                                                               VOLIN      55.11          1337.13 SSEC       82.90
                                                                                               STD        22.33          1337.13 MDCR       19.39
                                                                                               SPOUS      27.55          1337.13 FIT       120.38
                                                                                               ----- F-TO-D 1 ------     1337.13 FUTA
                                                                                               DENTL       7.58-         1337.13 ST KY      65.21
                                                                                               VISN        3.77-         1357.00 SUI KY
Doc 78-1




                                                                                               AFLPT       8.52-     --WAGES-- F-TO-D 1 --TAXES--
                                                                                               VOLIN      55.11          1337.13 SSEC       82.90
                                                                                               STD        22.33          1337.13 MDCR       19.39
                                                                                               SPOUS      27.55          1337.13 FIT       120.38
                                                                                                                         1337.13 FUTA
                                                                                                                         1337.13 ST KY      65.21
                                                                                                                         1357.00 SUI KY
Case 14-50977-BLS




                    ------------------------------------------------------------------------------------------------------------------------------------
                    99-X03-97914                            1 REGUL 15.2500 106.50     1624.13 ACHBR     623.66 0M0*     1624.13 GRCOMP 1624.13
                    FLORENCE, STEVE                         ---------- PRE-TAX ITEMS ----------MED       229.10-060E     1383.68 GRPAY    1383.68
                                                               DENTL                      7.58-DENTL       7.58-060E       85.79 SSEC       85.79
                                                               MED                      229.10-VISN        3.77-060E       20.06 MDCR       20.06
                                                               VISN                       3.77-VOLIN      12.46 000*       90.73 FIT        90.73
                    SS-NO XXX-XX-9151 FRQ B       STAT A ------------- Q-TO-D --------------LIFE                 000       64.84 ST1 KY     64.84
                    BASE 15.2500       M/S S      SEX M 1 REGULAR            106.50    1624.13 SPOUS       4.15 000*       16.61 TOTDED     16.61
                    FCAST .00 E        ST1 KY               ------------- Y-TO-D --------------EFTA1                     1105.65 NET      1105.65   A233
                    FILE# 97914        F#EX 04 S#EX 04 1 REGULAR             106.50    1624.13 ------ Q-TO-D -------             EFT A    1105.65
                    HIRE 01/01/07                           ------------ F-TO-D 1 -------------ACHBR     623.66         CUR SSEC WAGES    1383.68
                    PTO-C                                   1 REGULAR        106.50    1624.13 MED       229.10-        CUR MDCR WAGES    1383.68
                    OT EX N                                                                    DENTL       7.58-     --WAGES-- Q-TO-D --TAXES--
                                                                                               VISN        3.77-         1383.68 SSEC       85.79
                    EFT-ACCOUNT#      ID BK TP TRANSIT-NO                                      VOLIN      12.46          1383.68 MDCR       20.06
                                       A Fa C 0421-0155-6                                      SPOUS       4.15          1383.68 FIT        90.73
                                                                                               ------ Y-TO-D -------     1383.68 FUTA
                    ALT DATE:                                                                  ACHBR     623.66          1383.68 ST KY      64.84
                    DOB:                      08/27/70                                         MED       229.10-         1624.13 SUI KY
                                                                                               DENTL       7.58-     --WAGES-- Y-TO-D --TAXES--
                                                         PAY ANALYSIS REPORTING
                                                                  086- ALPHABETIC PAYROLL REGISTER            086
                                                                                                                                               PAY
                    REB      HEALTH AND BENEFIT SERVICES, LLC                                        01/11/13         B-01/11/13             01             3
                    NO.         CO. NAME                                                             REPORT DATE         CHECKS DATED         PERIOD   PAGE NO.
                    EMPLOYEE ID                            ....... HOURS AND EARNINGS ....... .... DED AND ADJ ....     .......GROSS TO NET ......
                    EMPLOYEE NAME                          PC DESCR RATE    HOURS    AMOUNT   DESCR   AMOUNT CODES       Y-TO-D   TYPE   CURRENT       CHECK#
                    99-X03-97914
                    FLORENCE, STEVE
                             ***** CONTINUED *****                                             ------ Y-TO-D ---------WAGES-- Y-TO-D --TAXES--
                                                                                               VISN        3.77-         1383.68 SSEC       85.79
                                                                                               VOLIN      12.46          1383.68 MDCR       20.06
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                                                                                               SPOUS       4.15          1383.68 FIT        90.73




                                                                                                                                                                  A183
                                                                                               ----- F-TO-D 1 ------     1383.68 FUTA
                                                                                               ACHBR     623.66          1383.68 ST KY      64.84
                                                                                               MED       229.10-         1624.13 SUI KY
                                                                                               DENTL       7.58-     --WAGES-- F-TO-D 1 --TAXES--
                                                                                               VISN        3.77-         1383.68 SSEC       85.79
                                                                                               VOLIN      12.46          1383.68 MDCR       20.06
                                                                                               SPOUS       4.15          1383.68 FIT        90.73
                                                                                                                         1383.68 FUTA
                                                                                                                         1383.68 ST KY      64.84
                                                                                                                         1624.13 SUI KY
Filed 04/14/17




                    ------------------------------------------------------------------------------------------------------------------------------------
                    99-X03-97915                            1 REGUL 11.5000 90.50      1040.75 ACHBR     169.18 0M0*     1040.75 GRCOMP 1040.75
                    FLORENCE, STEVEN JR                     ---------- PRE-TAX ITEMS ----------MED        73.42-060E      963.54 GRPAY     963.54
                                                               DENTL                      3.79-DENTL       3.79-060E       59.74 SSEC       59.74
                                                               MED                       73.42-VOLIN       6.23 000*       13.97 MDCR       13.97
                                                            ------------- Q-TO-D --------------LIFE              000      125.40 FIT       125.40
                                        FRQ B      STAT A 1 REGULAR           90.50    1040.75 EFTA1                       42.01 ST1 KY     42.01
                    BASE 11.5000        M/S S      SEX M ------------- Y-TO-D -------------------- Q-TO-D -------           6.23 TOTDED      6.23
                    FCAST .00 E         ST1 KY              1 REGULAR         90.50    1040.75 ACHBR     169.18           716.19 NET       716.19   A234
                    FILE# 97915        F#EX 00 S#EX 02 ------------ F-TO-D 1 -------------MED             73.42-                 EFT A     716.19
Doc 78-1




                    HIRE 01/01/07       FADJ $     10.00    1 REGULAR         90.50    1040.75 DENTL       3.79-        CUR SSEC WAGES     963.54
                    PTO-C                                                                      VOLIN       6.23         CUR MDCR WAGES     963.54
                    OT EX N                                                                    ------ Y-TO-D ---------WAGES-- Q-TO-D --TAXES--
                                                                                               ACHBR     169.18           963.54 SSEC       59.74
                    EFT-ACCOUNT#      ID BK TP TRANSIT-NO                                      MED        73.42-          963.54 MDCR       13.97
                                        A KY S 0421-0117-4                                     DENTL       3.79-          963.54 FIT       125.40
                                                                                               VOLIN       6.23           963.54 FUTA
Case 14-50977-BLS




                    ALT DATE:                                                                  ----- F-TO-D 1 ------      963.54 ST KY      42.01
                    DOB:                     06/01/89                                          ACHBR     169.18          1040.75 SUI KY
                                                                                               MED        73.42-     --WAGES-- Y-TO-D --TAXES--
                                                                                               DENTL       3.79-          963.54 SSEC       59.74
                                                                                               VOLIN       6.23           963.54 MDCR       13.97
                                                                                                                          963.54 FIT       125.40
                                                                                                                          963.54 FUTA
                                                                                                                          963.54 ST KY      42.01
                                                                                                                         1040.75 SUI KY
                                                                                                                     --WAGES-- F-TO-D 1 --TAXES--
                                                                                                                          963.54 SSEC       59.74
                                                                                                                          963.54 MDCR       13.97
                                                                                                                          963.54 FIT       125.40
                                                                                                                          963.54 FUTA
                                                                                                                          963.54 ST KY      42.01
                                                                                                                         1040.75 SUI KY
                    ------------------------------------------------------------------------------------------------------------------------------------
                                                      PAY ANALYSIS REPORTING
                                                                   086- ALPHABETIC PAYROLL REGISTER            086
                                                                                                                                                PAY
                    REB       HEALTH AND BENEFIT SERVICES, LLC                                        01/11/13         B-01/11/13             01             4
                    NO.         CO. NAME                                                              REPORT DATE         CHECKS DATED         PERIOD   PAGE NO.
                    EMPLOYEE ID                             ....... HOURS AND EARNINGS ....... .... DED AND ADJ ....     .......GROSS TO NET ......
                    EMPLOYEE NAME                           PC DESCR RATE    HOURS    AMOUNT   DESCR   AMOUNT CODES       Y-TO-D   TYPE   CURRENT       CHECK#
                    ------------------------------------------------------------------------------------------------------------------------------------
                    99-X02-01543                            1 REGUL 8.5000 11.25         95.63 401K U       3.00-8F0          95.63 GRCOMP     95.63
                    FLORENCE, WHITNEY E                     ---------- PRE-TAX ITEMS ----------             2.87-    E        88.97 GRPAY      88.97
                                                               401K                       2.87-DENTL        3.79-060E          5.69 SSEC        5.69
                                                               DENTL                      3.79-LIFE               000          1.33 MDCR        1.33
Page 184 of 309




                                                            ------------- Q-TO-D --------------EFTA1                            .63 FIT          .63




                                                                                                                                                                   A184
                    SS-NO               FRQ B      STAT A 1 REGULAR           11.25      95.63 ------ Q-TO-D -------          81.32 NET        81.32 A235
                    BASE 8.5000         M/S S      SEX F ------------- Y-TO-D --------------401K            2.87-                   EFT A      81.32
                    FCAST .00 E         ST1 KY              1 REGULAR         11.25      95.63 DENTL        3.79-          CUR SSEC WAGES      91.84
                    FILE# 1543          F#EX 00 S#EX 00 ------------ F-TO-D 1 ------------------- Y-TO-D -------           CUR MDCR WAGES      91.84
                    HIRE 01/03/12                           1 REGULAR         11.25      95.63 401K         2.87-       --WAGES-- Q-TO-D --TAXES--
                    PTO-C                                                                       DENTL       3.79-             91.84 SSEC        5.69
                    OT EX N                                                                     ----- F-TO-D 1 ------         91.84 MDCR        1.33
                    DSS PT Y                                                                    401K        2.87-             88.97 FIT          .63
                                                                                                DENTL       3.79-             91.84 FUTA
                    EFT-ACCOUNT#      ID BK TP TRANSIT-NO                                                                     88.97 ST KY
Filed 04/14/17




                                        A KY S 0421-0117-4                                                                    95.63 SUI KY
                                                                                                                        --WAGES-- Y-TO-D --TAXES--
                    ALT DATE:                                                                                                 91.84 SSEC        5.69
                    DOB:                     11/15/92                                                                         91.84 MDCR        1.33
                                                                                                                              88.97 FIT          .63
                                                                                                                              91.84 FUTA
                                                                                                                              88.97 ST KY
                                                                                                                              95.63 SUI KY
                                                                                                                        --WAGES-- F-TO-D 1 --TAXES--
                                                                                                                              91.84 SSEC        5.69
Doc 78-1




                                                                                                                              91.84 MDCR        1.33
                                                                                                                              88.97 FIT          .63
                                                                                                                              91.84 FUTA
                                                                                                                              88.97 ST KY
                                                                                                                              95.63 SUI KY
                    ------------------------------------------------------------------------------------------------------------------------------------
                    99-X02-97897                            1 REGUL           80.00    2884.62 ACHBR      294.23 0M0*       2792.31 GRCOMP   2792.31
Case 14-50977-BLS




                    HURST, DAVID T                             HSA                       92.31-HSAER       23.08 0N0*       2747.18 GRPAY    2747.18
                                                            ---------- PRE-TAX ITEMS ----------HSA         92.31-060E        172.26 SSEC      172.26
                                                               401K                      26.54-401K U        .92-8F0          40.29 MDCR       40.29
                                                               DENTL                      7.58-            26.54-     E      288.04 FIT       288.04
                                        FRQ B      STAT A      MED                        8.77-MED          8.77-060E        144.19 ST1 KY    144.19
                    BASE 2884.62        M/S M      SEX M       VISN                       2.24-DENTL        7.58-060E       2102.40 NET      2102.40 A236
                    FCAST 80.00E        ST1 KY              ------------- Q-TO-D --------------VISN         2.24-060E               EFT B    2102.40
                    FILE# 97897         F#EX 02 S#EX 04 1 REGULAR             80.00    2884.62 LTD                000      CUR SSEC WAGES    2778.34
                    HIRE 11/07/06                           ------------- Y-TO-D --------------LIFE               000      CUR MDCR WAGES    2778.34
                    PTO-C                                   1 REGULAR         80.00    2884.62 W2GRP        4.62 0F0*--WAGES-- Q-TO-D --TAXES--
                    OT EX N                                 ------------ F-TO-D 1 -------------EFTB2                        2778.34 SSEC      172.26
                    DSS PT Y                                1 REGULAR         80.00    2884.62 ------ BAL/LMT ------        2778.34 MDCR       40.29
                                                                                                HSAER      23.08 BAL        2747.18 FIT       288.04
                    EFT-ACCOUNT#      ID BK TP TRANSIT-NO                                                 600.00 LMT        2773.72 FUTA
                                        B JR C 0830-0013-7                                      HSA        92.31-BAL        2751.80 ST KY     144.19
                                                                                                         2400.06-LMT        2884.62 SUI KY
                    ALT DATE:                                                                   ------ Q-TO-D ---------WAGES-- Y-TO-D --TAXES--
                    DOB:                     05/11/71                                           ACHBR     294.23            2778.34 SSEC      172.26
                                                                                                HSAER      23.08            2778.34 MDCR       40.29
                                                                                                HSA        92.31-           2747.18 FIT       288.04
                                                      PAY ANALYSIS REPORTING
                                                                  086- ALPHABETIC PAYROLL REGISTER            086
                                                                                                                                               PAY
                    REB      HEALTH AND BENEFIT SERVICES, LLC                                        01/11/13         B-01/11/13             01             5
                    NO.         CO. NAME                                                             REPORT DATE         CHECKS DATED         PERIOD   PAGE NO.
                    EMPLOYEE ID                            ....... HOURS AND EARNINGS ....... .... DED AND ADJ ....     .......GROSS TO NET ......
                    EMPLOYEE NAME                          PC DESCR RATE    HOURS    AMOUNT   DESCR   AMOUNT CODES       Y-TO-D   TYPE   CURRENT       CHECK#
                    99-X02-97897
                    HURST, DAVID T
                             ***** CONTINUED *****                                             ------ Q-TO-D ---------WAGES-- Y-TO-D --TAXES--
                                                                                               401K       26.54-         2773.72 FUTA
                                                                                               MED         8.77-         2751.80 ST KY     144.19
Page 185 of 309




                                                                                               DENTL       7.58-         2884.62 SUI KY




                                                                                                                                                                  A185
                                                                                               VISN        2.24-     --WAGES-- F-TO-D 1 --TAXES--
                                                                                               W2GRP       4.62          2778.34 SSEC      172.26
                                                                                               ------ Y-TO-D -------     2778.34 MDCR       40.29
                                                                                               ACHBR     294.23          2747.18 FIT       288.04
                                                                                               HSAER      23.08          2773.72 FUTA
                                                                                               HSA        92.31-         2751.80 ST KY     144.19
                                                                                               401K       26.54-         2884.62 SUI KY
                                                                                               MED         8.77-
                                                                                               DENTL       7.58-
                                                                                               VISN        2.24-
Filed 04/14/17




                                                                                               W2GRP       4.62
                                                                                               ----- F-TO-D 1 ------
                                                                                               ACHBR     294.23
                                                                                               HSAER      23.08
                                                                                               HSA        92.31-
                                                                                               401K       26.54-
                                                                                               MED         8.77-
                                                                                               DENTL       7.58-
                                                                                               VISN        2.24-
                                                                                               W2GRP       4.62
Doc 78-1




                    ------------------------------------------------------------------------------------------------------------------------------------
                    99-X01-97923                            1 REGUL           80.00    5000.00 ACHBR     623.66 0M0*     4903.85 GRCOMP 4903.85
                    RAMSAY, SCOTT                              FSAH                      96.15-FSAH       96.15-060E     4645.10 GRPAY    4645.10
                                                            ---------- PRE-TAX ITEMS ----------MED       229.10-060E      289.38 SSEC      289.38
                                                               DENTL                     23.52-DENTL      23.52-060E       67.68 MDCR       67.68
                                                               MED                      229.10-VISN        6.13-060E      682.24 FIT       682.24
                    SS-NO              FRQ B       STAT A      VISN                       6.13-LTD               000      259.44 ST1 KY    259.44
Case 14-50977-BLS




                    BASE 5000.00       M/S M      SEX M ------------- Q-TO-D --------------LIFE                  000     3346.36 NET      3346.36   A237
                    FCAST 80.00E       ST1 KY               1 REGULAR         80.00    5000.00 W2GRP      22.29 0F0*             EFT A    3346.36
                    FILE# 97923        F#EX 03 S#EX 03 ------------- Y-TO-D --------------EFTA1                         CUR SSEC WAGES    4667.39
                    HIRE 01/01/07      FADJ $     13.85     1 REGULAR         80.00    5000.00 ------ BAL/LMT ------    CUR MDCR WAGES    4667.39
                    PTO-C                                   ------------ F-TO-D 1 -------------FSAH       96.15-BAL --WAGES-- Q-TO-D --TAXES--
                    OT EX N                                 1 REGULAR         80.00    5000.00          2499.90-LMT      4667.39 SSEC      289.38
                    DSS PT Y                                                                   ------ Q-TO-D -------     4667.39 MDCR       67.68
                                                                                               ACHBR     623.66          4645.10 FIT       682.24
                    EFT-ACCOUNT#      ID BK TP TRANSIT-NO                                      FSAH       96.15-         4645.10 FUTA
                                       A 54 C 0421-0119-0                                      MED       229.10-         4667.39 ST KY     259.44
                                                                                               DENTL      23.52-         5000.00 SUI KY
                    ALT DATE:                                                                  VISN        6.13-     --WAGES-- Y-TO-D --TAXES--
                    DOB:                    03/23/60                                           W2GRP      22.29          4667.39 SSEC      289.38
                                                                                               ------ Y-TO-D -------     4667.39 MDCR       67.68
                                                                                               ACHBR     623.66          4645.10 FIT       682.24
                                                                                               FSAH       96.15-         4645.10 FUTA
                                                                                               MED       229.10-         4667.39 ST KY     259.44
                                                                                               DENTL      23.52-         5000.00 SUI KY
                                                                                               VISN        6.13-     --WAGES-- F-TO-D 1 --TAXES--
                                                                                               W2GRP      22.29          4667.39 SSEC      289.38
                                                      PAY ANALYSIS REPORTING
                                                                  086- ALPHABETIC PAYROLL REGISTER            086
                                                                                                                                               PAY
                    REB       HEALTH AND BENEFIT SERVICES, LLC                                       01/11/13         B-01/11/13             01             6
                    NO.          CO. NAME                                                            REPORT DATE         CHECKS DATED         PERIOD   PAGE NO.
                    EMPLOYEE ID                            ....... HOURS AND EARNINGS ....... .... DED AND ADJ ....     .......GROSS TO NET ......
                    EMPLOYEE NAME                          PC DESCR RATE    HOURS    AMOUNT   DESCR   AMOUNT CODES       Y-TO-D   TYPE   CURRENT       CHECK#
                    99-X01-97923
                    RAMSAY, SCOTT
                             ***** CONTINUED *****                                                                    --WAGES-- F-TO-D 1 --TAXES--
                                                                                               ----- F-TO-D 1 ------      4667.39 MDCR       67.68
                                                                                               ACHBR     623.66           4645.10 FIT       682.24
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                                                                                               FSAH       96.15-          4645.10 FUTA




                                                                                                                                                                  A186
                                                                                               MED       229.10-          4667.39 ST KY     259.44
                                                                                               DENTL      23.52-          5000.00 SUI KY
                                                                                               VISN        6.13-
                                                                                               W2GRP      22.29
                    ------------------------------------------------------------------------------------------------------------------------------------
                    99-X02-01544                            1 REGUL 8.5000 90.00        765.00 ACHBR     152.50 0M0*       765.00 GRCOMP    765.00
                    RATLIFF, PALACE ASHTON                  ---------- PRE-TAX ITEMS ----------HSAER      23.08 0N0*       739.81 GRPAY     739.81
                                                               401K                      22.95-401K U      3.00-8F0         47.29 SSEC       47.29
                                                               VISN                       2.24-           22.95-     E      11.06 MDCR       11.06
                                                            ------------- Q-TO-D --------------MED               060        81.84 FIT        81.84
Filed 04/14/17




                    SS-NO              FRQ B       STAT A 1 REGULAR           90.00     765.00 VISN        2.24-060E        30.57 ST1 KY     30.57
                    BASE 8.5000        M/S S      SEX M ------------- Y-TO-D --------------LIFE                  000       569.05 NET       569.05  A238
                    FCAST .00 E        ST1 KY               1 REGULAR         90.00     765.00 EFTA1                              EFT A     569.05
                    FILE# 1544         F#EX 00 S#EX 00 ------------ F-TO-D 1 ------------------- BAL/LMT ------          CUR SSEC WAGES     762.76
                    HIRE 01/03/12                           1 REGULAR         90.00     765.00 HSAER      23.08 BAL      CUR MDCR WAGES     762.76
                    PTO-C                                                                                600.00 LMT --WAGES-- Q-TO-D --TAXES--
                    OT EX N                                                                    ------ Q-TO-D -------       762.76 SSEC       47.29
                    DSS PT Y                                                                   ACHBR     152.50            762.76 MDCR       11.06
                                                                                               HSAER      23.08            739.81 FIT        81.84
                    EFT-ACCOUNT#      ID BK TP TRANSIT-NO                                      401K       22.95-           762.76 FUTA
Doc 78-1




                                       A KY S 0421-0117-4                                       VISN       2.24-           739.81 ST KY      30.57
                                                                                               ------ Y-TO-D -------       765.00 SUI KY
                    ALT DATE:                                                                  ACHBR     152.50       --WAGES-- Y-TO-D --TAXES--
                    DOB:                    06/17/93                                           HSAER      23.08            762.76 SSEC       47.29
                                                                                               401K       22.95-           762.76 MDCR       11.06
                                                                                               VISN        2.24-           739.81 FIT        81.84
                                                                                               ----- F-TO-D 1 ------       762.76 FUTA
Case 14-50977-BLS




                                                                                               ACHBR     152.50            739.81 ST KY      30.57
                                                                                               HSAER      23.08            765.00 SUI KY
                                                                                               401K       22.95-      --WAGES-- F-TO-D 1 --TAXES--
                                                                                               VISN        2.24-           762.76 SSEC       47.29
                                                                                                                           762.76 MDCR       11.06
                                                                                                                           739.81 FIT        81.84
                                                                                                                           762.76 FUTA
                                                                                                                           739.81 ST KY      30.57
                                                                                                                           765.00 SUI KY
                    ------------------------------------------------------------------------------------------------------------------------------------
                    99-X02-97949                            1 REGUL           80.00    1730.77 ACHBR     152.50 0M0*      1590.39 GRCOMP 1590.39
                    SCHUTTERS, JENNIFER E                      HSA                      140.38-HSAER      23.08 0N0*      1567.05 GRPAY    1567.05
                                                            ---------- PRE-TAX ITEMS ----------HSA       140.38-060E        98.72 SSEC       98.72
                                                               401K                      17.31-401K U      1.00-8F0         23.09 MDCR       23.09
                                                               DENTL                      3.79-           17.31-     E     218.40 FIT       218.40
                    SS-NO               FRQ B      STAT A      VISN                       2.24-MED               060        78.24 ST1 KY     78.24
                    BASE    1730.77     M/S S      SEX F ------------- Q-TO-D --------------DENTL          3.79-060E      1148.60 NET      1148.60  A239
                    FCAST   80.00E      ST1 KY              1 REGULAR         80.00    1730.77 VISN        2.24-060E              EFT A    1148.60
                    FILE#   97949       F#EX 00    S#EX 01 ------------- Y-TO-D --------------LTD                000     CUR SSEC WAGES    1592.30
                    HIRE    11/30/09                        1 REGULAR         80.00    1730.77 LIFE              000     CUR MDCR WAGES    1592.30
                                                      PAY ANALYSIS REPORTING
                                                                  086- ALPHABETIC PAYROLL REGISTER            086
                                                                                                                                               PAY
                    REB      HEALTH AND BENEFIT SERVICES, LLC                                        01/11/13         B-01/11/13             01             7
                    NO.         CO. NAME                                                             REPORT DATE         CHECKS DATED         PERIOD   PAGE NO.
                    EMPLOYEE ID                            ....... HOURS AND EARNINGS ....... .... DED AND ADJ ....     .......GROSS TO NET ......
                    EMPLOYEE NAME                          PC DESCR RATE    HOURS    AMOUNT   DESCR   AMOUNT CODES       Y-TO-D   TYPE   CURRENT       CHECK#
                    99-X02-97949
                    SCHUTTERS, JENNIFER E
                             ***** CONTINUED *****
                    PTO-C                                   ------------ F-TO-D 1 -------------W2GRP       7.94 0F0*--WAGES-- Q-TO-D --TAXES--
                    OT EX N                                 1 REGULAR         80.00    1730.77 EFTA1                     1592.30 SSEC       98.72
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                    DSS PT Y                                                                   ------ BAL/LMT ------     1592.30 MDCR       23.09




                                                                                                                                                                  A187
                                                                                               HSAER      23.08 BAL      1567.05 FIT       218.40
                    EFT-ACCOUNT#      ID BK TP TRANSIT-NO                                                600.00 LMT      1584.36 FUTA
                                       A 54 C 0421-0119-0                                      HSA       140.38-BAL      1574.99 ST KY      78.24
                                                                                                        3649.88-LMT      1730.77 SUI KY
                    ALT DATE:                                                                  ------ Q-TO-D ---------WAGES-- Y-TO-D --TAXES--
                    DOB:                    12/04/57                                           ACHBR     152.50          1592.30 SSEC       98.72
                                                                                               HSAER      23.08          1592.30 MDCR       23.09
                                                                                               HSA       140.38-         1567.05 FIT       218.40
                                                                                               401K       17.31-         1584.36 FUTA
                                                                                               DENTL       3.79-         1574.99 ST KY      78.24
Filed 04/14/17




                                                                                               VISN        2.24-         1730.77 SUI KY
                                                                                               W2GRP       7.94      --WAGES-- F-TO-D 1 --TAXES--
                                                                                               ------ Y-TO-D -------     1592.30 SSEC       98.72
                                                                                               ACHBR     152.50          1592.30 MDCR       23.09
                                                                                               HSAER      23.08          1567.05 FIT       218.40
                                                                                               HSA       140.38-         1584.36 FUTA
                                                                                               401K       17.31-         1574.99 ST KY      78.24
                                                                                               DENTL       3.79-         1730.77 SUI KY
                                                                                               VISN        2.24-
                                                                                               W2GRP       7.94
Doc 78-1




                                                                                               ----- F-TO-D 1 ------
                                                                                               ACHBR     152.50
                                                                                               HSAER      23.08
                                                                                               HSA       140.38-
                                                                                               401K       17.31-
                                                                                               DENTL       3.79-
                                                                                               VISN        2.24-
Case 14-50977-BLS




                                                                                               W2GRP       7.94
                    ------------------------------------------------------------------------------------------------------------------------------------
                                                      PAY ANALYSIS REPORTING
                                                                        086- ALPHABETIC PAYROLL REGISTER            086
                                                                                      GRAND TOTALS                                                     PAY
                    REB          HEALTH AND BENEFIT SERVICES, LLC                                          01/11/13       B-01/11/13                  01            8
                    NO.             CO. NAME                                                               REPORT DATE       CHECKS DATED             PERIOD   PAGE NO.
                    ************************************************************************************************************************************
                    HOURS/EARNS       PC DESCRIPTION               HOURS          EARNINGS        PC   DESCRIPTION             HOURS          EARNINGS
                       CURRENT        1    REGULAR                710.25         15,959.44             FSAH                                      96.15-
                                           HSA                                      332.69-            TOTAL                  710.25         15,530.60
                    PRE-TAX ITEMS
                       CURRENT             401K                                     113.52-            DENTL                                     61.42-
                                           MED                                      540.39-            VISN                                      22.63-
Page 188 of 309




                                           AFLPT                                       8.52-           TOTAL                                    746.48-




                                                                                                                                                                          A188
                    ************************************************************************************************************************************
                    HOURS/EARNS       PC DESCRIPTION               HOURS          EARNINGS        PC   DESCRIPTION             HOURS          EARNINGS
                       Q-TO-D         1    REGULAR                710.25         15,959.44             TOTAL                  710.25         15,959.44
                       Y-TO-D         1    REGULAR                710.25         15,959.44             TOTAL                  710.25         15,959.44
                       FLX-1          1    REGULAR                710.25         15,959.44             TOTAL                  710.25         15,959.44
                    ************************************************************************************************************************************
                    DEDUCTION TO NET
                       CURRENT        $LS1             20.00    SPOUS            31.70     STD              22.33         VOLIN              74.72
                                                                                                                          TOTAL             148.75
                          QTD             $LS1              20.00    SPOUS            31.70    STD              22.33     VOLIN              74.72
Filed 04/14/17




                                                                                                                          TOTAL             148.75
                          YTD             $LS1              20.00    SPOUS            31.70    STD              22.33     VOLIN              74.72
                                                                                                                          TOTAL             148.75
                          FTD1            $LS1              20.00    SPOUS            31.70    STD              22.33     VOLIN              74.72
                                                                                                                          TOTAL             148.75
                    EARNINGS FROM DEDUCTIONS
                       QTD            FSAH                  96.15-   HSA             332.69-
                       YTD            FSAH                  96.15-   HSA             332.69-
                       FTD1           FSAH                  96.15-   HSA             332.69-
                    PRE-TAX ITEMS
Doc 78-1




                       QTD                401K             113.52-   DENTL            61.42-   MED             540.39-    VISN               22.63-
                                          AFLPT              8.52-                                                        TOTAL             746.48-
                          YTD             401K             113.52-   DENTL            61.42-   MED             540.39-    VISN               22.63-
                                          AFLPT              8.52-                                                        TOTAL             746.48-
                          FTD1            401K             113.52-   DENTL            61.42-   MED             540.39-    VISN               22.63-
                                          AFLPT              8.52-                                                        TOTAL             746.48-
                    MEMO DEDUCTION
Case 14-50977-BLS




                       CURRENT            ACHBR           2,168.23   HSAER            92.32
                       QTD                ACHBR           2,168.23   HSAER            92.32
                       YTD                ACHBR           2,168.23   HSAER            92.32
                       FTD1               ACHBR           2,168.23   HSAER            92.32
                    OTHER DEDUCTIONS
                       CURRENT            W2GRP             35.81
                       QTD                W2GRP             35.81
                       YTD                W2GRP             35.81
                       FTD1               W2GRP             35.81
                    DED BALANCES
                                          $LS1             160.00    FSAH             96.15-   HSA             332.69-    HSAER              92.32
                    ************************************************************************************************************************************
                    GROSS TO NET           WAGES        SOCSEC       FEDERAL        STATE          LOCAL         SDI/UC         DEDUCTION          NET
                                                        MEDICR
                     CUR         GRPAY         14784.12 925.87       1753.35       747.52 TOT                                      148.75     10992.09
                                 GRCOMP        15530.60 216.54                     747.52 KY
                     QTD         GRPAY         14784.12 925.87       1753.35       747.52 TOT                                      148.75     10992.09
                                 GRCOMP        15530.60 216.54                     747.52 KY
                    YTD          GRPAY         14784.12 925.87       1753.35       747.52 TOT                                      148.75     10992.09
                                                            PAY ANALYSIS REPORTING
                                                                  086- ALPHABETIC PAYROLL REGISTER            086
                                                                                GRAND TOTALS                                                 PAY
                    REB      HEALTH AND BENEFIT SERVICES, LLC                                         01/11/13        B-01/11/13           01             9
                    NO.         CO. NAME                                                             REPORT DATE          CHECKS DATED      PERIOD   PAGE NO.
                    GROSS TO NET           WAGES        SOCSEC       FEDERAL        STATE          LOCAL         SDI/UC         DEDUCTION          NET
                                                        MEDICR
                              GRCOMP    15530.60        216.54                     747.52 KY
                    ************************************************************************************************************************************
                    WAGE AND TAXES          QTD WAGES     QTD TAXES     YTD WAGES     YTD TAXES     FX1 WAGES     FX1 TAXES     FX2 WAGES     FX2 TAXES
                    EE SSEC TO LMT           14933.45        925.87      14933.45         925.87     14933.45        925.87
                        MDCR TO LMT          14933.45        216.54      14933.45         216.54     14933.45        216.54
                    FIT                      14784.12       1753.35      14784.12        1753.35     14784.12       1753.35
Page 189 of 309




                    FUTA TO LMT              14897.64                    14897.64                    14897.64




                                                                                                                                                                A189
                    SIT
                    KY KENTUCKY              14819.93        747.52      14819.93         747.52     14819.93        747.52
                    SDI/UC
                    KY KENTUCKY              15959.44                    15959.44                    15959.44
                    ************************************************************************************************************************************
                    CURRENT TAX RECAP                 0      VOID/MANUAL CHECKS INCLUDED
                                                                                   ************************ LIABILITIES ************************
                    FORM 8109 FEDERAL DEPOSIT       TYPE   JURISDICTION            TAXABLE WAGES    LIMIT   WAGES TO LIMIT    RATE          AMOUNT
                    EMPLOYEE SSEC          925.87
                    EMPLOYEE MDCR          216.54
Filed 04/14/17




                    EMPLOYER SSEC          925.87                                     14,933.45   113700            14,933.45   6.20 %     925.87 SSEC
                    EMPLOYER MDCR          216.54                                     14,933.45    UNLIM            14,933.45   1.45 %     216.54 MDCR
                    EMPLOYEE FIT         1,753.35
                    TOTAL DEPOSIT        4,038.17                                                                               7.65 %   1,142.41
                                                    FUTA   STANDARD RATE              14,897.64      7000           14,897.64    .60 %      89.39
                                                     SUI    KY-KENTUCKY                15,959.44     9300         15,959.44    2.70 %       430.90
                                                     TOTAL                             15,959.44                                            430.90
                                                                                   ***************** STATE/LOCAL TAXES WITHHELD ****************
                                                                                   TAXABLE WAGES    LIMIT   WAGES TO LIMIT      RATE        AMOUNT
Doc 78-1




                                                     SIT    KY-KENTUCKY                14,819.93                                            747.52
                                                     TOTAL                             14,819.93                                            747.52
                    FEDERAL 401-K DEFERRAL LIMIT                                                    17500
                    FEDERAL 401-K CATCH-UP DEFERRAL LIMIT                                            5500
                    EMPLOYEE CENSUS    ACTIVE EMPS      9                         NET PAY ANALYSIS    # DEP ADV        9    EFTS TOTAL   10,992.09
                                       TOTAL EMPS       9                                             # EMPS PAID      9    TOTAL NET    10,992.09 *
                                                                                                                            TOTAL TAXES   5,305.98 **
Case 14-50977-BLS




                                                                                                                                         16,298.07 ***
                    ************************************************************************************************************************************
                                                      PAY ANALYSIS REPORTING
                                                                    086- ALPHABETIC PAYROLL REGISTER            086                         
                                                                           BILLING AUDIT INFORMATION                                             PAY
                    REB       HEALTH AND BENEFIT SERVICES, LLC                                         01/11/13       B-01/11/13             01              10
                    NO.          CO. NAME                                                              REPORT DATE       CHECKS DATED           PERIOD   PAGE NO.
                    ------------------------------------------------------------------------------------------------------------------------------------
                          9 EMPLOYEES INCLUDED.                12 DATA GROUPS SELECTED.           1 COPY PRINTED.
                    OUTPUT MEDIA - PRINTED - YES              ORCHESTRATOR PRINT - NO                                   CD-ROM FILE - NO
                    REPORT TYPE - PAY ANALYSIS REPORT         DETAIL                                                    I/P    12/12/21 13.54.23         R34.73
                                                                                                                        O/P    13/01/08 10.51.41         R34.74
Page 190 of 309




                                                                                                                        PRT    13/01/08 10.52.30




                                                                                                                                                                    A190
Filed 04/14/17
Doc 78-1
Case 14-50977-BLS
                                                        PAY ANALYSIS REPORTING
                                                                  086- ALPHABETIC PAYROLL REGISTER            086                            
                                                                                                                                                  PAY
                    REB      HEALTH AND BENEFIT SERVICES, LLC                                        12/28/12         B-12/28/12              26               1
                    NO.         CO. NAME                                                             REPORT DATE         CHECKS DATED            PERIOD   PAGE NO.
                    EMPLOYEE ID                            ....... HOURS AND EARNINGS ....... .... DED AND ADJ ....     .......GROSS TO NET ......
                    EMPLOYEE NAME                          PC DESCR RATE    HOURS    AMOUNT   DESCR   AMOUNT CODES       Y-TO-D   TYPE   CURRENT          CHECK#
                    ------------------------------------------------------------------------------------------------------------------------------------
                    99-X02-01615                            1 REGUL           80.00    1461.54 $LS1       20.00 000*     34738.50 GRCOMP 1361.54
                    BROWN, WYATT W                             HSA                      100.00-ACHBR     152.50 0M0*     33840.66 GRPAY    1311.66
                                                            ---------- PRE-TAX ITEMS ----------HSAER      23.08 0N0*      1455.18 SSEC       56.97
                                                               401K                      43.85-HSA       100.00-060E       502.38 MDCR       19.66
Page 191 of 309




                                                               DENTL                      3.79-401K U      3.00-8F0       3799.61 FIT       145.69




                                                                                                                                                                     A191
                                       FRQ B      STAT A       VISN                       2.24-           43.85-     E    1639.91 ST1 KY     63.18
                    BASE 1461.54       M/S S      SEX M ------------- Q-TO-D --------------MED                   060       140.00 TOTDED     20.00
                    FCAST 80.00E       ST1 KY               1 REGULAR        560.00   10230.78 DENTL       3.79-060E     26303.58 NET      1006.16  A222
                    FILE# 1615         F#EX 01 S#EX 01 ------------- Y-TO-D --------------VISN             2.24-060E              EFT A    1006.16
                    HIRE 01/16/12      SADJ NRES            1 REGULAR       1200.00   36538.50 LTD               000     CUR SSEC WAGES    1356.47
                    PTO-C                                   ------------ F-TO-D 1 -------------LIFE              000     CUR MDCR WAGES    1356.47
                    OT EX N                                 1 REGULAR        240.00    4384.62 W2GRP        .96 0F0*--WAGES-- Q-TO-D --TAXES--
                    DSS PT Y                                                                   EFTA1                      9495.29 SSEC      398.80
                                                                                               ------ BAL/LMT ------      9495.29 MDCR      137.68
                    EFT-ACCOUNT#      ID BK TP TRANSIT-NO                                      $LS1      140.00 BAL       9181.62 FIT      1019.83
Filed 04/14/17




                                       A PQ C 2421-7612-9                                                427.43 LMT       9188.34 ST KY     442.26
                                                                                               HSAER     415.44 BAL      10230.78 SUI KY
                    ALT DATE:                                                                            600.00 LMT --WAGES-- Y-TO-D --TAXES--
                    DOB:                    02/01/79                                           HSA      1800.00-BAL      34647.24 SSEC     1455.18
                                                                                                        1800.00-LMT      34647.24 MDCR      502.38
                                                                                               ------ Q-TO-D -------     33840.66 FIT      3799.61
                                                                                               $LS1      140.00           7000.00 FUTA
                                                                                               ACHBR    1067.50          33857.94 ST KY 1639.91
                                                                                               HSAER     161.56          36538.50 SUI KY
                                                                                               HSA       700.00-      --WAGES-- F-TO-D 1 --TAXES--
Doc 78-1




                                                                                               401K      306.95-          4069.41 SSEC      170.91
                                                                                               DENTL      26.53-          4069.41 MDCR       59.00
                                                                                               VISN       15.68-          3934.98 FIT       437.07
                                                                                               W2GRP       6.72           3937.86 ST KY     189.54
                                                                                               ------ Y-TO-D -------      4384.62 SUI KY
                                                                                               $LS1      140.00
                                                                                               ACHBR    2745.00
Case 14-50977-BLS




                                                                                               HSAER     415.44
                                                                                               HSA      1800.00-
                                                                                               401K      789.30-
                                                                                               DENTL      68.22-
                                                                                               VISN       40.32-
                                                                                               W2GRP      17.28
                                                                                               ----- F-TO-D 1 ------
                                                                                               $LS1       60.00
                                                                                               ACHBR     457.50
                                                                                               HSAER      69.24
                                                                                               HSA       300.00-
                                                                                               401K      131.55-
                                                                                               DENTL      11.37-
                                                                                               VISN        6.72-
                                                                                               W2GRP       2.88
                    ------------------------------------------------------------------------------------------------------------------------------------
                    99-X03-97913                            1 REGUL 14.5000 90.00      1305.00 DENTL       7.58-060E     37866.75 GRCOMP 1305.00
                    FLORENCE, OTTIS                         ---------- PRE-TAX ITEMS ----------VISN        3.77-060E     37350.13 GRPAY    1285.13
                                                               DENTL                      7.58-AFLPT       8.52-060E      1568.71 SSEC       53.98
                                                               VISN                       3.77-VOLIN      55.11 000*       541.58 MDCR       18.64
                                                      PAY ANALYSIS REPORTING
                                                                  086- ALPHABETIC PAYROLL REGISTER            086
                                                                                                                                               PAY
                    REB      HEALTH AND BENEFIT SERVICES, LLC                                        12/28/12         B-12/28/12             26             2
                    NO.         CO. NAME                                                             REPORT DATE         CHECKS DATED         PERIOD   PAGE NO.
                    EMPLOYEE ID                            ....... HOURS AND EARNINGS ....... .... DED AND ADJ ....     .......GROSS TO NET ......
                    EMPLOYEE NAME                          PC DESCR RATE    HOURS    AMOUNT   DESCR   AMOUNT CODES       Y-TO-D   TYPE   CURRENT       CHECK#
                    99-X03-97913
                    FLORENCE, OTTIS
                             ***** CONTINUED *****          ---------- PRE-TAX ITEMS ----------
                                                               AFLPT                      8.52-STD         22.33 000*     3517.50 FIT       112.58
                                       FRQ B       STAT A ------------- Q-TO-D --------------LIFE                 000     1849.47 ST1 KY     62.35
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                    BASE 14.5000       M/S M      SEX M 1 REGULAR            686.50    9954.25 SPOUS       27.55 000*     2866.90 TOTDED    104.99




                                                                                                                                                                  A192
                    FCAST .00 E        ST1 KY               ------------- Y-TO-D --------------EFTA1                     27005.97 NET       932.59  A223
                    FILE# 97913        F#EX 00 S#EX 00 1 REGULAR            2611.50   37866.75 ------ Q-TO-D -------              EFT A     932.59
                    HIRE 01/01/07                           ------------ F-TO-D 1 -------------DENTL       53.06-        CUR SSEC WAGES    1285.13
                    PTO-C                                   1 REGULAR        275.50    3994.75 VISN        26.39-        CUR MDCR WAGES    1285.13
                    OT EX N                                                                     AFLPT      59.64-     --WAGES-- Q-TO-D --TAXES--
                                                                                                VOLIN     385.77          9815.16 SSEC      412.24
                    EFT-ACCOUNT#      ID BK TP TRANSIT-NO                                       STD       156.31          9815.16 MDCR      142.32
                                       A KY C 0421-0117-4                                       SPOUS     192.85          9815.16 FIT       910.93
                                                                                                ------ Y-TO-D -------     9815.16 ST KY     483.97
                    ALT DATE:                                                                   ACHBR    1471.15          9954.25 SUI KY
Filed 04/14/17




                    DOB:                    05/11/46                                            DENTL     197.08-     --WAGES-- Y-TO-D --TAXES--
                                                                                                VISN       98.02-        37350.13 SSEC     1568.71
                                                                                                AFLPT     221.52-        37350.13 MDCR      541.58
                                                                                                VOLIN    1487.96         37350.13 FIT      3517.50
                                                                                                STD       635.08          7000.00 FUTA
                                                                                                SPOUS     743.86         37350.13 ST KY 1849.47
                                                                                                ----- F-TO-D 1 ------    37866.75 SUI KY
                                                                                                DENTL      22.74-     --WAGES-- F-TO-D 1 --TAXES--
                                                                                                VISN       11.31-         3935.14 SSEC      165.28
                                                                                                AFLPT      25.56-         3935.14 MDCR       57.06
Doc 78-1




                                                                                                VOLIN     165.33          3935.14 FIT       349.70
                                                                                                STD        66.99          3935.14 ST KY     191.68
                                                                                                SPOUS      82.65          3994.75 SUI KY
                    ------------------------------------------------------------------------------------------------------------------------------------
                    99-X03-97914                            1 REGUL 15.0000 94.00      1410.00 ACHBR      623.66 0M0*    42836.25 GRCOMP 1410.00
                    FLORENCE, STEVE                         ---------- PRE-TAX ITEMS ----------MED        229.10-060E    36443.47 GRPAY    1173.32
                                                               DENTL                      7.58-DENTL        7.58-060E     1530.63 SSEC       49.28
Case 14-50977-BLS




                                                               MED                      229.10-VOLIN       12.46 000*      528.43 MDCR       17.01
                                                            ------------- Q-TO-D --------------LIFE               000     2429.05 FIT        59.17
                                       FRQ B       STAT A 1 REGULAR          719.25   10788.75 CHILD        1.06 000*     1716.96 ST1 KY     52.79
                    BASE 15.0000       M/S S       SEX M ------------- Y-TO-D --------------SPOUS           4.15 000*      455.28 TOTDED     17.67
                    FCAST .00 E        ST1 KY               1 REGULAR       2855.75   42836.25 EFTA1                     29783.12 NET       977.40  A224
                    FILE# 97914        F#EX 04 S#EX 04 ------------ F-TO-D 1 ------------------- Q-TO-D -------                   EFT A     977.40
                    HIRE 01/01/07                           1 REGULAR        293.50    4402.50 ACHBR     4365.62         CUR SSEC WAGES    1173.32
                    PTO-C                                                                       MED      1603.70-        CUR MDCR WAGES    1173.32
                    OT EX N                                                                     DENTL      53.06-     --WAGES-- Q-TO-D --TAXES--
                                                                                                VOLIN      87.22          9131.99 SSEC      383.55
                    EFT-ACCOUNT#      ID BK TP TRANSIT-NO                                       CHILD       7.42          9131.99 MDCR      132.41
                                       A Fa C 0421-0155-6                                       SPOUS      29.05          9131.99 FIT       552.02
                                                                                                ------ Y-TO-D -------     9131.99 ST KY     422.83
                    ALT DATE:                                                                   ACHBR   16215.16         10788.75 SUI KY
                    DOB:                    08/27/70                                            MED      5956.60-     --WAGES-- Y-TO-D --TAXES--
                                                                                                DENTL     436.18-        36443.47 SSEC     1530.63
                                                                                                VOLIN     323.96         36443.47 MDCR      528.43
                                                                                                CHILD      27.56         36443.47 FIT      2429.05
                                                                                                SPOUS     103.76          7000.00 FUTA
                                                                                                ----- F-TO-D 1 ------    36443.47 ST KY    1716.96
                                                      PAY ANALYSIS REPORTING
                                                                   086- ALPHABETIC PAYROLL REGISTER            086
                                                                                                                                                PAY
                    REB       HEALTH AND BENEFIT SERVICES, LLC                                        12/28/12         B-12/28/12             26             3
                    NO.          CO. NAME                                                             REPORT DATE         CHECKS DATED         PERIOD   PAGE NO.
                    EMPLOYEE ID                             ....... HOURS AND EARNINGS ....... .... DED AND ADJ ....     .......GROSS TO NET ......
                    EMPLOYEE NAME                           PC DESCR RATE    HOURS    AMOUNT   DESCR   AMOUNT CODES       Y-TO-D   TYPE   CURRENT       CHECK#
                    99-X03-97914
                    FLORENCE, STEVE
                             ***** CONTINUED *****                                             ----- F-TO-D 1 --------WAGES-- Y-TO-D --TAXES--
                                                                                               ACHBR     1870.98           42836.25 SUI KY
                                                                                               MED        687.30-      --WAGES-- F-TO-D 1 --TAXES--
Page 193 of 309




                                                                                               DENTL       22.74-           3692.46 SSEC      155.09




                                                                                                                                                                   A193
                                                                                               VOLIN       37.38            3692.46 MDCR       53.54
                                                                                               CHILD        3.18            3692.46 FIT       203.39
                                                                                               SPOUS       12.45            3692.46 ST KY     168.38
                                                                                                                            4402.50 SUI KY
                    ------------------------------------------------------------------------------------------------------------------------------------
                    99-X03-97915                            1 REGUL 11.0000 90.00       990.00 ACHBR      169.18 0M0*      28847.50 GRCOMP    990.00
                    FLORENCE, STEVEN JR                     ---------- PRE-TAX ITEMS ----------MED         73.42-060E      26840.04 GRPAY     912.79
                                                               DENTL                      3.79-DENTL        3.79-060E       1127.28 SSEC       38.34
                                                               MED                       73.42-VOLIN        6.23 000*        389.18 MDCR       13.23
                                                            ------------- Q-TO-D --------------LIFE               000       3528.48 FIT       117.78
Filed 04/14/17




                    SS-NO               FRQ B      STAT A 1 REGULAR          682.75    7510.25 EFTA1                        1199.92 ST1 KY     39.22
                    BASE 11.0000        M/S S      SEX M ------------- Y-TO-D -------------------- Q-TO-D -------            161.98 TOTDED      6.23
                    FCAST .00 E         ST1 KY              1 REGULAR       2622.50   28847.50 ACHBR     1184.26           20433.20 NET       697.99 A225
                    FILE# 97915         F#EX 00 S#EX 02 ------------ F-TO-D 1 -------------MED            513.94-                   EFT A     697.99
                    HIRE 01/01/07       FADJ $     10.00    1 REGULAR        281.00    3091.00 DENTL       26.53-          CUR SSEC WAGES     912.79
                    PTO-C                                                                       VOLIN      43.61           CUR MDCR WAGES     912.79
                    OT EX N                                                                     ------ Y-TO-D ---------WAGES-- Q-TO-D --TAXES--
                                                                                                ACHBR    4398.68            6969.78 SSEC      292.73
                    EFT-ACCOUNT#      ID BK TP TRANSIT-NO                                       MED      1908.92-           6969.78 MDCR      101.06
                                        A KY S 0421-0117-4                                     DENTL       98.54-           6969.78 FIT       911.52
Doc 78-1




                                                                                                VOLIN     161.98            6969.78 ST KY     308.19
                    ALT DATE:                                                                   ----- F-TO-D 1 ------       7510.25 SUI KY
                    DOB:                     06/01/89                                           ACHBR     507.54        --WAGES-- Y-TO-D --TAXES--
                                                                                                MED       220.26-          26840.04 SSEC     1127.28
                                                                                                DENTL      11.37-          26840.04 MDCR      389.18
                                                                                                VOLIN      18.69           26840.04 FIT      3528.48
                                                                                                                            7000.00 FUTA
Case 14-50977-BLS




                                                                                                                           26840.04 ST KY    1199.92
                                                                                                                           28847.50 SUI KY
                                                                                                                        --WAGES-- F-TO-D 1 --TAXES--
                                                                                                                            2859.37 SSEC      120.09
                                                                                                                            2859.37 MDCR       41.46
                                                                                                                            2859.37 FIT       371.49
                                                                                                                            2859.37 ST KY     124.68
                                                                                                                            3091.00 SUI KY
                    ------------------------------------------------------------------------------------------------------------------------------------
                    99-X02-01543                            1 REGUL 7.5000 28.00        210.00 401K U       3.00-8F0        6037.55 GRCOMP    210.00
                    FLORENCE, WHITNEY E                     ---------- PRE-TAX ITEMS ----------             6.30-     E     5819.44 GRPAY     199.91
                                                               401K                       6.30-DENTL        3.79-060E        250.39 SSEC        8.66
                                                               DENTL                      3.79-LIFE               000         86.45 MDCR        2.99
                                                            ------------- Q-TO-D --------------EFTA1                         366.96 FIT        11.72
                    SS-NO               FRQ B      STAT A 1 REGULAR          199.25    1494.38 ------ Q-TO-D -------          82.08 ST1 KY      2.24
                    BASE    7.5000      M/S S      SEX F ------------- Y-TO-D --------------401K           44.83-           5033.56 NET       174.30 A226
                    FCAST   .00 E       ST1 KY              1 REGULAR        805.00    6037.55 DENTL       26.53-                   EFT A     174.30
                    FILE#   1543        F#EX 00 S#EX 00 ------------ F-TO-D 1 ------------------- Y-TO-D -------           CUR SSEC WAGES     206.21
                    HIRE    01/03/12                        1 REGULAR         90.00     675.00 401K       142.31-          CUR MDCR WAGES     206.21
                    PTO-C                                                                       DENTL      75.80-       --WAGES-- Q-TO-D --TAXES--
                                                      PAY ANALYSIS REPORTING
                                                                  086- ALPHABETIC PAYROLL REGISTER            086
                                                                                                                                               PAY
                    REB      HEALTH AND BENEFIT SERVICES, LLC                                        12/28/12         B-12/28/12             26             4
                    NO.         CO. NAME                                                             REPORT DATE         CHECKS DATED         PERIOD   PAGE NO.
                    EMPLOYEE ID                            ....... HOURS AND EARNINGS ....... .... DED AND ADJ ....     .......GROSS TO NET ......
                    EMPLOYEE NAME                          PC DESCR RATE    HOURS    AMOUNT   DESCR   AMOUNT CODES       Y-TO-D   TYPE   CURRENT       CHECK#
                    99-X02-01543
                    FLORENCE, WHITNEY E
                             ***** CONTINUED *****                                                                    --WAGES-- Q-TO-D --TAXES--
                    OT EX N                                                                    ----- F-TO-D 1 ------      1467.85 SSEC       61.65
                    DSS PT Y                                                                   401K       20.25-          1467.85 MDCR       21.29
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                                                                                               DENTL      11.37-          1423.02 FIT        84.42




                                                                                                                                                                  A194
                    EFT-ACCOUNT#      ID BK TP TRANSIT-NO                                                                 1467.85 FUTA
                                        A KY S 0421-0117-4                                                                1423.02 ST KY      17.11
                                                                                                                          1494.38 SUI KY
                    ALT DATE:                                                                                         --WAGES-- Y-TO-D --TAXES--
                    DOB:                     11/15/92                                                                     5961.75 SSEC      250.39
                                                                                                                          5961.75 MDCR       86.45
                                                                                                                          5819.44 FIT       366.96
                                                                                                                          5961.75 FUTA
                                                                                                                          5819.44 ST KY      82.08
                                                                                                                          6037.55 SUI KY
Filed 04/14/17




                                                                                                                      --WAGES-- F-TO-D 1 --TAXES--
                                                                                                                           663.63 SSEC       27.87
                                                                                                                           663.63 MDCR        9.63
                                                                                                                           643.38 FIT        39.53
                                                                                                                           663.63 FUTA
                                                                                                                           643.38 ST KY       8.30
                                                                                                                           675.00 SUI KY
                    ------------------------------------------------------------------------------------------------------------------------------------
                    99-X02-97897                            1 REGUL           80.00    2884.62 ACHBR     294.23 0M0*     80150.22 GRCOMP 2792.31
                    HURST, DAVID T                             HSA                       92.31-HSAER      23.08 0N0      78984.77 GRPAY    2747.18
Doc 78-1




                                                            ---------- PRE-TAX ITEMS ----------           23.00      *    3350.34 SSEC      116.66
                                                               401K                      26.54-HSA        92.31-060E      1156.67 MDCR       40.28
                                                               DENTL                      7.58-401K U       .92-8F0       9370.72 FIT       288.04
                    SS-NO               FRQ B      STAT A      MED                        8.77-           26.54-     E    4176.81 ST1 KY    144.30
                    BASE 2884.62        M/S M      SEX M       VISN                       2.24-MED         8.77-060E     60930.23 NET      2157.90  A227
                    FCAST 80.00E        ST1 KY              ------------- Q-TO-D --------------DENTL       7.58-060E              EFT B    2157.90
                    FILE# 97897         F#EX 02 S#EX 04 1 REGULAR            560.00   20192.34 VISN        2.24-060E     CUR SSEC WAGES    2777.69
Case 14-50977-BLS




                    HIRE 11/07/06                           8 BONUS                    7500.00 LTD               000     CUR MDCR WAGES    2777.69
                    PTO-C                                   ------------- Y-TO-D --------------LIFE              000 --WAGES-- Q-TO-D --TAXES--
                    OT EX N                                 1 REGULAR       2080.00   74281.05 W2GRP       3.97 0F0*     26943.83 SSEC     1131.64
                    DSS PT Y                                7 OTHER                     769.23 EFTB2                     26943.83 MDCR      390.69
                                                            8 BONUS                    7500.00 ------ BAL/LMT ------     26730.26 FIT      3891.28
                    EFT-ACCOUNT#      ID BK TP TRANSIT-NO ------------ F-TO-D 1 -------------HSAER       600.00 BAL      26758.05 ST KY 1438.89
                                        B JR C 0830-0013-7 1 REGULAR         240.00    8653.86           600.00 LMT      27692.34 SUI KY
                                                            8 BONUS                    7500.00 HSA      2400.06-BAL --WAGES-- Y-TO-D --TAXES--
                    ALT DATE:                                                                           2400.06-LMT      79770.10 SSEC     3350.34
                    DOB:                     05/11/71                                          ------ Q-TO-D -------     79770.10 MDCR     1156.67
                                                                                               ACHBR    2059.61          78984.77 FIT      9370.72
                                                                                               HSAER     161.48           7000.00 FUTA
                                                                                               HSA       646.17-         79087.99 ST KY 4176.81
                                                                                               401K      185.78-         82550.28 SUI KY
                                                                                               MED        61.39-      --WAGES-- F-TO-D 1 --TAXES--
                                                                                               DENTL      53.06-         15833.07 SSEC      664.98
                                                                                               VISN       15.68-         15833.07 MDCR      229.58
                                                                                               W2GRP      27.79          15741.54 FIT      2739.12
                                                                                               ------ Y-TO-D -------     15753.45 ST KY     861.69
                                                                                               ACHBR    7649.98          16153.86 SUI KY
                                                      PAY ANALYSIS REPORTING
                                                                     086- ALPHABETIC PAYROLL REGISTER            086
                                                                                                                                                  PAY
                    REB         HEALTH AND BENEFIT SERVICES, LLC                                        12/28/12         B-12/28/12             26             5
                    NO.            CO. NAME                                                             REPORT DATE         CHECKS DATED         PERIOD   PAGE NO.
                    EMPLOYEE ID                               ....... HOURS AND EARNINGS ....... .... DED AND ADJ ....     .......GROSS TO NET ......
                    EMPLOYEE NAME                             PC DESCR RATE    HOURS    AMOUNT   DESCR   AMOUNT CODES       Y-TO-D   TYPE   CURRENT       CHECK#
                    99-X02-97897
                    HURST, DAVID T
                             ***** CONTINUED *****                                             ------ Y-TO-D -------
                                                                                               HSAER     600.00
                                                                                               HSA      2400.06-
Page 195 of 309




                                                                                               401K      682.11-




                                                                                                                                                                     A195
                                                                                               MED       228.02-
                                                                                               DENTL     197.08-
                                                                                               VISN       58.24-
                                                                                               W2GRP     103.22
                                                                                               MISC1      67.22
                                                                                               ----- F-TO-D 1 ------
                                                                                               ACHBR     882.69
                                                                                               HSAER      69.16
                                                                                               HSA       276.93-
                                                                                               401K       79.62-
Filed 04/14/17




                                                                                               MED        26.31-
                                                                                               DENTL      22.74-
                                                                                               VISN        6.72-
                                                                                               W2GRP      11.91
                    ------------------------------------------------------------------------------------------------------------------------------------
                    99-X02-99826                                                                                            .00 GRCOMP       .00
                    LITTON, ALLISON R                                                                                       .00 NET          .00
Doc 78-1




                    SS-NO                 FRQ B     STAT T
                    BASE    1538.46       M/S S     SEX F
                    FILE#   99826         ST1 KY
                    HIRE    10/27/10      F#EX 00   S#EX 01
                    TERM    01/05/12
                    PTO-C
                    OT EX   Y
Case 14-50977-BLS




                    ALT DATE:
                    DOB:                      12/07/78
                    ------------------------------------------------------------------------------------------------------------------------------------
                    99-X01-97923                            1 REGUL           80.00    5000.00 ACHBR     542.31 0M0* 167215.25 GRCOMP 4873.08
                    RAMSAY, SCOTT                              HSA                      126.92-HSAER      23.08 0N0   166128.19 GRPAY    4831.27
                                                            ---------- PRE-TAX ITEMS ----------           23.00     *   4624.20 SSEC         .00
                                                               DENTL                     23.52-HSA       126.92-060E    2416.86 MDCR       70.36
                                                               MED                       12.16-MED        12.16-060E   31483.60 FIT       728.78
                    SS-NO              FRQ B      STAT A       VISN                       6.13-DENTL      23.52-060E    9418.03 ST1 KY    270.71
                    BASE 5000.00       M/S M      SEX M ------------- Q-TO-D --------------VISN            6.13-060E 118185.50 NET       3761.42    A228
                    FCAST 80.00E       ST1 KY               1 REGULAR        560.00   35000.00 LTD              000             EFT A    3761.42
                    FILE# 97923        F#EX 03 S#EX 03 8 BONUS                        40000.00 LIFE             000    CUR MDCR WAGES    4852.50
                    HIRE 01/01/07      FADJ $     13.85     ------------- Y-TO-D --------------W2GRP      21.23 0F0*--WAGES-- Q-TO-D --TAXES--
                    PTO-C                                   1 REGULAR       2080.00 129230.76 EFTA1                    17387.33 SSEC      730.27
                    OT EX N                                 7 OTHER                    1284.41 ------ BAL/LMT ------   73967.50 MDCR     1072.53
                    DSS PT Y                                8 BONUS                   40000.00 HSAER     600.00 BAL    73818.89 FIT     17665.87
                                                            ------------ F-TO-D 1 -------------          600.00 LMT    73967.50 ST KY 4274.53
                    EFT-ACCOUNT#      ID BK TP TRANSIT-NO 1 REGULAR          240.00   15000.00 HSA      3299.92-BAL    75000.00 SUI KY
                                                         PAY ANALYSIS REPORTING
                                                                  086- ALPHABETIC PAYROLL REGISTER            086
                                                                                                                                               PAY
                    REB      HEALTH AND BENEFIT SERVICES, LLC                                        12/28/12         B-12/28/12             26             6
                    NO.         CO. NAME                                                             REPORT DATE         CHECKS DATED         PERIOD   PAGE NO.
                    EMPLOYEE ID                            ....... HOURS AND EARNINGS ....... .... DED AND ADJ ....     .......GROSS TO NET ......
                    EMPLOYEE NAME                          PC DESCR RATE    HOURS    AMOUNT   DESCR   AMOUNT CODES       Y-TO-D   TYPE   CURRENT       CHECK#
                    99-X01-97923
                    RAMSAY, SCOTT
                             ***** CONTINUED *****          ------------ F-TO-D 1 ------------------- BAL/LMT ------
                    0015471307         A 54 C 0421-0119-0 8 BONUS                     40000.00          3299.92-LMT --WAGES-- Y-TO-D --TAXES--
                                                                                               ------ Q-TO-D ------- 110100.00 SSEC         4624.20
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                    ALT DATE:                                                                  ACHBR    3796.17          166680.17 MDCR     2416.86




                                                                                                                                                                  A196
                    DOB:                    03/23/60                                           HSAER     161.48          166128.19 FIT     31483.60
                                                                                               HSA       888.44-           7000.00 FUTA
                                                                                               MED        85.12-         166680.17 ST KY 9418.03
                                                                                               DENTL     164.64-         170515.17 SUI KY
                                                                                               VISN       42.91-       --WAGES-- F-TO-D 1 --TAXES--
                                                                                               W2GRP     148.61           54557.50 MDCR      791.08
                                                                                               ------ Y-TO-D -------      54493.81 FIT     14750.75
                                                                                               ACHBR   14100.06           54557.50 ST KY 3191.69
                                                                                               HSAER     600.00           55000.00 SUI KY
                                                                                               HSA      3299.92-
Filed 04/14/17




                                                                                               MED       316.16-
                                                                                               DENTL     611.52-
                                                                                               VISN      159.38-
                                                                                               W2GRP     551.98
                                                                                               MISC1     525.18
                                                                                               ----- F-TO-D 1 ------
                                                                                               ACHBR    1626.93
                                                                                               HSAER      69.16
                                                                                               HSA       380.76-
                                                                                               MED        36.48-
Doc 78-1




                                                                                               DENTL      70.56-
                                                                                               VISN       18.39-
                                                                                               W2GRP      63.69
                    ------------------------------------------------------------------------------------------------------------------------------------
                    99-X02-01544                            1 REGUL 7.5000 90.00        675.00 ACHBR     152.50 0M0*      15196.88 GRCOMP    675.00
                    RATLIFF, PALACE ASHTON                  ---------- PRE-TAX ITEMS ----------HSAER      23.08 0N0*      14749.83 GRPAY     654.75
                                                               401K                      20.25-HSA               060        638.27 SSEC       28.35
Case 14-50977-BLS




                                                            ------------- Q-TO-D --------------401K U      3.00-8F0         220.35 MDCR        9.78
                                                            1 REGULAR        687.50    5156.25            20.25-     E     1609.57 FIT        69.08
                    SS-NO              FRQ B       STAT A ------------- Y-TO-D --------------MED                 060        600.67 ST1 KY     25.79
                    BASE 7.5000        M/S S      SEX M 1 REGULAR           2026.25   15196.88 LIFE              000      11680.97 NET       521.75 A229
                    FCAST .00 E        ST1 KY               ------------ F-TO-D 1 -------------EFTA1                               EFT A     521.75
                    FILE# 1544         F#EX 00 S#EX 00 1 REGULAR             276.50    2073.75 ------ BAL/LMT ------      CUR SSEC WAGES     675.00
                    HIRE 01/03/12                                                              HSAER     461.60 BAL       CUR MDCR WAGES     675.00
                    PTO-C                                                                                600.00 LMT --WAGES-- Q-TO-D --TAXES--
                    OT EX N                                                                    ------ Q-TO-D -------       5156.25 SSEC      216.56
                    DSS PT Y                                                                   ACHBR    1067.50            5156.25 MDCR       74.76
                                                                                               HSAER     161.56            5001.55 FIT       546.30
                    EFT-ACCOUNT#      ID BK TP TRANSIT-NO                                      401K      154.70-           5001.55 ST KY     204.79
                                       A KY S 0421-0117-4                                      ------ Y-TO-D -------       5156.25 SUI KY
                                                                                               ACHBR    2897.50        --WAGES-- Y-TO-D --TAXES--
                    ALT DATE:                                                                  HSAER     461.60           15196.88 SSEC      638.27
                    DOB:                    06/17/93                                           401K      447.05-          15196.88 MDCR      220.35
                                                                                               ----- F-TO-D 1 ------      14749.83 FIT      1609.57
                                                                                               ACHBR     457.50            7000.00 FUTA
                                                                                               HSAER      69.24           14749.83 ST KY     600.67
                                                                                               401K       62.21-          15196.88 SUI KY
                                                      PAY ANALYSIS REPORTING
                                                                  086- ALPHABETIC PAYROLL REGISTER            086
                                                                                                                                               PAY
                    REB      HEALTH AND BENEFIT SERVICES, LLC                                        12/28/12         B-12/28/12             26             7
                    NO.         CO. NAME                                                             REPORT DATE         CHECKS DATED         PERIOD   PAGE NO.
                    EMPLOYEE ID                            ....... HOURS AND EARNINGS ....... .... DED AND ADJ ....     .......GROSS TO NET ......
                    EMPLOYEE NAME                          PC DESCR RATE    HOURS    AMOUNT   DESCR   AMOUNT CODES       Y-TO-D   TYPE   CURRENT       CHECK#
                    99-X02-01544
                    RATLIFF, PALACE ASHTON
                             ***** CONTINUED *****
                                                                                                                      --WAGES-- F-TO-D 1 --TAXES--
                                                                                                                          2073.75 SSEC       87.10
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                                                                                                                          2073.75 MDCR       30.06




                                                                                                                                                                  A197
                                                                                                                          2011.54 FIT       214.33
                                                                                                                          2011.54 ST KY      80.11
                                                                                                                          2073.75 SUI KY
                    ------------------------------------------------------------------------------------------------------------------------------------
                    99-X02-97949                            1 REGUL           80.00    1730.77 ACHBR     152.50 0M0*     47567.32 GRCOMP 1638.46
                    SCHUTTERS, JENNIFER E                      HSA                       92.31-HSAER      23.08 0N0      46966.27 GRPAY    1615.12
                                                            ---------- PRE-TAX ITEMS ----------           23.00      *    1997.31 SSEC       68.79
                                                               401K                      17.31-HSA        92.31-060E       689.55 MDCR       23.75
                                                               DENTL                      3.79-401K U      1.00-8F0       7223.55 FIT       230.41
                    SS-NO              FRQ B       STAT A      VISN                       2.24-           17.31-     E    2382.01 ST1 KY     81.05
Filed 04/14/17




                    BASE 1730.77       M/S S       SEX F ------------- Q-TO-D --------------MED                  060     34673.85 NET      1211.12  A230
                    FCAST 80.00E       ST1 KY               1 REGULAR        560.00   12115.39 DENTL       3.79-060E              EFT A    1211.12
                    FILE# 97949        F#EX 00 S#EX 01 8 BONUS                         5000.00 VISN        2.24-060E     CUR SSEC WAGES    1637.99
                    HIRE 11/30/09                           ------------- Y-TO-D --------------LTD               000     CUR MDCR WAGES    1637.99
                    PTO-C                                   1 REGULAR       2080.00   44505.84 LIFE              000 --WAGES-- Q-TO-D --TAXES--
                    OT EX N                                 7 OTHER                     461.54 W2GRP       5.56 0F0*     16465.93 SSEC      691.56
                    DSS PT Y                                8 BONUS                    5000.00 EFTA1                     16465.93 MDCR      238.76
                                                            ------------ F-TO-D 1 ------------------- BAL/LMT ------     16305.84 FIT      2862.87
                    EFT-ACCOUNT#      ID BK TP TRANSIT-NO 1 REGULAR          240.00    5192.31 HSAER     600.00 BAL      16344.76 ST KY     848.45
                                       A 54 C 0421-0119-0 8 BONUS                      5000.00           600.00 LMT      17115.39 SUI KY
Doc 78-1




                                                                                               HSA      2400.06-BAL --WAGES-- Y-TO-D --TAXES--
                    ALT DATE:                                                                           2400.06-LMT      47555.10 SSEC     1997.31
                    DOB:                    12/04/57                                           ------ Q-TO-D -------     47555.10 MDCR      689.55
                                                                                               ACHBR    1067.50          46966.27 FIT      7223.55
                                                                                               HSAER     161.48           7000.00 FUTA
                                                                                               HSA       646.17-         47110.83 ST KY    2382.01
                                                                                               401K      121.17-         49967.38 SUI KY
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                                                                                               DENTL      26.53-      --WAGES-- F-TO-D 1 --TAXES--
                                                                                               VISN       15.68-          9913.97 SSEC      416.38
                                                                                               W2GRP      38.92           9913.97 MDCR      143.75
                                                                                               ------ Y-TO-D -------      9845.36 FIT      1941.23
                                                                                               ACHBR    3965.00           9862.04 ST KY     524.25
                                                                                               HSAER     600.00          10192.31 SUI KY
                                                                                               HSA      2400.06-
                                                                                               401K      444.27-
                                                                                               DENTL      98.54-
                                                                                               VISN       58.24-
                                                                                               W2GRP     144.56
                                                                                               MISC1      78.07
                                                                                               ----- F-TO-D 1 ------
                                                                                               ACHBR     457.50
                                                                                               HSAER      69.16
                                                                                               HSA       276.93-
                                                                                               401K       51.93-
                                                                                               DENTL      11.37-
                                                                                               VISN        6.72-
                                                                                               W2GRP      16.68
                    ------------------------------------------------------------------------------------------------------------------------------------
                                                      PAY ANALYSIS REPORTING
                                                                         086- ALPHABETIC PAYROLL REGISTER            086
                                                                                                                                                      PAY
                    REB              HEALTH AND BENEFIT SERVICES, LLC                                       12/28/12         B-12/28/12             26             8
                    NO.                CO. NAME                                                             REPORT DATE         CHECKS DATED         PERIOD   PAGE NO.
                    EMPLOYEE ID                                   ....... HOURS AND EARNINGS ....... .... DED AND ADJ ....     .......GROSS TO NET ......
                    EMPLOYEE NAME                                 PC DESCR RATE    HOURS    AMOUNT   DESCR   AMOUNT CODES       Y-TO-D   TYPE   CURRENT       CHECK#
                    ------------------------------------------------------------------------------------------------------------------------------------
                    99-X02-97912                                                                                            .00 GRCOMP       .00
                    WILSON, PATRICIA                                                                                        .00 NET          .00
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                                                                                                                                                                         A198
                    SS-NO                     FRQ B     STAT T
                    BASE     1600.00          M/S S     SEX F
                    FILE#    97912            ST1 KY
                    HIRE     06/18/07         F#EX 01   S#EX 01
                    TERM     12/13/11
                    PTO-C
                    OT EX    N
                    DSS PT       Y
                    ALT DATE:
Filed 04/14/17




                    DOB:                          07/12/54
                    ------------------------------------------------------------------------------------------------------------------------------------
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                                                             PAY ANALYSIS REPORTING
                                                                   086- ALPHABETIC PAYROLL REGISTER             086
                                                                                 GRAND TOTALS                                                  PAY
                    REB       HEALTH AND BENEFIT SERVICES, LLC                                         12/28/12       B-12/28/12             26             9
                    NO.         CO. NAME                                                               REPORT DATE       CHECKS DATED         PERIOD   PAGE NO.
                    ************************************************************************************************************************************
                    HOURS/EARNS       PC DESCRIPTION               HOURS          EARNINGS        PC   DESCRIPTION             HOURS          EARNINGS
                       CURRENT        1    REGULAR                712.00         15,666.93             HSA                                      411.54-
                                                                                                       TOTAL                  712.00         15,255.39
                    PRE-TAX ITEMS
                       CURRENT             401K                                     114.25-             DENTL                                       61.42-
                                           MED                                      323.45-             VISN                                        16.62-
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                                           AFLPT                                       8.52-            TOTAL                                      524.26-




                                                                                                                                                                  A199
                    ************************************************************************************************************************************
                    HOURS/EARNS       PC DESCRIPTION                HOURS         EARNINGS        PC    DESCRIPTION              HOURS           EARNINGS
                       Q-TO-D         1    REGULAR              5,215.25        112,442.39        8     BONUS                                   52,500.00
                                                                                                        TOTAL                 5,215.25         164,942.39
                       Y-TO-D         1    REGULAR             18,361.00        415,341.08        7     OTHER                                    2,515.18
                                      8    BONUS                                 52,500.00              TOTAL                18,361.00         470,356.26
                       FLX-1          1    REGULAR              2,176.50         47,467.79        8     BONUS                                   52,500.00
                                                                                                        TOTAL                 2,176.50          99,967.79
                    ************************************************************************************************************************************
                    DEDUCTION TO NET
Filed 04/14/17




                       CURRENT        $LS1             20.00    CHILD             1.06     SPOUS             31.70     STD              22.33
                                      VOLIN            73.80                                                           TOTAL           148.89
                       QTD            $LS1            140.00    CHILD             7.42     SPOUS            221.90     STD             156.31
                                      VOLIN           516.60                                                           TOTAL        1,042.23
                       YTD            $LS1            140.00    CHILD            27.56     SPOUS            847.62     STD             635.08
                                      VOLIN         1,973.90                                                           TOTAL        3,624.16
                       FTD1           $LS1             60.00    CHILD             3.18     SPOUS             95.10     STD              66.99
                                      VOLIN           221.40                                                           TOTAL           446.67
                    EARNINGS FROM DEDUCTIONS
                       QTD            HSA           2,880.78-
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                       YTD            HSA           9,900.04-
                       FTD1           HSA           1,234.62-
                    PRE-TAX ITEMS
                       QTD            401K            813.43- DENTL             429.94-    MED            2,264.15-    VISN            116.34-
                                      AFLPT            59.64-                                                          TOTAL        3,683.50-
                       YTD            401K          2,505.04- DENTL           1,782.96-    MED            8,409.70-    VISN            414.20-
                                      AFLPT           221.52-                                                          TOTAL       13,333.42-
Case 14-50977-BLS




                       FTD1           401K            345.56- DENTL             184.26-    MED              970.35-    VISN             49.86-
                                      AFLPT            25.56-                                                          TOTAL        1,575.59-
                    MEMO DEDUCTION
                       CURRENT        ACHBR         2,086.88    HSAER           115.16
                       QTD            ACHBR        14,608.16    HSAER           807.56
                       YTD            ACHBR        53,442.53    HSAER         2,677.04     MISC1            670.47
                       FTD1           ACHBR         6,260.64    HSAER           345.96
                    OTHER DEDUCTIONS
                       CURRENT        W2GRP            31.72
                       QTD            W2GRP           222.04
                       YTD            W2GRP           817.04
                       FTD1           W2GRP            95.16
                    DED BALANCES
                                      $LS1            140.00    HSA           9,900.04-    HSAER          2,677.04
                    ************************************************************************************************************************************
                    GROSS TO NET           WAGES        SOCSEC        FEDERAL       STATE           LOCAL           SDI/UC        DEDUCTION           NET
                                                        MEDICR
                     CUR     GRPAY      14731.13        421.03        1763.25      741.63 TOT                                        148.89      11440.63
                             GRCOMP     15255.39        215.70                     741.63 KY
                     QTD     GRPAY     158378.11       4319.00       28445.04     8441.02 TOT                                       1042.23     113819.32
                                                       PAY ANALYSIS REPORTING
                                                                  086- ALPHABETIC PAYROLL REGISTER            086
                                                                                GRAND TOTALS                                                 PAY
                    REB      HEALTH AND BENEFIT SERVICES, LLC                                         12/28/12        B-12/28/12           26            10
                    NO.         CO. NAME                                                             REPORT DATE          CHECKS DATED      PERIOD   PAGE NO.
                    GROSS TO NET           WAGES        SOCSEC       FEDERAL         STATE          LOCAL         SDI/UC        DEDUCTION          NET
                                                        MEDICR
                              GRCOMP   162061.61       2311.50                     8441.02 KY
                     YTD      GRPAY    447122.80      16542.31      63329.04      23065.86 TOT                                     3624.16   334029.98
                              GRCOMP   460456.22       6531.45                    23065.86 KY
                    ************************************************************************************************************************************
                    WAGE AND TAXES          QTD WAGES     QTD TAXES     YTD WAGES      YTD TAXES     FX1 WAGES     FX1 TAXES    FX2 WAGES     FX2 TAXES
                    EE SSEC TO LMT          102833.41       4319.00     393864.71       16542.31      43040.80       1807.70
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                        MDCR TO LMT         159413.58       2311.50     450444.88        6531.45      97598.30       1415.16




                                                                                                                                                                A200
                    FIT                     158378.11      28445.04     447122.80       63329.04      97157.58      21046.61
                    FUTA TO LMT               1467.85                    61961.75                       663.63
                    SIT
                    KY KENTUCKY             158600.15       8441.02     447939.84       23065.86      97252.74       5340.32
                    SDI/UC
                    KY KENTUCKY             164942.39                   470356.26                     99967.79
                    ************************************************************************************************************************************
                    CURRENT TAX RECAP                 0      VOID/MANUAL CHECKS INCLUDED
                                                                                    ************************ LIABILITIES ************************
                    FORM 8109 FEDERAL DEPOSIT       TYPE   JURISDICTION             TAXABLE WAGES    LIMIT   WAGES TO LIMIT   RATE          AMOUNT
Filed 04/14/17




                    EMPLOYEE SSEC          421.03
                    EMPLOYEE MDCR          215.70
                    EMPLOYER SSEC          621.53                                     14,877.10   110100            10,024.60   6.20 %     621.53 SSEC
                    EMPLOYER MDCR          215.72                                     14,877.10    UNLIM            14,877.10   1.45 %     215.72 MDCR
                    EMPLOYEE FIT         1,763.25
                    TOTAL DEPOSIT        3,237.23                                                                               7.65 %     837.25
                                                    FUTA STANDARD RATE                14,845.38      7000              206.21    .60 %       1.24
                                                    FUTA KENTUCKY         CR RED                     7000           61,961.75    .60 %     371.77
                                                    TOTAL                                                                                  373.01
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                                                     SUI    KY-KENTUCKY                15,666.93     9000           210.00    2.70 %          5.67
                                                     TOTAL                             15,666.93                                              5.67
                                                                                   ***************** STATE/LOCAL TAXES WITHHELD ****************
                                                                                   TAXABLE WAGES    LIMIT   WAGES TO LIMIT     RATE         AMOUNT
                                                     SIT    KY-KENTUCKY                14,762.85                                            741.63
                                                     TOTAL                             14,762.85                                            741.63
                    FEDERAL 401-K DEFERRAL LIMIT                                                    17000
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                    FEDERAL 401-K CATCH-UP DEFERRAL LIMIT                                            5500
                    EMPLOYEE CENSUS    ACTIVE EMPS      9                         NET PAY ANALYSIS    # DEP ADV       9    EFTS TOTAL    11,440.63
                                       TERM EMPS        2                                             # EMPS PAID     9    TOTAL NET     11,440.63 *
                                       TOTAL EMPS      11                                                                  TOTAL TAXES    4,357.54 **
                                                                                                                                         15,798.17 ***
                    ************************************************************************************************************************************
                                                      PAY ANALYSIS REPORTING
                                                                    086- ALPHABETIC PAYROLL REGISTER            086                          
                                                                           BILLING AUDIT INFORMATION                                              PAY
                    REB        HEALTH AND BENEFIT SERVICES, LLC                                        12/28/12       B-12/28/12              26              11
                    NO.           CO. NAME                                                             REPORT DATE       CHECKS DATED            PERIOD   PAGE NO.
                    ------------------------------------------------------------------------------------------------------------------------------------
                          11 EMPLOYEES INCLUDED.               12 DATA GROUPS SELECTED.           1 COPY PRINTED.
                    OUTPUT MEDIA - PRINTED - YES              ORCHESTRATOR PRINT - NO                                   CD-ROM FILE - NO
                    REPORT TYPE - PAY ANALYSIS REPORT         DETAIL                                                    I/P    12/12/11 10.04.43          R34.08
                                                                                                                        O/P    12/12/21 13.54.23          R34.73
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                                                                                                                        PRT    12/12/21 13.54.42




                                                                                                                                                                     A201
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                EXHIBIT E




                                                         A202
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                EXHIBIT F




                                                         A206
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      INITIAL EXPERT REPORT OF JAMES M. LUKENDA, CIRA, CFF
                           Spara, LLC




James M. Lukenda, CIRA, CFF
Huron Consulting Services LLC

October 7, 2016




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Initial Expert Report of James M. Lukenda, CIRA, CFF
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           SUMMARY OF OPINIONS ................................................................................................ 4
           BACKGROUND ON SPARA, LLC ..................................................................................... 5
Approach to Determining Solvency ......................................................................................... 5
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Appendices

Exhibits




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Appendices

A.     Curriculum Vitae of James M. Lukenda, CIRA, CFF
B.     List of Adversary Proceedings
C.     List of Documents Relied Upon



Exhibits
I.     Spara, LLC Organization as of June 30, 2012
II.    Liquidity Communications Examples
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    Introduction

    PREFACE

Pachulski Stang Ziehl & Jones LLP (“PSZJ” or “Counsel”), in its capacity as legal counsel for
Spara, LLC (“Spara” or the “Debtor”) and Fred C. Caruso, solely in his capacity as the
Revstone/Spara Litigation Trustee for the Revstone/Spara Litigation Trust, retained Huron
Consulting Services LLC (“Huron” or “we”) and through Huron, James M. Lukenda, CIRA, a
Managing Director, as its financial expert in the adversary proceedings filed in the Debtor’s
Chapter 11 case. 1

Counsel requested that Huron evaluate a transaction that is the subject of the adversary
proceeding captioned as Caruso v. Scott Hofmeister, et al., Adv. No. 14-50984 (BLS). In this
transaction, George S. Hofmeister (“Hofmeister Senior”) caused to be made a cash transfer of
Spara’s funds to his son, Scott R. Hofmeister. Counsel requested that Huron determine whether
there were Spara creditors as of the bankruptcy petition date that also had amounts owed to them
since the date of this transaction (the “Predicate Creditors”). Counsel also requested that Huron
evaluate the Debtor’s insolvency at the time of this transaction, and determine the additional
damages Spara suffered as a result of this transaction.

For purposes of this Report, the relevant period Huron considered was the month of June 2011
(inclusive of the transaction date, June 29, 2011, the “Relevant Period”).




1
  Spara’s Chapter 11 case is pending in the United States Bankruptcy Court for the District of Delaware as In re
Revstone Industries, LLC, et al., Case No. 12-13262 (BLS). This report pertains to two of the adversary proceedings
filed in the Debtor’s Chapter 11 case, both of which are identified on Appendix B hereto. A third adversary
proceeding filed in the Debtor’s Chapter 11 case (Adv. No. 14-50985) currently is stayed in its entirety and thus is
not the subject of this Report.


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    SCOPE

Huron is a management consulting firm and not a CPA firm. Huron does not provide attest
services, audits, or other engagements in accordance with standards established by the American
Institute of Certified Public Accountants (“AICPA”) or auditing standards promulgated by the
Public Company Accounting Oversight Board (“PCAOB”). The procedures that Huron
performed do not constitute an audit of the financial statements of the Debtor in accordance with
the AICPA’s or PCAOB’s auditing standards. Accordingly, Huron expresses no opinion or other
form of assurance on any financial statements, management representations, or other data
provided by any of the parties included in or underlying the accompanying report.




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    QUALIFICATIONS

I am a Managing Director of Huron’s Business Advisory practice. I have served in this capacity
since Huron’s founding in 2002. Prior to that time I was a Partner in Arthur Andersen LLP’s
Corporate Recovery Services practice based in New York. My work in the Huron Business
Advisory practice and prior to that, my work with Arthur Andersen’s Corporate Recovery
practice, going back to 1989, has been focused on assisting clients with turnaround,
restructuring, and bankruptcy matters, working on behalf of companies and their directors,
lenders, committees of creditors, and other parties-in-interest including individual creditors, in
capacities ranging from consultant and advisor to financial expert and chief restructuring
officer. My industry experience tracks the cycles of troubled industries in the United States and
abroad: manufacturing, publishing and media, energy, telecommunications, construction
contracting, airlines, and retail, to name a few. Among the hallmark cases with which I have
been involved are Federated Department Stores, JWP, Pocket Communications and DCR PCS,
Global Crossing Ltd., Northwest Airlines, Nortel Networks, The Great Atlantic and Pacific Tea
Company, Residential Capital, LLC, and Sherwin Alumina Company. I have also worked on
assignments for many middle market companies, providing a range of services including
valuation and solvency analyses, analysis in avoidance matters, forensic accounting, and
investigations. I am well familiar with the Debtor’s Chapter 11 case, and the reasons the Debtor
sought Chapter 11 protection. I served as the Deputy Chief Restructuring Officer for Revstone
Industries, LLC (“Revstone”) and Spara during their Chapter 11 case.

I regularly lend my experience to industry education programs addressing bankruptcy and
restructuring topics for groups such as Practising Law Institute, American Bankruptcy Institute
and Association of Insolvency and Restructuring Advisors (“AIRA”). I am one of the authors of
the AICPA/AIRA publication, 2005 Bankruptcy Revisions Implications for Businesses and
Financial Advisors.

I am a Certified Insolvency and Restructuring Advisor (“CIRA”), Certified in Financial
Forensics (“CFF”), and an active member of AIRA.

I hold a Bachelor of Science in Business Administration degree, cum laude, in Accounting from
Georgetown University. Attached as Appendix A is a copy of my curriculum vitae with
citations of publications and speaking engagements, and matters involving depositions and
expert testimony.

During my 27 plus years of experience in bankruptcy and restructuring, my work has regularly
included the analysis of transfers and Chapter 5 causes of action, solvency, and other valuation
questions, as well as analyses of the affirmative defenses available to creditors under applicable
statutes related to avoidable transactions. As a result, I have the necessary familiarity and
expertise to address the matters for which Counsel has engaged Huron.


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    BACKGROUND ON SPARA, LLC

The Debtor was formed on August 2, 2010 as a Delaware limited liability company, pursuant to
an operating agreement, effective August 2, 2010, by and among three irrevocable trusts
established for Hofmeister Senior's three children – the Megan G. Hofmeister Irrevocable Trust,
the Scott R. Hofmeister Irrevocable Trust, and the Jamie S. Hofmeister Irrevocable Trust
(collectively, the "Children's Trusts").

On or about July 1, 2011, the Children's Trusts assigned all of their membership interests in the
Debtor to Ascalon Enterprises, LLC ("Ascalon"), which currently has, pursuant to Spara’s
confirmed plan of reorganization, a suspended 100% of the membership interests in Spara.

The Debtor, through its non-debtor subsidiary operating companies, was a manufacturer of
engineered components for the automotive aftermarket industry, plastic injection molding and
other industrial sectors. The Debtor is a holding company, the assets of which at the time of the
transfer to Scott R. Hofmeister consisted of related entity receivables, cash, and interests in
certain non-debtor subsidiaries.

On December 3, 2012, Spara commenced its bankruptcy case under Chapter 11 of the
Bankruptcy Code. At all relevant times up to the bankruptcy, Hofmeister Senior was the
Chairman and sole member of Ascalon’s Board of Managers, and was the Chairman and sole
member of Spara’s Board of Managers. With the appointments of independent board members
and the Chief Restructuring Officer, by January 17, 2013, Hofmeister Senior’s executive and
decision making authority with respect to Spara was effectively terminated.

Spara’s organization chart as of the Relevant Period is provided in EXHIBIT I.


    Approach to Determining Solvency

    BALANCE SHEET TEST


The Bankruptcy Code defines “insolvent” as:

        a financial condition such that the sum of such entity’s debts is greater than all of such
        entity’s property, at a fair valuation, exclusive of (i) property transferred, concealed, or
        removed with intent to hinder, delay, or defraud such entity’s creditors; and (ii) property
        that may be exempted from property of the estate under section 522 2



        2
            11 U.S.C. § 101 (32)(a).



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In evaluating solvency from a balance sheet perspective, whether assets at fair value exceed
liabilities, the valuation of the assets may be approached from a number of perspectives. These
include, among other methods, valuation based on projected cash flows, comparable market
multiple analysis, and comparative market transactions.

In evaluating Spara’s solvency and reaching my conclusion that Spara was insolvent during the
Relevant Period, I largely relied on a market transaction approach given the nature of Spara’s
holdings and the timing of Spara’s acquisition of those assets as discussed below.

As stated above, Spara is a holding company organized under the laws of Delaware. On a
standalone basis, Spara had no manufacturing operations and no known amounts of tangible
assets such as furnishings and equipment during the Relevant Period. Spara shared a
management team with its sister entity, Revstone, which team varied in size and cost over time,
and simply managed its controlling interest in its investments that were a result of acquisitions.
Throughout the Relevant Period, Spara’s assets consisted of cash, investments in subsidiaries,
and some receivables from other Hofmeister entities.

Between August 2, 2010 (when Spara was formed) and December 31, 2010, Spara appears to
have been a paper entity with no activity. Spara’s Form 1065 US Partnership Tax return shows
no income or expense for the period from Spara’s inception to December 31, 2010.

Acquisitions: T Cast Holdings, LLC

As of December 31, 2010, Spara acquired the membership interest in T Cast Holdings, LLC (“T
Cast”).

T Cast was purchased by Revstone Tool & Engineering, LLC (“Tool & Engineering”), a
Revstone subsidiary, on March 12, 2010. On July 14, 2010, T Cast formed its one and only
subsidiary, Spara Tactical Mobility, LLC (“Spara Tactical”). Collectively, the two entities were
member managed as one.

Tool & Engineering assigned its membership interest in T Cast to Spara on December 31, 2010.
The transfer documents state the assignment was for “valuable consideration”; however, there is
no evidence of any consideration provided between the assignee and assignor. At the time of the
transfer, Spara had no bank account or any other identified assets.

From the initial acquisition by Tool & Engineering, T Cast reported operating profit with $1.548
million of operating income in FY2010 and $550,000 of operating income through June 30,
2011. On a trailing twelve month basis (“TTM”), T Cast’s June 30, 2011 EBITDA was $1.8
million. T Cast managed to remain shielded from active management by Hofmeister Senior, and
thus avoided the proliferation of stripping cash for the benefit of the Hofmeister family, the
Children’s Trusts, and third parties that other Hofmeister entities experienced. As a result, T Cast
continued on the path of profitable operations.



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T Cast was ultimately sold on December 12, 2014 for $17 million and realized net proceeds of
$15.9 million after transaction costs and settling its outstanding debt. At that time (December
2014), T Cast’s TTM EBITDA was $4.2 million, which garnered a 4x sale multiple. If applying
the inverse multiple of 24.8% (1 less 4X) with a growth rate of 1.8% (2012 IMF growth rate) to
the June 30, 2010 TTM EBITDA of $1.8 million, the June 30, 2011 terminal value for T Cast
would be $8.2 million. This is substantially less than the sale value in 2014, which I attribute to
a far greater improvement in T Cast’s operations over the period than originally forecast. In
order to avoid any doubt regarding the T Cast valuation, I have chosen to use the 2014 sale
proceeds as the value for T Cast during the Relevant Period.

Spara Tactical failed to gain any operating traction and incurred losses resulting in negative
equity as of June 30, 2011. Spara Tactical ultimately closed its doors and was liquidated with no
recovery to either T Cast or Spara.

Acquisitions – RPM-TEC, LLC

RPM-TEC, LLC (“RPM”) consisted of a group of companies including: RPM Towing, LLC,
RPM Retail Sales (non-operating), LLC, Saleen, LLC, Saleen Distribution & Sales (non-
operating), LLC, Power-Tech Manufacturing, LLC, Arrow Racing, LLC and Arrow Racing
Engines, LLC (non-operating).

The membership interests of all the above noted RPM entities, including RPM, were assigned via
an Assignment of Membership interest from Revstone to Spara on June 1, 2011. Like the T
Cast assignment, the documents indicate that the assignment was made for “valuable
consideration”; however, there is no evidence of any consideration provided between the
assignee and assignor.

From the time the RPM entities were acquired in April 14, 2010 by Tool and Engineering,
excluding the Arrow Racing entity, RPM generated losses measured on an EBITDA basis (as
reflected in their audited and internal financial statements) of negative $1.6 million for FY2010
and negative $3.9 million through June 30, 2011. Interest due on various loans with which the
RPM entities were encumbered and capital investment needs further eroded the value of these
entities to the point where RPM reported negative $5.9 million in equity as of June 30, 2011.

Arrow Racing was sold back to its original owner on July 7, 2011 for a promissory note
discharge on outstanding notes payable by Power-Tec, Arrow Racing, and Saleen from the
original purchase by Revstone. Even with the non-cash gain realized from the note discharge,
the RPM entities were unable to continue and their respective businesses and operations ceased
in or around November 2011 for RPM Towing, the summer 2012 for Saleen, and in or around
November 2012 for Power-Tec.

Eventually, all the remaining RPM assets were liquidated, with the minimal proceeds paid to its
creditors. Spara realized nothing from its investment in these entities.




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As indicated above, by June 2011, it was clear that Spara’s investment in the RPM entities had
no value.

Acquisitions – Lexington Logistics, LLC

On June 7, 2011 Spara incorporated Spara Logistics, LLC (whose name was subsequently
changed to Lexington Logistics, LLC and is referred to herein as “Lexington”) to acquire,
through an Article 9 sale, the assets of TriEnda, LLC and TriEnda DISC, Inc. (“TriEnda”) from a
lender group agented by Fifth Third Bank (“Fifth Third”). The transaction closed on June 24,
2011 for a purchase price of $27,112,208, with $4 million paid by Spara as an equity investment
in Lexington and Fifth Third rolling over its outstanding TriEnda loan to Lexington for the
balance.

Spara funded its Lexington investment through a $6 million loan from BFG (the “BFG Loan”)
on June 20, 2011.

Spara purchased the TriEnda assets for Fifth Third’s asking price. The available information
indicates that Fifth Third’s agreement to roll the balance of the TriEnda debt, and only require $4
million of cash to purchase the assets, was a sufficient market test for Hofmeister Senior.

It quickly became clear that Hofmeister Senior had overpaid for the Lexington assets. By early
2012, Spara was shopping Lexington for sale with no success. In November 2012, BFG
foreclosed on an assignment of membership interest in Lexington that it had taken as collateral
for the BFG Loan. In 2013, Fifth Third began state court foreclosure proceedings against the
Lexington assets. In April 2014, the Lexington business and assets were sold for less than the
value of the Fifth Third debt.

As of December 31, 2011, Lexington’s financial statements indicated a members’ equity of
$8,746,164. This balance is comprised of the $4 million cash investment, an operating loss of
almost $2.1 million for the approximately 5 months from the acquisition date to year end 2011,
and an extraordinary gain of $6.8 million to record a so called “bargain purchase” at the
acquisition date. The resulting economics of the Lexington situation illustrate that the “bargain
purchase” gain had no basis in fact.

While all properly considered evidence indicates that the value of Spara’s investment as of June
20, 2011 and thereafter was less than the $4 million paid at acquisition, I conservatively have
chosen to use that value for purposes of my insolvency analysis.

Other assets

Other than its investments in subsidiaries, Spara’s assets during the Relevant Period consisted of
receivables from related entities and the remaining unspent cash from the BFG loan. The



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following chart details the disbursements made from the BFG loan proceeds between June 20,
2011 and June 30, 2011.




Spara recorded intercompany receivables of $519,224.67 consisting of amounts due from the
Children’s Trusts of $285,000 and $234,224.67 due from Spara companies within RPM. As
none of these balances had characteristics that could allow them to be considered collectible, I
have adjusted these receivables to zero value in my insolvency analysis.

Spara Obligations and Pension Plan Controlled Group Liability

During the Relevant Period, Spara was obligated to a landlord, Gratiot, and to BFG for its $6
million loan. As discussed below, as a member of the ERISA controlled group with other
Hofmeister entities, Spara also was an obligor for the underfunded pension plans at other
Revstone entities.

Hofmeister Senior, though Revstone Transportation, began his Revstone acquisitions with the
purchase of the membership interest in Hillsdale Automotive, LLC (renamed Metavation, LLC
and now known and referred to herein as TPOP, LLC or “TPOP”) and its Mexican subsidiary
Eptec, S.A. de C.V. (“Eptec”) for one dollar ($1.00) on November 28, 2008. In acquiring the
member interest in TPOP, the Revstone and subsequently Spara entities became obligated as a
group for any underfunding of the Hillsdale pension plans under the controlled group liability
provisions of ERISA. Upon the acquisition of the entity now known as Fairfield Castings, LLC
(“Fairfield”), Revstone, Spara and their affiliates became obligated for the underfunding of the
Fairfield pension plan. My analysis includes the obligations presented on the TPOP and
Fairfield financial statements representing the difference between plan assets as reported and the
accumulated benefit obligations. These obligations are valued based on the assumption that the
pension plans continue. Since an actuarial valuation of the Hillsdale and Fairfield pension plans
has not been performed as of mid-year 2011, for purposes of this analysis I have used the


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underfunded amount reported by TPOP and Fairfield as of December 31, 2010, rather than the
higher underfunded amount reported at December 31, 2011. From this conservative starting
point, it is reasonable to conclude that the actual underfunding during the Relevant Period, for
which Spara was liable as a member of the controlled group, fell between the amounts measured
at both year ends. Pursuant to the settlement reached with Pension Benefit Guaranty Corporation
(the “PBGC Settlement”), which was approved by the United States Bankruptcy Court for the
District of Delaware, the pension plans were terminated, resulting in a claim against the
controlled group entities of $95 million. After considering the adjustment discussed below for
the uncollectible prohibited investments, Spara’s insolvency reflected on Table 1 below would
be at least $31 million greater when considering the additional liability under the PBGC
Settlement and pension plan terminations.

Adjustment for Uncollectible Prohibited Investments

Starting in January 2009, Hofmeister Senior caused the Hillsdale and Fairfield pension plans to
convert third party investments to loans and notes and other related party assets. These
transactions were prohibited under ERISA regulations. Many of these loans went to purchase
other distressed assets, and many of the borrowing entities did not have the collateral or ability to
repay the amounts borrowed. Despite the poor credit profile of these investments, Hofmeister
Senior had the loans and investments reported at face value in the calculation of the unfunded
pension obligations. The amount of the uncollectible prohibited investments that were not
recognized as such in the calculations of the unfunded pension obligation rose from $4.9 million
in 2009 to over $31 million in 2012. As of June 2011, most of the diversion of pension assets
into these prohibited transactions had already taken place. The adjustment for Hillsdale Pension
Plan Liability Prohibited Loans adjusts Spara’s controlled group liability for the unfunded
pension obligations not recognized in the financial statements because of the overstatement of
the value of the prohibited transactions.




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        SPARA – INSOLVENT

Balance Sheet Test

Table 1 below illustrates that even after giving recognition to the value contained in the T Cast
investment, Spara was hopelessly insolvent on June 30, 2011 and at all times surrounding that
date. The total of liabilities for which Spara was an obligor exceeded the fair value of its assets
by not less than $46,367,000.

    TABLE 1                                                    as of June 30, 2011
                                                                     Fair Value
    (in thousands)                                Book Balance      Adjustments      Fair Value
    Cash                                           $     1,071                       $     1,071
    Intercompany A/R                                       519              (519)            -
    Investment in Subs:
      T Cast, LLC                                         3,819           12,063          15,882
      RPM-Tec, LLC                                       (5,902)          (5,902)            -
      Lexington Logistics                                 8,746           (4,746)          4,000
    BFG Note                                             (6,000)                          (6,000)
    Spara Net Value                                $     2,254                       $    14,953


    Controlled Group Liability
    Controlled Group Pension Liability -
    Hillsdale Pension Plan                                                                (29,039)
    Controlled Group Pension Liability -
    Fairfield Pension Plan                                                                 (2,276)
    Hillsdale Pension Plan Liability Prohibited
    Loans                                                                                 (30,025)
    Controlled Group Pension Plan Liability                                          $   (61,340)

    Spara, LLC Insolvency (Liabilities exceed                                        $   (46,387)
    Assets)

Capitalization

I found no evidence in the records that Spara was ever capitalized with any monetary equity
investment. While the transfer into Spara of RPM and T Cast could be considered an equity
investment from Spara’s ultimate parent, these transfers provided Spara with no liquidity. In my
opinion, Spara was without adequate capital from inception.




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Cashflow and Ability to Pay Debts as They Came Due

Leading up to, during, and after the Relevant Period, Hofmeister Senior played a constant shell
game moving cash among Revstone, Spara, and non-Revstone/Spara entities, borrowing at one
entity and using the cash at another, and generally not paying obligations as they came due.

One of the most glaring examples of this type of activity relates to the self-insured health plan
that was initially a Revstone subsidiary and later moved to Ascalon. At the time the CRO was
appointed in January 2013, the Ascalon Health Plan was owed almost $5.1 million from various
Revstone entities. Because of cash constraints at the entity level, Hofmeister Senior allowed the
individual entities whose employees participated in the health plan to defer making the
employer’s portion of the health and dental plan monthly premiums. At least $741,000 of that
amount was outstanding related to periods prior to the end of 2011.

Probably the most illustrative way to demonstrate the constant pressure the Revstone and Spara
employees were under for paying bills is to let them speak through their e-mail correspondence.
The e-mail correspondence my staff and I reviewed during our work is replete with discussion of
the pressure Revstone and Spara were under because of a lack of adequate funding. The
accompanying Exhibit II presents examples of that e-mail correspondence involving Revstone,
Spara, and Spara’s investments.

    Transactions

Payment information underlying the statements and conclusions in this report originated from
one primary source. Huron reviewed the majority of the transactions in Spara’s sole operating
bank account, Fifth Third Account No. 7381005722 (the “Spara Bank Account”). The Spara
Bank Account was controlled and maintained by Spara, and was used to transact Spara’s
business including the receipt and payment of various intercompany loans, loans from third
parties, and subsidiary operations. The Spara Bank Account was opened on June 20, 2011 and
closed on March 7, 2012.

                       SCOTT HOFMEISTER – HARVARD TRANSFER

According to Spara’s books and records, a total of $70,000 of Spara’s funds was transferred to
Hofmeister Senior’s son, Scott R. Hofmeister (“Scott Hofmeister”), for a Harvard Business
School tuition payment (the “Harvard Transfer”) on June 29, 2011. The Harvard Transfer was
made via wire transfer from the Spara Bank Account. A copy of the wire confirmation and
related correspondence for the Harvard Transfer is attached as EXHIBIT III to this Report.

There is no evidence indicating (i) that Spara was repaid for the Harvard Transfer, (ii) that Spara
received any promissory notes, written agreements, or verbal repayment promises in exchange
for the Harvard Transfer, (iii) that Spara owed any debt to any recipient or beneficiary of the



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Harvard Transfer at the time of the Harvard Transfer, (iv) that Scott Hofmeister provided any
services or anything else of value to Spara in exchange for the Harvard Transfer, or (v) that
Spara otherwise had any obligation to make the Harvard Transfer or received any value in
exchange for the Harvard Transfer. In fact, the information available indicates that Scott
Hofmeister was a student at Harvard Business School, and that the Harvard Transfer was made
to pay his tuition.

Based on the foregoing, it is my opinion that (i) the Harvard Transfer was made to Scott
Hofmeister on June 29, 2011, (ii) Spara did not receive reasonably equivalent value in exchange
for the Harvard Transfer, and (iii) as discussed in the Insolvency Section of this Report, Spara
was insolvent at the time of the Harvard Transfer. The Trustee is entitled to recover the principal
amount of the Harvard Transfer plus prejudgment interest at the federal judgment rate from the
date of the Harvard Transfer.

    Predicate Creditors

As discussed in the Acquisitions – Lexington Logistics, LLC section of this Report, BFG loaned
Spara $6 million on June 20, 2011. Spara remained indebted to BFG on this loan as of the
December 3, 2012 petition date.

On June 10, 2011, Spara entered into a real property lease with Gratiot for an industrial facility
known as 31271, 31281, 31291 Comcast Drive in New Haven, Michigan. Obligations under the
lease remained unpaid as of the petition date, and Gratiot filed Claim No. 527 against the Debtor.




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APPENDIX B
Spara, LLC
List of Adversary Proceedings

1.    Caruso v. Scott R. Hofmeister, et al., Adv. No. 14-50984 (BLS) (Bankr. D. Del.)
2.    Caruso v. Homer W. McClarty, et al., Adv. No. 14-50986 (BLS) (Bankr. D. Del.)




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APPENDIX C
Spara, LLC
Documents and Other Information Relevant to Expert’s Analysis and Conclusions



 1.    Debtor’s shared database of electronically stored information, including emails
 2.    2010 and 2011 internal financials for Spara and Spara subsidiaries
 3.    2010 Consolidated Financial Statements with Supplementary Information, T Cast
       Holdings, LLC and Subsidiary
 4.    Lexington Logistics, LLC Financial Statements and Independent Auditors’ Report for
       the Period From June 24, 2011 (Date of inception) Through December 31, 2011 (draft
       form)
 5.    Tax related documents from Debtor’s shared database of electronically stored
       information
 6.    Pension Plan documents: 2007-2011 Form 5500 filings; 2011 Determination Letter;
       2006 IRS Review; 2009-2012 Schedule of Assets
 7.    Fifth Third Bank Account: wire transfer confirmations, internal wire log
 8.    Transactional records for Spara and its subsidiaries, including purchase and sale
       agreements
 9.    Spara and its operating subsidiaries’ credit agreements, promissory notes, and guarantees
10.    Organizational records of Spara and its subsidiaries
11.    Organizational records of Hofmeister’s related entities
12.    Organizational records of the Children’s Trusts and their related entities
13.    Organizational records of the Family Trust and its related entities
14.    Documents produced and/or filed by Spara or the Trustee in the Adversary Proceedings
       and related proceedings
15.    Documents produced and/or filed by the Defendants in the Adversary Proceedings and
       the defendants in related proceedings
16.    Documents filed by Spara or other parties in Spara and TPOP’s Chapter 11 cases
17.    Documents produced by Mellen, Smith & Pivoz, PLC
18.    Spara’s creditor files and proofs of claim.
19.    Accounting for Business Combinations (ASC 805)




                                                                              A227
       Spara, LLC                                DEBTOR
       Organizational Chart
       As of June 30, 2011                      Spara, LLC
                                                                                                     EXHIBIT I




                            T Cast                                     Lexington
                                                  RPM-Tec,
                           Holdings,                                   Logistics,
                                                    LLC
                             LLC                                         LLC
                                                                                                                 Case 14-50977-BLS




                          Spara Tactical
                            Mobility,
                              LLC
                                                                                                                 Doc 78-1
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             Saleen                                                      Power-Tec
                                              RPM         RPM Retail                     Arrow Racing,
         Distribution &   Saleen, LLC                                   Manufacturing,
                                           Towing, LLC    Sales, LLC                         LLC




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          Sales, LLC                                                        LLC
                                                                                                                 Page 228 of 309




                                                                         Power-Tec
                                                                                         Arrow Racing
                                                                        Manufacturing,
                                                                                         Engines, LLC
                                                                         LLC (MI)
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Exhibit II
Spara, LLC
Liquidity Communications Examples


  Date         From                   To                      Subject Entity            Subject
  2/1/2011 D. Lindlbauer M. Putz, M. Bourdage                   Power Tec           Medical Insurance
                         D. Smith, T. Herzinger, J.
  4/7/2011  C. Saurini                                          Power Tec         Corporate AP 04-06-11
                         Stipp
                           A. Smith, B. Smith, D.
 5/30/2011    D. Smith     Lifton, J. O'Toole, J. Brown,    Power Tec, Valley        Cash Forecasts
                           M. Mitchell, M. Carr
                           J. O'Toole, D. Smith, R.
 5/30/2011     M. Putz                                      Power Tec, Valley        Cash Forecasts
                           LaCourciere
                           G. Hofmeister, D. Smith, J.
  6/2/2011    J. Ackley                                           Spara          Boston Finance Meeting
                           O'Toole, G. Wheeler
  7/1/2011    H. Harvey    G. Hofmeister                          Valley            Valley Funding
 7/18/2011   M. Bourdage   M. Putz                              Power Tec         PowerTec Consumers




                                                                                   A229
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                                                         A231
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                                                         A238
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EXHIBIT III
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   EXHIBIT III
   page 2 of 2

  From:    George Hofmeister <ghofmeister@revstone.com>
Subject:   Fwd: Spring Tuition
  Date:    November 15, 2011 2:30:45 PM EST
     To:   asmith@revstone.com



Alex: We need $50k to Scott in next couple weeks. george

---------- Forwarded message ----------
From: Hofmeister, Scott <shofmeister@mba2013.hbs.edu>
Date: Mon, Nov 14, 2011 at 5:41 PM
Subject: Spring Tuition
To: "ghofmeister@revstone.com" <ghofmeister@revstone.com>


Babson Tuition Dues: $27,248

HBS Tuition Dues:

DATE TERM DESCRIPTION CHARGES                       CREDITS
     ------------ NEW ITEMS ------------
10/17/2011         12S      Tuition - HBS 1st Year        $25,600.00
10/18/2011         12S      HUSHP Student Health Ins Plan $917.00
10/18/2011         12S      HUSHP Student Health Fee- Grad $593.00
10/17/2011         12S      Program Support Fee - Year 1 $3,195.00
10/17/2011         12S      Student Assoc. Dues - HBS        $51.00
10/17/2011         12S      Shad Hall - HBS                  $160.00

AMOUNT DUE:         $30,516.00

Remaining from June funding:

$70,000
(29,516)
(27,248)
(2,251)
=$10,985

Due: 30,516 + 27,248 - 10,985 = $46,779

Scott Hofmeister
HARVARD | BUSINESS | SCHOOL
MBA Class of 2013
cell: (859)576-7261




                                                                       A242
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                EXHIBIT G




                                                         A243
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                                                                             Page 1
1             IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE DISTRICT OF DELAWARE
2
     In Re:
3    REVSTONE INDUSTRIES, LLC, et al.,
          Reorganized Debtors.
4    ________________________________               Chapter 11
                                                    Case No. 12-13262 BLS
5    FRED C. CARUSO, solely in his                  Jointly Administered
     capacity as the Revstone/Spara
6    Litigation Trustee for the
     Revstone/Spara Litigation Trust,
7              Plaintiff,
     v.                                  Adv. No. 14-50984 BLS
8    SCOTT R. HOFMEISTER, et al.,
                Defendant.
9    __________________________________________________________/
10   and
11            IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE DISTRICT OF DELAWARE
12
     In Re:
13   REVSTONE INDUSTRIES, LLC, et al.,
          Reorganized Debtors.
14   ________________________________               Chapter 11
                                                    Case No. 12-13262 BLS
15   FRED C. CARUSO, solely in his                  Jointly Administered
     capacity as the Revstone/Spara
16   Litigation Trustee for the
     Revstone/Spara Litigation Trust,
17             Plaintiff,
      v.                                 Adv. No. 14-50977 BLS
18   SCOTT R. HOFMEISTER, et al.,
                Defendant.
19   _________________________________________________________/
20
21               DEPOSITION OF SCOTT HOFMEISTER
22             Troy, Michigan | December 15, 2016
23
24   Reported by: Anne Vosburgh, CSR, RPR, CRR
25   Job No: 116554


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                                                                               Page 31
1                     SCOTT HOFMEISTER
2    contract presently.
3            Q     How much is it under contract for?
4            A     900,000.
5            Q     When is that contract expected to
6    close?
7            A     Expected close is January 15th,
8    2017.
9            Q     There are no liens listed in
10   connection with Bourbon Street 2, LLC, and
11   its single asset.
12                 Are there any liens?
13           A     Not that I'm aware of.
14           Q     No mortgages?
15           A     No mortgages.
16           Q     Have you ever worked for
17   Spara LLC?
18           A     Can you be more specific about
19   "worked"?
20           Q     Have you ever been employed by
21   Spara, LLC.
22           A     As in, on my paycheck, did it say
23   Spara, LLC?
24           Q     We'll start with that.
25           A     Not that I recall.          I don't


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                                                                            Page 32
1                   SCOTT HOFMEISTER
2    remember specifically.
3          Q     Let's get to a little broader
4    definition of "worked for Spara."
5                Have you ever held any titles at
6    Spara, LLC, like president or vice president
7    or CFO?
8          A     Not that I recall.
9          Q     Have you ever performed any
10   services for Spara, LLC?
11        A      I believe so.
12        Q      What services did you perform for
13   Spara, LLC?
14        A      Similar services that I provided
15   to Revstone.
16        Q      What were those services?
17        A      Those services were mergers and
18   acquisitions, due diligence, operations
19   improvement.
20        Q      What is Spara, LLC?
21        A      I presume it's a corporate entity.
22        Q      Is it an operating company?
23        A      I believe it has or had assets
24   that are operating entities.
25        Q      What are or were Spara, LLC's,


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                                                                            Page 33
1                   SCOTT HOFMEISTER
2    operating entities?
3          A      I don't want to misspeak because I
4    don't recall specifically which companies
5    were in Spara versus Revstone versus who
6    knows what other legal structures.
7                 But I believe Techcast was a Spara
8    company.    And I believe -- actually, I don't
9    know that Techcast was Spara.
10        Q       Besides T-Cast, are you aware of
11   any other companies that were Spara, LLC,
12   operating companies?
13        A       I'm aware of other operating
14   companies.    I don't know if they fell under
15   the Spara, LLC, legal entity.
16        Q       What M&A services did you provide
17   to T-Cast?
18        A       M&A services to TechCast.
19                In general, the mergers and
20   acquisitions sourcing were deal-sourcing,
21   identifying potential bolt-on acquisitions,
22   other companies that fit with the business
23   model.    It would promote vertical or
24   horizontal integration.
25        Q       Tell me specifically what M&A


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                                                                            Page 34
1                  SCOTT HOFMEISTER
2    services did you provide to T-Cast.
3                I understand, in general, what M&A
4    services are.   Tell me what you did for
5    T-Cast.   What transactions?
6          A     It's hard for me to say
7    specifically which parts of the M&A
8    activities were specifically allocated to one
9    of many operating companies.
10        Q      Can you tell me any M&A activity
11   you did specifically for T-Cast?
12        A      Not that I remember.
13        Q      What M&A activity did you do for
14   any other Spara, LLC, entity?
15        A      Again, it would be harder for me
16   to say specifically because I don't recall
17   which companies were within the legal
18   structure of Spara, LLC.
19        Q      So as you sit here today, it would
20   be fair to say you're not sure whether you
21   did any M&A activity for a Spara entity
22   because you can't remember, other than
23   T-Cast, what Spara had owned?
24               MR. TOLL:     Object as to form.           You
25       may answer.


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                                                                            Page 35
1                  SCOTT HOFMEISTER
2                THE WITNESS:      I don't think that's
3         fair to say.
4    BY MR. KORNFELD:
5          Q     Why not?
6          A     Because I'm aware that there are
7    companies that were in Spara, similar to
8    Revstone.   And I recall doing these
9    activities I explained before, just -- I just
10   don't recall which companies were in which
11   legal entity.
12        Q      Well, tell me which companies you
13   did M&A activities for.
14               T-Cast, you couldn't remember what
15   you did, correct?
16        A      Correct.
17        Q      You don't remember whether you did
18   M&A activities for T-Cast, correct?
19        A      I recall doing M&A activities.
20        Q      For T-Cast?
21        A      I don't recall specifically if
22   they were for TechCast.
23        Q      So it's fair to say you don't
24   recall whether you did any M&A activities for
25   TechCast, correct?


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                                                                              Page 36
1                     SCOTT HOFMEISTER
2           A       Correct.
3           Q       Who did you do M&A activities for,
4    which entities?
5                   MR. TOLL:    I'm going to object to
6           form.    You may answer.
7                   THE WITNESS:     Specifically for
8           Revstone?
9    BY MR. KORNFELD:
10          Q       Revstone Industries.
11          A       I'm afraid my knowledge of the
12   legal entities and the different LLCs is
13   probably not as good as yours.
14          Q       Don't say that.        You're being too
15   kind and assuming too much.
16                  So you did M&A activities for
17   Revstone.      Who else did you do M&A activities
18   for?
19          A       For all of our operating entities.
20          Q       Let's get names, because you know
21   I'm going to ask you after I ask you for the
22   names -- I'll put my cards on the table.                 I'm
23   going to ask you what you did for each of the
24   entities.
25                  Let's get the name of the entities


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                                                                            Page 38
1                   SCOTT HOFMEISTER
2                So my M&A activities, in general,
3    could benefit our general holdings, some
4    included in Spara, some in other entities.
5    BY MR. KORNFELD:
6          Q     Besides TechCast, which of the
7    holdings were with Spara?
8          A     I do not remember.
9          Q     Which transactions do you believe
10   benefited Spara that you worked on?
11               What specific transactions
12   benefited Spara?
13        A      How do you define "benefit"?
14        Q      Do you know what the word
15   "benefit" means?
16        A      I know what the -- I believe so.
17        Q      What's your definition?
18        A      Provided value to.
19        Q      That's my definition too.
20               What specific transactions
21   provided value to Spara that you were
22   involved in?
23        A      I would say the purchase of an
24   Edscha die casting plant in Chihuahua and the
25   purchase of a stamping company in Matamoros


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                                                                              Page 39
1                    SCOTT HOFMEISTER
2    are the two specifics that jump immediately
3    to mind.
4           Q     What was your purpose in the role
5    of the die casting plant in Chihuahua?
6                 And it's Chihuahua Mexico, of
7    course?
8           A     Yes.
9                 I provided general advisory
10   services.
11          Q     Was there an investment manager
12   involved in the purchase of the die casting
13   plant in Chihuahua?
14          A     There may have been.
15          Q     Who was that investment banker?
16          A     I don't recall.
17          Q     Was that investment banker paid a
18   fee?
19          A     I don't know.
20          Q     Was there a realtor involved in
21   the purchase of the die casting plant in
22   Chihuahua?
23          A     Not to my knowledge.
24          Q     When was the die casting plant in
25   Chihuahua purchased?


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                                                                            Page 40
1                   SCOTT HOFMEISTER
2          A      Sometime between 2009 and 2011.
3          Q      What was your position at the
4    Revstone family companies in the period 2009
5    to 2011.
6          A      I provided general mergers and
7    acquisition services, operations services,
8    due diligence services, financial services.
9          Q      In connection with the purchase of
10   the die casting plant in Chihuahua, did
11   Revstone have a lawyer?
12        A       Yes.
13        Q       Did it have a lawyer in Mexico?
14        A       Yes.
15        Q       Did it have lawyers in the
16   United States?
17        A       I assume so.
18        Q       Who were the lawyers in Mexico?
19        A       The lawyer in Mexico was, I
20   believe, Roberto Fernandez.
21        Q       Who was the lawyer in the
22   United States?
23        A       I assume we used our general
24   counsel's office, and perhaps they outsourced
25   to somebody else.    I don't know.


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                                                                               Page 41
1                     SCOTT HOFMEISTER
2            Q     Did you have any role in the due
3    diligence in connection with Revstone's
4    purchase of the die casting plant in
5    Chihuahua?
6            A     Briefly.
7            Q     What was your role?
8            A     I was involved in several
9    conversations about the purchase with our
10   team and with the external team, the selling
11   team.
12           Q     Which conversations?          In person
13   conversations or phone conversations?
14           A     With my team, in person.            And then
15   I had phone conversations with the external
16   teams.
17           Q     Who was on your team?
18           A     I don't recall specifically.
19           Q     Do you recall anybody on your
20   team?
21           A     It could have been any number of
22   people in our office in Lexington.
23           Q     Do you recall a single person who
24   was on your team in connection with the
25   purchase of the die casting plant at


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                                                                            Page 42
1                   SCOTT HOFMEISTER
2    Chihuahua?
3          A      I assume Dan had to have been
4    involved.
5          Q      That would be Dan Smith?
6          A      Correct.
7          Q      Anybody else?
8          A      Not specifically.
9          Q      How much did Revstone pay for that
10   die casting plant?
11        A       I don't recall specifically.
12        Q       Do you recall approximately?
13        A       Approximately less than
14   $5 million.
15        Q       Who brought the die casting plant
16   opportunity to Revstone's attention?
17        A       I don't know.
18        Q       It wasn't you, was it?
19        A       No.
20        Q       Did you get to fly down to
21   Chihuahua before Revstone purchased that die
22   casting plant?
23        A       No.
24        Q       Who did Revstone purchase that die
25   casting plant from?


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                                                                               Page 43
1                     SCOTT HOFMEISTER
2            A     I think I originally said Edscha,
3    but I might have been that with the Matamoros
4    plant.
5            Q     So you're not sure who Revstone
6    purchased that from?
7            A     Not sure.
8            Q     Can you name anybody who was
9    associated with the entity that Revstone
10   purchased the die casting plant in Chihuahua
11   from?
12           A     I can't say specifically.
13           Q     You can't name a single person?
14           A     From the seller's side?
15           Q     From the seller's side.
16           A     I don't specifically remember.
17           Q     So you don't know the name of the
18   seller either, do you?
19           A     Like I said, I -- I think I'd said
20   Edscha originally, but I'm not sure if that
21   is pertinent to that plant or the Matamoros
22   plant.
23           Q     Do you know which Revstone entity
24   bought the die casting plant in Chihuahua?
25           A     Not specifically.


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                                                                             Page 44
1                   SCOTT HOFMEISTER
2          Q     Do you know whether the die
3    casting plant in Chihuahua was purchased by a
4    Revstone company or a Spara company?
5          A     I do not know specifically.
6          Q     Did you go down to the Chihuahua
7    plant ever?
8          A     I tried.
9          Q     Did you succeed?
10        A      We were in an airplane flying to
11   Chihuahua, and the airplane turned around
12   halfway to Chihuahua and landed back in
13   Mexico City.
14        Q      So you did not succeed?
15        A      I did not succeed.
16        Q      I'll bite.     Why did the airplane
17   turn around?
18        A      I don't know.      It was a commercial
19   flight from Mexico City to Chihuahua.                We
20   were sitting on this airplane, and about an
21   hour-and-a-half into this two-hour plant, it
22   turns back around and goes back to
23   Mexico City.   We still don't know what
24   happened, if there was a gun fight at the
25   airport or -- who knows what it was.


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                                                                            Page 45
1                   SCOTT HOFMEISTER
2          Q     Did you try to get to Chihuahua
3    the next day?
4          A     No.
5          Q     So you never successfully got to
6    Chihuahua, Mexico?
7          A     Correct.
8          Q     So you didn't provide any
9    operations improvement advice to that
10   Chihuahua, Mexico, plant that you were never
11   at, correct?
12               MR. TOLL:     Object as to form.
13               You may answer.
14               THE WITNESS:      The Chihuahua plant
15       had, if I remember correctly, some HP
16       die casting machines that were similar
17       to machines we had in other facilities.
18       And so on the operations side, for that
19       specific transaction, there were some
20       opportunities that I didn't have to be
21       there in person to try to create with
22       some of our other operating entities.
23   BY MR. KORNFELD:
24        Q      How many people worked at that
25   Chihuahua plant?


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                                                                              Page 46
1                    SCOTT HOFMEISTER
2           A     I don't know.
3           Q     Do you know whether it was ten or
4    a hundred or a thousand?
5           A     It was less than a thousand.
6           Q     But do you know with any
7    specificity how many people worked at the
8    Chihuahua plant?
9           A     With more specificity, less than
10   500.
11          Q     But no more specificity than that?
12          A     It wasn't very many people.
13          Q     You said you worked to create
14   opportunities or synergies between the
15   Chihuahua plant and other plants.
16                What other plants did you try to
17   create synergies with?
18          A     I think I mentioned HP die casting
19   machines.    Texas Die Casting had some of
20   those machines.      Of course, we had Contact,
21   which is an aluminum die casting company.
22   And so we were looking at expanding some of
23   our footprints into Mexico to better serve
24   our customers who had facilities down there.
25          Q     So what did you do?


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                                                                            Page 48
1                  SCOTT HOFMEISTER
2    when I started until sometime in 2010, I
3    would say, maybe 2011.
4          Q     So 2009 to 2010, maybe early 2011,
5    you're president of green technologies for
6    Revstone, correct?
7          A     Correct.
8          Q     The end of 2010, early 2011, you
9    become director of special projects for
10   Revstone?
11        A      Correct.
12        Q      How long did that position last?
13        A      That lasted through until I was no
14   longer employed with Revstone.
15        Q      When was that?
16        A      2012 or 2013.
17        Q      What did you do after you were
18   director of special products at Revstone?
19        A      That's when I was focused mostly
20   on providing the mergers and acquisitions,
21   helping that mergers and acquisitions team,
22   doing operations, improvements, conducting
23   due diligence, working on financing.
24        Q      Is that what you did as director
25   of special projects?


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1                  SCOTT HOFMEISTER
2          A     Correct.
3          Q     So that was 2011 to late 2012,
4    early 2013?
5          A     That's when I had that title.              I
6    was doing that work earlier, and that's part
7    of why the title changed.
8          Q     So after late 2012, early 2013,
9    did you do anything for Revstone?
10        A      After my employment was -- after I
11   was done with my employment with them?
12        Q      Uh-huh.      Yes.
13        A      After I was no longer employed
14   with them, I did not work with them.
15        Q      During the period 2009/2010, when
16   you were present of green technologies for
17   Revstone, where were you based?
18        A      Lexington.
19        Q      During the period 2011 through
20   2013, where were you based?
21        A      Part of 2011 was in Lexington.
22   Part of 2011 was in Cambridge, Massachusetts,
23   where I was until 2013.
24        Q      When did you move to Cambridge,
25   Massachusetts?


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                                                                            Page 50
1                   SCOTT HOFMEISTER
2          A      July 2011.
3          Q      Why did you move to Cambridge,
4    Massachusetts?
5          A      To attend Harvard Business School.
6          Q      Harvard Business School doesn't
7    have a part-time program, does it?
8          A      I don't know.
9          Q      Were you in a part-time program at
10   Harvard?
11        A       I was not in a part-time program.
12        Q       So you were in a full-time program
13   at Harvard Business School starting
14   September 2011?
15        A       Correct.
16        Q       You graduated about May 2013?
17        A       Correct.
18        Q       During the period you were a
19   full-time student at Harvard Business School,
20   you lived in Cambridge, Massachusetts,
21   correct?
22        A       Correct.
23        Q       We'll get back to Harvard, but I
24   want to focus on that stamping plant in
25   Matamoros.    We talked a lot about Chihuahua.


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                                                                            Page 51
1                  SCOTT HOFMEISTER
2                The stamping plant in Matamoros,
3    when was that purchased by a Revstone entity?
4          A     It was before I left for business
5    school.
6          Q     Can you be any more specific?
7          A     It would have been sometime in
8    2009, 2010, or 2011.
9          Q     Which Revstone entity purchased
10   that Matamoros stamping plant?
11        A      I do not recall, specifically.
12        Q      Do you recall whether it was a
13   Spara entity or a Revstone entity?
14        A      I do not recall.
15        Q      What was your role in connection
16   with -- strike that.
17               Who was the seller of the
18   Matamoros stamping plant?
19        A      I believe it was Edscha.
20        Q      Did you speak to anybody from that
21   entity?
22        A      We hired a gentleman from that
23   entity to continue on with us.
24        Q      Who was that?
25        A      Ernesto Garcia.


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                                                                            Page 52
1                   SCOTT HOFMEISTER
2          Q     In connection with the purchase of
3    the stamping plant in Matamoros, did you
4    speak to anybody?
5          A     I spoke to our team about the
6    transaction.   I spoke to several third-party
7    lenders about financing the acquisition.               I
8    spoke to several entities about the lease and
9    moving the factory.
10        Q      Did you speak to anybody from the
11   seller, besides Mr. Garcia?
12        A      I don't recall.
13        Q      How much did Revstone pay for the
14   stamping plant in Matamoros?
15        A      I don't recall.
16        Q      Approximately?
17        A      A few million perhaps.
18        Q      Are you speculating or do you have
19   a basis for saying a few million?
20        A      I don't think it was -- yeah.              It
21   wasn't over 10 million.
22        Q      Did Revstone have an investment
23   banker in connection with the purchase of a
24   stamping plant in Matamoros?
25        A      I don't recall.


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                                                                            Page 53
1                   SCOTT HOFMEISTER
2          Q     Did you ever visit the stamping
3    plant in Matamoros?
4          A     Yes.
5          Q     How many times?
6          A     Several.
7          Q     When did you first visit the
8    stamping plant in Matamoros?
9          A     Shortly after the acquisition.
10        Q      Why did you visit the stamping
11   plant in Matamoros?
12        A      I was thinking about the previous
13   question.
14               I may have visited it before the
15   acquisition, so I don't recall -- it was
16   right around the time of the acquisition when
17   I visited the first time.
18        Q      When was the purpose of that first
19   visit?
20        A      To see the facility and to see the
21   equipment that we had available, what assets
22   were there.
23        Q      Did you provide any valuation
24   advice to anybody at Revstone about that
25   transaction?


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                                                                            Page 55
1                   SCOTT HOFMEISTER
2    systems program.
3          Q     A Six Sigma class?
4          A     Toyota production system.            They
5    didn't call it Six Sigma.
6          Q     But something like Six Sigma?
7          A     Right.
8          Q     How long was that class?
9          A     That was a 12-week program.
10        Q      Did you learn anything in that
11   12-week Six Sigma-like program that you could
12   apply at Revstone?
13        A      Yes.
14        Q      When did you take that program
15   from Toyota?
16        A      In 2010.
17        Q      Was the Matamoros plant purchased
18   by a Revstone, Spara, or Ascalon entity?
19        A      I don't know.
20        Q      Was the Chihuahua entity purchased
21   by a Revstone, Spara, or Ascalon entity?
22        A      I don't know.
23        Q      You mentioned those two
24   transactions.   Were you involved in any other
25   transactions, M&A transactions, for Revstone,


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                                                                            Page 56
1                   SCOTT HOFMEISTER
2    Spara, or Ascalon?
3          A      Yes.
4          Q      How many more?
5          A      Many more.
6          Q      Tell us the ones you remember, and
7    then we'll talk about each one.
8          A      While we're in Mexico, Tisamatic
9    was an acquisition that I worked on.
10        Q       Can you spell that, please?
11        A       T-i-s-a-m-a-t-i-c .
12        Q       What other transactions did you
13   work on?
14        A       There was a Texas machining
15   operation by the name of Demay, D-e-m-a-y,
16   and others as well.      Specifically -- many of
17   their names escape me.
18        Q       Do you recall any other
19   transactions?
20        A       There was HK Engine was another
21   potential acquisition, Interlock Commando,
22   Stadco.    It's been a while.       Some of these
23   names are a little bit dusty.
24                Those are the specific names of
25   the acquisitions that I can remember.


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                                                                            Page 57
1                  SCOTT HOFMEISTER
2          Q     Did the Tisamatic acquisition
3    close?
4          A     No.
5          Q     Did the Demay acquisition close?
6          A     No.
7          Q     Did the HK Engine acquisition
8    close?
9          A     I don't recall.
10        Q      Did the Interlock Commando
11   acquisition close?
12        A      Yes.
13        Q      When did it close?
14        A      2009 or '10.
15        Q      Did a Revstone, Spara, or Ascalon
16   entity purchase Interlock Commando?
17        A      I don't know.
18        Q      What was the name of the seller of
19   Interlock Commando?
20        A      I don't know.
21        Q      Do you recall the name of any
22   person who was associated with the seller of
23   Interlock Commando?
24        A      Patrick Smith.
25        Q      What was your role in connection


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                                                                            Page 59
1                  SCOTT HOFMEISTER
2    entity that purchased it?
3          A     I don't recall.
4          Q     What happened with Interlock
5    Commando?
6          A     I don't recall.
7          Q     Were you and Mr. Smith able to
8    commercialize that new lock technology?
9          A     Not fully.
10        Q      Did Interlock Commando obtain any
11   patents for that new lock technology?
12        A      I don't know.
13        Q      What about Stadco?         Did that
14   transaction close?
15        A      No.
16        Q      Were you involved in any other
17   transactions for Revstone, Spara, or Ascalon?
18        A      Yes.
19        Q      What other transactions?
20        A      I don't remember the specific
21   names.
22        Q      Do you remember when those
23   transactions -- strike that.
24               Did any of those other
25   transactions close?


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                                                                            Page 60
1                  SCOTT HOFMEISTER
2          A     Yes.
3          Q     What other transactions closed?
4          A     We refinanced EPTEC.
5          Q     Who owned EPTEC, a Revstone,
6    Spara, or Ascalon entity?
7          A     EPTEC was a Revstone entity.
8          Q     When was EPTEC refinanced?
9          A     In 2010 or 2011.
10        Q      Were there any investment bankers
11   in connection with that refi?
12        A      Not that I'm aware of.
13        Q      Where there any outside advisers
14   to Revstone in connection with the
15   refinancing of EPTEC?
16        A      Not that I'm aware of.
17        Q      How much, approximately, was that
18   refinance for?
19        A      I don't recall.
20        Q      Do you recall whether it was
21   millions, tens of millions, hundreds of
22   millions?
23        A      It certainly wasn't hundreds of
24   millions.   10 million, order of magnitude.
25        Q      What was the entity that provided


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                                                                               Page 63
1                     SCOTT HOFMEISTER
2            A     Correct.
3            Q     Did George explain to you why
4    $50,000 wasn't paid for 2010?
5            A     No.
6            Q     How much did you receive from
7    Revstone in -- and by "Revstone," I mean, all
8    of Revstone entities -- 2011.
9            A     In 2011, my salary was 125,000.
10           Q     Did you receive a bonus for 2011?
11           A     No.
12           Q     Was one discussed?
13           A     No.
14           Q     Did you ask to receive a bonus for
15   2011?
16           A     No.
17           Q     Why not?
18           A     I never asked to receive a bonus.
19           Q     In 2011, did you receive any other
20   consideration from Revstone entities besides
21   medical, dental?
22           A     Yes.
23           Q     What did you receive?
24           A     I should clarify.         I don't know if
25   it was Revstone or Spara.          This is my mental


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                                                                            Page 64
1                   SCOTT HOFMEISTER
2    block of not knowing which legal entity is
3    which and where things fell.         But I was
4    also -- part of my tuition was paid by the
5    companies, starting in 2011.
6          Q      How much of your -- are you
7    referring to your Harvard Business School
8    tuition?
9          A      Yes, the first semester's tuition.
10        Q       How much was paid of your tuition
11   in 2011?
12        A       The 2011 fall semester was paid.
13        Q       How much was that?
14        A       I don't recall, specifically.
15        Q       Did any of the Revstone companies
16   pay any of your wife's tuition?
17        A       I don't recall, specifically.
18        Q       Let's get a little foundation
19   there.
20                Are you married?
21        A       I am married.
22        Q       What's your wife's name?
23        A       Julia Hofmeister.
24        Q       What was her maiden name?
25        A       Hanna, H-a-n-n-a.


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                                                                            Page 70
1                  SCOTT HOFMEISTER
2    Plaintiff Spara has filed against you for a
3    70,000-dollar wire transfer made to you on
4    June 29, 2011.
5                Have you seen Exhibit 5 before?
6          A     I believe so.
7          Q     Exhibit 4 is a wire transfer
8    confirmation.
9                Have you seen Exhibit 4 before?
10        A      I believe so.
11        Q      What is Exhibit 4?
12        A      A wire confirmation receipt.
13        Q      Is this a receipt of a wire
14   transfer made to you on June 29, 2011?
15        A      Yes.
16        Q      Did you receive $70,000 on or
17   about June 29, 2011?
18        A      Yes.
19        Q      That $70,000 came from Spara, LLC;
20   is that correct?
21        A      That's what it says here.
22        Q      Do you have any reason to believe
23   Exhibit 4 is incorrect?
24        A      No.
25        Q      Why did Spara, LLC, pay you


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                                                                            Page 71
1                   SCOTT HOFMEISTER
2    $70,000 on June 29th, 2011?
3          A      For purposes of paying Harvard
4    Business School tuition.
5          Q      Why did Spara, LLC, pay a portion
6    of your Harvard Business School tuition in
7    the amount of $70,000?
8          A      Presumably, they thought I would
9    be valuable with that education.
10        Q       Who at Spara, LLC, decided to pay
11   $70,000 towards your Harvard Business School
12   education?
13        A       There were several people involved
14   in the decision.
15        Q       Who were those people?
16        A       George Hofmeister, Dan Smith.
17   There may have been others.         I don't recall.
18        Q       Did Dan Smith tell you -- did
19   Dan Smith recommend that Spara, LLC, pay your
20   tuition?
21        A       I don't recall.
22        Q       Who ultimately was the person who
23   decided on behalf of Spara, LLC, to pay your
24   tuition?
25        A       George Hofmeister.


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                                                                            Page 74
1                   SCOTT HOFMEISTER
2    been marked as Exhibit 4 as income during the
3    year 2011?
4                 MR. TOLL:    Object to form.
5                 You can answer.
6                 THE WITNESS:     I don't know.
7    BY MR. KORNFELD:
8          Q      It was income to you, wasn't it?
9          A      I don't know.
10        Q       How much was the first year of
11   tuition at Harvard Business School?
12        A       I don't know, specifically.
13        Q       Was it $70,000?
14        A       I don't know.Harvard Business
15   School
16                (Email, November 15, 2011, "FWD:
17                Spring Tuition," marked as
18                Exhibit 7.)
19   BY MR. KORNFELD:
20        Q       Is Exhibit 7, all but the first
21   line, an email that you sent to your father
22   on or about November 14th, 2011?
23        A       Yes.
24        Q       Does this email refresh your
25   recollection as to how much tuition


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                                                                               Page 75
1                     SCOTT HOFMEISTER
2    Harvard Business School was for the first
3    year?
4            A     Yes.
5            Q     How much was tuition at Harvard
6    Business School for your first year?
7            A     According to this document,
8    $25,600.
9            Q     Then there are other charges from
10   Harvard listed on the document in the table
11   that appears there, such as student health
12   insurance plan, student health fee, program
13   support fee, student association dues, and
14   Shad Hall.      And that amount is, in total,
15   $30,516.
16                 That's the tuition and those other
17   amounts, correct?
18           A     Correct.
19           Q     What was the rest of the $70,000
20   that you received on June 9, 2011, used for?
21           A     I used it for my first semester
22   tuition.
23           Q     Right.
24           A     And Babson tuition.
25           Q     Babson tuition was tuition for


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                                                                               Page 76
1                     SCOTT HOFMEISTER
2    your wife at Babson College, correct?
3            A     Correct.
4            Q     Did your wife ever work for any of
5    the Revstone entities?
6            A     No.
7            Q     Did she ever provide anything of
8    value to any of the Revstone entities?
9            A     I don't know.
10           Q     Did your wife ever work for Spara,
11   LLC?
12           A     Not that I know of.
13           Q     Why did Spara, LLC, pay your
14   wife's Babson tuition and then -- strike
15   that.
16                 The Babson tuition that
17   Spara, LLC, paid for your wife with that
18   $70,000 that you received on June 29th, 2011,
19   the Babson tuition, of course, was $27,248,
20   correct?
21           A     That sounds right.
22           Q     That's what the email says in
23   front of you, right?         "Babson Tuition Dues:
24   $27,248," right?
25           A     Right.


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                                                                            Page 78
1                   SCOTT HOFMEISTER
2          A      I did not.
3          Q      Who made the decision to pay your
4    wife's Babson tuition of $27,248?
5                 MR. TOLL:    Object as to form.
6                 You may answer.
7                 THE WITNESS:     George Hofmeister.
8    BY MR. KORNFELD:
9          Q      Did George Hofmeister explain to
10   you why Spara, LLC, paid your wife's
11   Babson College tuition that amounted to
12   $27,248?
13                MR. TOLL:    Object as to form.
14                You may answer.
15                THE WITNESS:     I don't know.
16   BY MR. KORNFELD:
17        Q       Did you ever ask him?
18        A       No.
19        Q       Did you ever discuss with your
20   wife why Spara paid her Babson tuition?
21                MR. TOLL:    Object as to form.
22                You may answer.
23                THE WITNESS:     No.
24   BY MR. KORNFELD:
25        Q       What did your wife major in at


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                                                                            Page 79
1                   SCOTT HOFMEISTER
2    Babson?
3          A     It was an MBA program.
4          Q     Did she graduate from Babson?
5          A     Yes.
6          Q     Did your wife work for any
7    Revstone or Spara entity after she graduated
8    from Babson?
9                MR. TOLL:     Objection, asked and
10       answered.
11               You may answer.
12               THE WITNESS:      No.
13   BY MR. KORNFELD:
14        Q      Did anybody on behalf of Spara
15   ever provide you with any justification for
16   Spara's decision to pay your wife's Babson
17   tuition in the amount of $27,248?
18               MR. TOLL:     Object as to form.           You
19       may answer.
20               THE WITNESS:      No.
21   BY MR. KORNFELD:
22        Q      As you sit here today, do you have
23   any justification for that payment?
24        A      I don't know.
25        Q      Is that 27,248-dollar payment


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1                   SCOTT HOFMEISTER
2          A      I don't recall.
3          Q      That $50,000 is over and above the
4    $70,000 that you received on June 29, 2011,
5    correct?
6          A      The $50,000 we just discussed?
7          Q      The $50,000 we just discussed,
8    correct.
9          A      Correct.
10        Q       When you were at Harvard Business
11   School, typically how many classes did you
12   take a semester?
13        A       You were required to take five
14   classes.
15        Q       How many hours in class was that,
16   on average?
17        A       It was about -- I would say about
18   five hours a day, give or take a few hours.
19        Q       So, on average, give or take, you
20   spent 25 hours a week in class?
21        A       On average.    Probably around
22   there.
23        Q       And then there was a little bit of
24   work outside of class, too, right?
25        A       What type of work?


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1                   SCOTT HOFMEISTER
2          Q      Preparing for class projects,
3    reports, papers.
4          A      Class-related work.
5          Q      That's it.     Class-related work
6    outside of class, right?
7          A      Correct.
8          Q      On average, how many hours?
9          A      At least as much, another 25 or
10   so.
11         Q      And when finals would come along,
12   would that number increase?
13         A      Maybe a little bit.         Not too much.
14         Q      So you spent, on average, at
15   Harvard Business School, 50 hours a week,
16   correct?
17         A      Yes.
18         Q      A little bit more than a full-time
19   job, correct?
20         A      Depends what job you have, I
21   guess.
22         Q      That's a good answer.          A little
23   bit more than a 40-hour-a-week full-time job.
24                Is it fair to say that during
25   2011, once you started at Harvard Business


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1                   SCOTT HOFMEISTER
2    School up until you graduated from Harvard
3    Business School, you were out of the picture
4    on day-to-day activities at Revstone?
5          A      That's fair to say.
6                 (Email chain, February 27, 2012,
7                 "RE: Interest in Revstone's
8                 Queretaro Facility," marked as
9                 Exhibit 8.)
10   BY MR. KORNFELD:
11        Q       Let's go ahead and talk about
12   Exhibit 8.
13                Is Exhibit 8 an email exchange
14   between you and David Cosgrove of Revstone on
15   February 27, 2012?
16        A       It's an email between me and
17   David Cosgrove, CFO of Matcor.
18        Q       Thank you for the correction.
19                And you told Mr. Cosgrove, really,
20   what you just testified to, that you're on
21   leave at business school and out of the
22   picture on day-to-day activities.           And as a
23   result, you referred Mr. Cosgrove to
24   Mikk Carr, somebody at Revstone, correct?
25        A       Correct.


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1                   SCOTT HOFMEISTER
2          Q      You speak Spanish, don't you?
3          A      I did.    It's gotten a little bit
4    rusty.
5                 (Email, April 2, 2012, "RE:
6                 Reminder Revstone Industries,"
7                 marked as Exhibit 9.)
8    BY MR. KORNFELD:
9          Q      What is Exhibit 9?
10        A      This is an email between myself
11   and Aida Vasallo from Goodrich Riquelme.
12        Q      Can you read and translate the
13   email that you wrote at the top of page 9?
14        A      I will try.
15              "Dear Mr. Vasallo, Please pardon
16            the tardiness of my answer.          Right
17            now I am just starting newly in
18            school to get my MBA, thanks to
19            Revstone.    Because of this, I'm not
20            well-connected with the daily
21            details of the office.        My advice is
22            to directly communicate with the
23            managers at EPTEC.     Chau."
24        Q      So this is another email where you
25   referred a business matter -- or suggested to


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                                                                               Page 87
1                     SCOTT HOFMEISTER
2    somebody that you weren't the right person to
3    handle a business matter because you were at
4    business school, and requested that that
5    person go to somebody else at one of the
6    Revstone companies, in this case, EPTEC,
7    right?
8            A     Correct.
9                  (Email chain, June 6 through June
10                 18, 2012, "RE: Pallet Project
11                 Update," marked as Exhibit 10.)
12   BY MR. KORNFELD:
13           Q     Exhibit 10 is a two-page exhibit.
14   Can you tell us what is Exhibit 10?
15           A     Exhibit 10 is a series of emails
16   between myself and Russ LaBelle.
17           Q     And the first email in the chain,
18   which is the last email on page 2, is an
19   email from Russ LaBelle to you dated June 6,
20   2012, at 9:50 a.m.
21                 Do you see that email?
22           A     I do.
23           Q     And in that email, Mr. LaBelle
24   says:
25                "I have tried to follow up with


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                                                                            Page 88
1                  SCOTT HOFMEISTER
2           Rob, Terry, and Mark A.          They cannot
3           tell me anything about the status of
4           the project."
5                Who are those people?
6          A     It looks like earlier in the email
7    he mentions Rob States and Terry Brandl and
8    Mark Lorey.
9          Q     And were those people at Revstone
10   or somebody doing business at Revstone?
11        A      Terry Brandl worked in a company
12   called Palm Plastics.
13        Q      And that was one of the Revstone
14   companies, right?
15        A      Whether it was part of Revstone or
16   another legal entity, I'm not sure.
17        Q      You don't know whether it was a
18   Spara or whether it was an Ascalon entity,
19   but it was somewhere within the family
20   office, right?
21               MR. TOLL:     Object as to form.
22               THE WITNESS:      Correct.
23   BY MR. KORNFELD:
24        Q      Mr. LaBelle hopes that you can
25   provide information about the status of the


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                                                                              Page 89
1                    SCOTT HOFMEISTER
2    project, he says in the last line before the
3    signature of this email.
4                 Do you see that?
5           A     Yes.
6           Q     And your response -- actually he
7    sends a second email, which is on the first
8    page of Exhibit 10.        In the second email, he
9    complains that you haven't gotten back to
10   him.
11                Do you see that email?
12          A     I do.
13          Q     Was that an email that he sent you
14   on or about June 13?
15          A     Yes.
16          Q     And in your email to him -- that's
17   the very top email, right?
18          A     Yes.
19          Q     You apologize to him and say:
20               "Sorry for my delayed response
21            and the general lack of follow-up.
22            I am currently on leave at business
23            school."
24                And then you refer him to
25   Matt Bailey.     Is that what you did?


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                                                                               Page 90
1                     SCOTT HOFMEISTER
2            A     That's what it says here.
3            Q     And since you were at business
4    school, you couldn't help Mr. LaBelle with
5    his inquiry, right?
6            A     Other than connecting him with
7    people involved in the day-to-day management
8    of the project.
9            Q     That's all you could do at that
10   point?
11           A     It would appear so.
12           Q     Who paid your tuition at Harvard
13   Business School for your second year?
14           A     I paid part of it.          And the other
15   part, I'm not sure.
16           Q     Did George Hofmeister ever pay any
17   portion of your Harvard Business School
18   tuition?
19           A     I don't think so.         For the second
20   year?
21           Q     Yes.
22           A     I don't think so for the second
23   year.
24           Q     For the first year at Harvard
25   Business School, did George Hofmeister pay


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                                                                            Page 96
1                   SCOTT HOFMEISTER
2    trust that continued to exist and, as a
3    result, you didn't list any such interest on
4    your financial statement?
5          A      Correct.
6          Q      And since you made the assumption,
7    if I understood your testimony, that the
8    trust either didn't exist or didn't have
9    assets, you didn't attempt to find out
10   anything more about those trusts; is that
11   correct?
12        A       Correct.
13                MR. KORNFELD:     Let's take a short
14       break.
15                (Break in proceedings.)
16   BY MR. KORNFELD:
17        Q       With respect to the $70,000 that
18   you received on June 29, 2011, is there any
19   written agreement between you and Spara with
20   respect to that $70,000?
21        A       Not that I'm aware of.
22        Q       Is there any written agreement
23   between you and any other entity with respect
24   to that $70,000?
25        A       Not that I remember.


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                                                                            Page 97
1                   SCOTT HOFMEISTER
2          Q      Is there any written agreement
3    between you and George Hofmeister with
4    respect to that $70,000?
5          A      Not that I remember.
6          Q      Is there a promissory note that
7    you were asked to sign with respect to that
8    $70,000?
9                 MR. TOLL:    Object as to form.
10                You may answer.
11                THE WITNESS:     Not that I remember.
12   BY MR. KORNFELD:
13        Q       Did you sign any document with
14   respect to that $70,000?
15        A       Not that I remember.
16        Q       Was there any conversation that
17   you had with anybody about that $70,000 and
18   an obligation on your behalf to pay back that
19   $70,000?
20                MR. TOLL:    Object as to form.
21                You may answer.
22                THE WITNESS:     Not that I recall.
23   BY MR. KORNFELD:
24        Q       Did anybody ask you to pay back
25   that $70,000?


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                                                                            Page 98
1                   SCOTT HOFMEISTER
2          A      Not that I recall.
3          Q      Did anybody ask you to agree to
4    pay back that $70,000 at some point in the
5    future?
6          A      Not that I recall.
7          Q      Do you intend to pay that $70,000
8    back to Spara?
9                 MR. TOLL:    Object as to form.
10                You may answer.
11                THE WITNESS:     I don't realize that
12       it was owed back to Spara.
13   BY MR. KORNFELD:
14        Q       Is it owed back to anybody?
15        A       I don't know.
16        Q       Do you intend to pay it back to
17   anybody?
18        A       As I said, I do not know who is
19   owed what money.
20        Q       Well, you know you got it from
21   Spara?
22        A       There's a document that says I
23   received it from Spara.
24        Q       Do you have any reason to believe
25   that document is not true?


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                                                                            Page 99
1                   SCOTT HOFMEISTER
2          A      No.
3          Q      So you got the money from Spara.
4    Do you owe that money to Spara?
5                 MR. TOLL:    Object as to form.
6                 You may answer.
7                 THE WITNESS:     Not that I'm aware
8         of.
9    BY MR. KORNFELD:
10        Q       Do you owe that money to anybody?
11        A       Not that I'm aware of.
12        Q       Was it a gift from Spara?
13        A       I don't know.
14        Q       Did George Hofmeister ever ask you
15   to agree to pay that $70,000 back?
16        A       Not that I recall.
17        Q       Did anybody ever ask you to agree
18   to pay that $70,000 back?
19        A       Not that I recall.
20        Q       To your knowledge, did anybody
21   besides you and your wife ever receive MBA
22   tuition reimbursement at Revstone?
23                MR. TOLL:    Object as to form.
24                You may answer.
25


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                                                                            Page 103
1                   SCOTT HOFMEISTER
2    company had a tuition reimbursement plan?
3          A      I don't know if they had a tuition
4    reimbursement plan.
5          Q      How is this article relevant?
6                 MR. TOLL:    Object as to form.
7                 You may answer.
8                 THE WITNESS:     This is an example
9         of how some companies might pay for an
10       MBA education, under the belief that
11       their employees will become more
12       valuable.
13   BY MR. KORNFELD:
14        Q       In your situation, you didn't go
15   back and work at Spara or Revstone after you
16   graduated from Harvard Business School,
17   correct?
18        A       Correct.
19        Q       And second to the last paragraph,
20   first page of the New York Times article
21   we've marked as Exhibit 11 references
22   companies that had a tuition program.
23                So you just testified you don't
24   know whether Revstone or Spara had tuition
25   fund programs, correct?


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                                                                            Page 106
1                        SCOTT HOFMEISTER
2                             CERTIFICATE
3
4    STATE OF MICHIGAN    )
                          )ss.
5    COUNTY OF OAKLAND    )
6
7          I, Anne Vosburgh, Certified Shorthand Reporter,
8    Registered Professional Reporter, and Certified Realtime
9    Reporter affirm that on December 15, 2016,
10   Scott Hofmeister, was by me duly sworn to testify
11   truthfully, and that this is a true and correct record of
12   the testimony given, to the best of my knowledge and
13   ability.
14       I further affirm that I am not a relative or
15   employee of any parties involved in this case, nor am I
16   financially interested in the outcome of the action.
17   Dated: December 19, 2016
18               ______________________________________
19               Anne E. Vosburgh, CSR-6804
20               Certified Shorthand Reporter
21               Registered Professional Reporter
22               Certified Realtime Reporter
23               Notary Public, Oakland County, Michigan
24               My Commission Expires July 20, 2022
25


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                EXHIBIT H




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                    EXHIBIT I




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                    EXHIBIT J




                                                         A299
                                                       086- ALPHABETIC PAYROLL REGISTER            086
                                                                                                                                PAY
       REA       REVSTONE INDUSTRIES LLC                                                  12/28/12       B-12/28/12           26            19
       NO.         CO. NAME                                                               REPORT DATE       CHECKS DATED       PERIOD   PAGE NO.
       EMPLOYEE ID                              ....... HOURS AND EARNINGS ....... .... DED AND ADJ .... .......GROSS TO NET ......
       EMPLOYEE NAME                            PC DESCR RATE    HOURS    AMOUNT   DESCR   AMOUNT CODES Y-TO-D TYPE CURRENT         CHECK#
                                                                                                                                                   Case 14-50977-BLS
                                                                                                                                                   Doc 78-1
                                                                                                                                                   Filed 04/14/17




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       00-008-97917                            1 REGUL           80.00    4807.69 W2GRP       5.54 0F0* 124999.94 GRCOMP 4807.69
       HOFMEISTER, SCOTT R                     ------------- Q-TO-D --------------EFTA1                  124999.94 GRPAY    4807.69
       53 PUTNAM AVENUE                        1 REGULAR        560.00   33653.83 ------ Q-TO-D -------    4624.20 SSEC         .00
       3                                       ------------- Y-TO-D --------------W2GRP      38.78         1814.59 MDCR       69.79




A300
       CAMBRIDGE MA 02139                      1 REGULAR       2080.00 124999.94 ------ Y-TO-D ------- 19385.08 FIT          745.58
                                               ------------ F-TO-D 1 -------------W2GRP     144.04         6997.12 ST1 KY    269.12
                                                                                                                                                   Page 300 of 309




       SS-NO               FRQ   B   STAT A    1 REGULAR        160.00    9615.38 ----- F-TO-D 1 ------ 92178.95 NET        3723.20 A3120
       BASE   4807.69      M/S   M   SEX   M                                      W2GRP      11.08                 EFT A    3723.20
       FCAST 80.00E        ST1   KY                                                                       CUR MDCR WAGES    4813.23
       FILE# 97917         F#EX 02   S#EX 02                                                           --WAGES-- Q-TO-D --TAXES--
       HIRE   04/01/09                                                                                    18648.63 SSEC      783.24
       PTO-C                                                                                              33692.61 MDCR      488.55
       OT EX Y                                                                                            33653.83 FIT      5219.06
                                                                                                          33692.61 ST KY 1883.84
       EFT-ACCOUNT#       ID BK TP TRANSIT-NO                                                             33653.83 SUI KY


                                           PAY ANALYSIS REPORTING
                                                       086- ALPHABETIC PAYROLL REGISTER            086
                                                                                                                                PAY
       REA       REVSTONE INDUSTRIES LLC                                                  12/28/12       B-12/28/12           26            20
       NO.         CO. NAME                                                               REPORT DATE       CHECKS DATED       PERIOD   PAGE NO.
       EMPLOYEE ID                              ....... HOURS AND EARNINGS ....... .... DED AND ADJ .... .......GROSS TO NET ......
       EMPLOYEE NAME                            PC DESCR RATE    HOURS    AMOUNT   DESCR   AMOUNT CODES Y-TO-D TYPE CURRENT         CHECK#
       00-008-97917
       HOFMEISTER, SCOTT R
                ***** CONTINUED *****
                           A PP C                                                                      --WAGES-- Y-TO-D --TAXES--
                                                                                                         110100.00 SSEC     4624.20
       ALT DATE:                                                                                         125143.98 MDCR     1814.59
       DOB:                                                                                              124999.94 FIT     19385.08
                                                                                                           7000.00 FUTA
                                                                                                         125143.98 ST KY 6997.12
                                                                                                         124999.94 SUI KY
                                                                                                       --WAGES-- F-TO-D 1 --TAXES--
                                                                                                           9626.46 MDCR      139.59
                                                                                                           9615.38 FIT      1491.16
                                                                                                           9626.46 ST KY     538.24
                                                                                                           9615.38 SUI KY
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                EXHIBIT K




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                EXHIBIT L




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                EXHIBIT M




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